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                                    Appendix A

                              Debtors’ Chapter 11 Plan




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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   In re:                                                                     Chapter 11

   PURDUE PHARMA L.P., et al.,                                                Case No. 19-23649 (RDD)

                      Debtors.1                                               (Jointly Administered)


                       JOINT CHAPTER 11 PLAN OF REORGANIZATION
                   OF PURDUE PHARMA L.P. AND ITS AFFILIATED DEBTORS

                                                                 DAVIS POLK & WARDWELL LLP
                                                                 450 Lexington Avenue
                                                                 New York, New York 10017
                                                                 Telephone: (212) 450-4000
                                                                 Facsimile: (212) 701-5800
                                                                 Marshall S. Huebner
                                                                 Benjamin S. Kaminetzky
                                                                 Timothy Graulich
                                                                 Eli J. Vonnegut
                                                                 Christopher S. Robertson

                                                                 Counsel to the Debtors
                                                                 and Debtors in Possession



   Dated: March 15, 2021
   New York, New York




   1 The Debtors in these cases, along with the last four digits of each Debtor’s registration number in the applicable

   jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal Technologies
   L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034), Imbrium Therapeutics
   L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven Seas Hill Corp. (4591), Ophir
   Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140), Purdue Pharmaceutical Products
   L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc. (7805), Button Land L.P. (7502),
   Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnick Land L.P. (7584), Rhodes Pharmaceuticals L.P. (6166),
   Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and SVC Pharma Inc. (4014). The Debtors’
   corporate headquarters is located at One Stamford Forum, 201 Tresser Boulevard, Stamford, CT 06901.
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                       Each of Purdue Pharma L.P., Purdue Pharma Inc., Purdue Transdermal
Technologies L.P., Purdue Pharma Manufacturing L.P., Purdue Pharmaceuticals L.P., Imbrium
Therapeutics L.P., Adlon Therapeutics L.P., Greenfield BioVentures L.P., Seven Seas Hill Corp., Ophir
Green Corp., Purdue Pharma of Puerto Rico, Avrio Health L.P., Purdue Pharmaceutical Products L.P.,
Purdue Neuroscience Company, Nayatt Cove Lifescience Inc., Button Land L.P., Rhodes Associates L.P.,
Paul Land Inc., Quidnick Land L.P., Rhodes Pharmaceuticals L.P., Rhodes Technologies, UDF LP, SVC
Pharma LP and SVC Pharma Inc. (each, a “Debtor” and, collectively, the “Debtors” or “Purdue”)
proposes the following joint chapter 11 plan of reorganization pursuant to section 1121(a) of the
Bankruptcy Code. Capitalized terms used herein shall have the meanings set forth in Section 1.1 below.

ARTICLE I             DEFINITIONS AND INTERPRETATION.

                1.1     Definitions.

                        The following terms shall have the respective meanings specified below:

               “Abatement Distribution” means a distribution from an Abatement Trust to an
Authorized Recipient for Authorized Abatement Purposes.

              “Abatement Trust Documents” means, collectively, the NOAT Documents, the Tribe
Trust Documents, the Hospital Trust Documents, the TPP Trust Documents and the NAS Monitoring
Trust Documents.

               “Abatement Trusts” means, collectively, NOAT, the Tribe Trust, the Hospital Trust, the
TPP Trust and the NAS Monitoring Trust.

                 “Ad Hoc Committee” means the ad hoc committee of governmental and other contingent
litigation claimants identified in the Verified Statement Pursuant to Bankruptcy Rule 2019 [D.I. 279], as
may be amended from time to time.

             “Ad Hoc Group of Hospitals” means the Ad Hoc Group of Hospitals identified in the
Second Amended Verified Statement of the Ad Hoc Group of Hospitals Pursuant to Bankruptcy Rule 2019
[D.I. 1536].

               “Ad Hoc Group of Individual Victims” means the Ad Hoc Group of Individual Victims
of Purdue Pharma L.P. identified in the Amended Verified Statement of the Ad Hoc Group of Individual
Victims of Purdue Pharma L.P., et al., Pursuant to Bankruptcy Rule 2019 [D.I. 1480], as may be
amended from time to time.

                 “Adlon General Unsecured Claim” means any Claim against Adlon Therapeutics L.P.
that is not an Administrative Claim, a Priority Claim, a Secured Claim, a Federal Government Unsecured
Claim, a Channeled Claim, a Ratepayer Claim, a Co-Defendant Claim, an Other Subordinated Claim or
an Intercompany Claim.

                  “Administrative Claim” means any Claim against any Debtor for costs and expenses of
administration of the Chapter 11 Cases pursuant to section 327, 328, 330, 365, 503(b), 507(a)(2) or
507(b) of the Bankruptcy Code, including (i) the actual and necessary costs and expenses incurred on or
after the Petition Date and through the Effective Date of preserving the Estates and operating the Debtors’
business, (ii) any Professional Fee Claim, (iii) any fee or charge assessed against the Estates pursuant to
sections 1911 through 1930 of chapter 123 of title 28 of the United States Code, (iv) any Allowed Claim
that is to be treated as an Administrative Claim pursuant to a Final Order of the Bankruptcy Court under
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section 546(c)(2) of the Bankruptcy Code, (v) once Allowed in accordance with Section 2.3(a) of the
Plan, the DOJ Forfeiture Judgment Claim and (vi) any Allowed Cure Claim.

                “Administrative Claims Bar Date” means the deadline for filing requests for payment of
certain Administrative Claims (other than Professional Fee Claims and the DOJ Forfeiture Judgment
Claim), which shall be (i) with respect to Administrative Claims (other than Administrative Claims
arising under section 503(b)(9) of the Bankruptcy Code), the first Business Day that is thirty (30) days
following the Effective Date and (ii) with respect to the Administrative Claims arising under
section 503(b)(9) of the Bankruptcy Code, the General Bar Date.

               “AHC Reimbursement Agreement Assumption Order” means the Order Authorizing
The Debtors To Assume The Reimbursement Agreement And Pay The Fees And Expenses Of The Ad Hoc
Committee’s Professionals [D.I. 553], as amended or supplemented by the Bankruptcy Court pursuant to
D.I. 1617 and D.I. 2190.

                 “Allowed” means (i) with respect to a Channeled Claim, such Claim that has been
allowed in accordance with the applicable Creditor Trust Documents, (ii) with respect to any Adlon
General Unsecured Claim or Avrio General Unsecured Claim, such Claim that is Scheduled as not
disputed, contingent or unliquidated, and for which no Proof of Claim or Interest, as applicable, has been
timely filed, and (iii) with respect to any Claim (other than a Channeled Claim) against a Debtor, such
Claim (A) that is allowed pursuant to the Plan or a Final Order, (B) as to which no objection has been
timely filed and that is evidenced by a Proof of Claim timely filed by the applicable Bar Date or that is
not required to be evidenced by a filed Proof of Claim under the Plan, the Bankruptcy Code or a Final
Order, or (C) the amount of which has been agreed, compromised, settled or otherwise resolved pursuant
to the authority of the Debtors or the Plan Administration Trustee, as applicable. Except as otherwise
specified in the Plan or any Final Order, the amount of an Allowed Claim shall not include interest or
other charges on such Claim on and after the Petition Date. No Claim of any Person subject to
section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until such Person pays in full
the amount that it owes such Debtor or the Plan Administration Trustee. Correlative terms such as
“Allow” and “Allowance” have correlative meanings.

                “Asset” means, with respect to a Person, all of the right, title and interest of such Person
in and to property of whatever type or nature, including real, personal, mixed, intellectual, tangible and
intangible property.

                 “Assumption Notice” means a notice of the assumption or assumption and assignment
and any proposed Cure Amount provided to counterparties to executory contracts and unexpired leases
pursuant to the Solicitation Procedures Order.

                “Authorized Abatement Purpose” means, with respect to any Abatement Trust, an
authorized opioid abatement purpose for which an Abatement Distribution from such Abatement Trust
may be used, as set forth in the Abatement Trust Documents for such Abatement Trust and the
Confirmation Order.

               “Authorized Recipient” means an eligible recipient of funds from an Abatement Trust in
accordance with the Plan, the Confirmation Order and the applicable Abatement Trust Documents.

               “Avrio General Unsecured Claim” means any Claim against Avrio Health L.P. that is
not an Administrative Claim, a Priority Claim, a Secured Claim, a Federal Government Unsecured Claim,
a Channeled Claim, a Ratepayer Claim, a Co-Defendant Claim, an Other Subordinated Claim or an
Intercompany Claim.



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               “Bankruptcy Code” means title 11 of the United States Code, as applicable to the
Chapter 11 Cases.

                 “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of New York having jurisdiction over the Chapter 11 Cases and, to the extent any reference made under
section 157 of title 28 of the United States Code is withdrawn or the Bankruptcy Court is determined not
to have authority to enter a Final Order on an issue, the United States District Court for the Southern
District of New York.

                “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated
by the United States Supreme Court under section 2075 of title 28 of the United States Code, as amended
from time to time, as applicable to the Chapter 11 Cases, and any local rules of the Bankruptcy Court.

               “Bar Date” means, as applicable, the General Bar Date, the Administrative Claim Bar
Date or any other date established by the Bankruptcy Court as the deadline by which Proofs of Claim
must be filed.

                “Bar Date Order” means, collectively, (i) the Order Establishing (I) Deadlines for Filing
Proofs of Claims and Procedures Relating Thereto, (II) Approving the Proof of Claim Forms, and
(III) Approving the Form and Manner of Notice Thereof [D.I. 800] and (ii) the Order (I) Extending the
General Bar Date For a Limited Period and (II) Approving the Form and Manner of Notice Thereof
[D.I. 1221].

                “Benefit Plan” means any “employee benefit plan” as defined in section 3(3) of ERISA,
compensation, employment, consulting, severance, retention or similar plan, agreement, arrangement,
program or policy, or other plan, agreement, arrangement, program or policy providing for compensation,
bonuses or other forms of incentive compensation, including the Key Employee Plans, vacation benefits,
insurance, medical, dental, vision, prescription or fringe benefits, life insurance, perquisites, disability or
sick leave benefits or employee assistance program, in each case, that is sponsored, maintained or
administered or entered into by the Debtors for the benefit of their respective employees or non-employee
directors.

               “Business Day” means any day other than a Saturday, a Sunday or any other day on
which banking institutions in New York, New York are authorized or required by law or executive order
to close.

                 “Canadian Patient Claim Settlement Stipulation” means the Amended and Restated
Stipulation and Order Permitting the Filing of a Class Proof of Claim Solely for Administrative
Convenience in Order to Effectuate a Potential Settlement in Respect of Certain Canadian Patient
Litigation [D.I. 1515].

                “Canadian Patient Settlement Agreement” means the “Patient Settlement Agreement” as
defined in the Canadian Patient Claim Settlement Stipulation.

               “Canadian Patient Settlement Trust” means the “Settlement Trust” as defined in the
Canadian Patient Claim Settlement Stipulation.

                 “Cash” means all legal tender of the United States of America.

                “Cause of Action” means any Claim, action, class action, claim, cross-claim, third-party
claim, cause of action, controversy, demand, right, Lien, indemnity, contribution, reimbursement,
guaranty, suit, obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power,


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privilege, license or franchise, in each case, of any kind, character or nature whatsoever, known or
unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate,
secured or unsecured, assertable directly or derivatively (including, without limitation, under alter ego
theories), whether arising before, on or after the Petition Date, in contract or in tort, at law, in equity or
otherwise, or pursuant to any other theory of law. For the avoidance of doubt, “Causes of Action”
expressly includes (i) any Cause of Action held by a natural person who is not yet born or who has not yet
attained majority as of the Petition Date or as of the Effective Date, (ii) any right of setoff, counterclaim
or recoupment and any Claim for breach of contract or for breach of duty imposed by law or in equity,
(iii) the right to object to or otherwise contest Claims or Interests, (iv) any Claim or Cause of Action
pursuant to section 362 of the Bankruptcy Code or chapter 5 of the Bankruptcy Code, (v) any Claim or
defense, including fraud, mistake, duress and usury and any other defense set forth in section 558 of the
Bankruptcy Code, and (vi) any Claim under any state or foreign law, including for the recovery of any
fraudulent transfer or similar Claim.

                “Channeled Claims” means, collectively, Non-Federal Domestic Governmental Claims,
Tribe Claims, Hospital Claims, Third-Party Payor Claims, NAS Monitoring Claims, PI Claims and, in
each case, all Released Claims and Shareholder Released Claims arising out of or related to any of the
foregoing Claims.

                 “Channeling Injunction” means the channeling injunction issued pursuant to
Section 10.7 of the Plan.

               “Chapter 11 Cases” means the cases under chapter 11 of the Bankruptcy Code
commenced by the Debtors on or after the Petition Date (and not otherwise dismissed), currently pending
in the Bankruptcy Court that are jointly administered in the case styled In re Purdue Pharma L.P., Case
No. 19-23649 (RDD).

                “Civil Settlement Agreement” means that certain civil settlement agreement attached as
Exhibit C to the DOJ 9019 Motion, as approved and modified by the DOJ 9019 Order, by and among
Purdue Pharma L.P. and the United States, acting through the United States Department of Justice, Civil
Division, Commercial Litigation Branch, the United States Attorney’s Office for the District of New
Jersey, the United States Attorney’s Office for the District of Vermont, and on behalf of the Office of
Inspector General of the United States Department of Health and Human Services, the Defense Health
Agency, acting on behalf of the TRICARE Program, 10 U.S.C. §§ 1071-1110b, and the Office of
Personnel Management.

                “Claim” has the meaning set forth in section 101(5) of the Bankruptcy Code.

                “Class” means any group of Claims or Interests classified under this Plan pursuant to
section 1122(a) of the Bankruptcy Code.

                “Co-Defendant Claim” means any Claim that (i) either (A) is or could be asserted against
any Debtor, including without limitation any Claim that would otherwise be a Cure Claim or (B) seeks to
recover from any property of any Debtor or its Estate or any Purdue Insurance Policy, (ii) is for or based
upon or arises from contribution, indemnification, reimbursement, setoff or recoupment or any other
similar claim or Cause of Action, and (iii) seeks to recover, directly or indirectly, any costs, losses,
damages, fees, expenses or any other amounts whatsoever, actually or potentially imposed upon the
Holder of such Claim, in each case relating to or arising from any actual or potential litigation or dispute,
whether accrued or unaccrued, asserted or unasserted, existing or hereinafter arising, based on or relating
to, or in any manner arising from, in whole or in part, Opioid-Related Activities or otherwise relating to
opioids (including, without limitation, any such Claims asserted by any manufacturer, distributor,

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pharmacy, pharmacy-benefit manager, group purchasing organization or physician or other contract
counterparty or business partner of any Debtor, but excluding any Claims in respect of any D&O Policy
or indemnification provisions expressly assumed pursuant to Section 8.6 of the Plan). Notwithstanding
anything to the contrary in the Plan, any Claim that satisfies the definition of a Co-Defendant Claim shall
be a Co-Defendant Claim notwithstanding that such Claim would otherwise satisfy the definition of
another type of Claim.

               “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order.

                “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court
regarding confirmation of the Plan, as such hearing may be adjourned or continued from time to time.

                “Confirmation Order” means the order of the Bankruptcy Court confirming this Plan
pursuant to section 1129 of the Bankruptcy Code and approving the Plan Settlement, which shall be in
form and substance acceptable to the Debtors and reasonably acceptable to the Creditors’ Committee and
the Ad Hoc Committee and the MSGE Group.

                 “Contract Dispute” means an unresolved objection regarding assumption or assumption
and assignment, Cure Amount, “adequate assurance of future performance” (within the meaning of
section 365 of the Bankruptcy Code) or other issues related to assumption or assumption and assignment
of an executory contract or unexpired lease.

                “Creditor Trust” means (i) with respect to Non-Federal Domestic Governmental Claims,
NOAT, (ii) with respect to Tribe Claims, the Tribe Trust, (iii) with respect to Hospital Claims, the
Hospital Trust, (iv) with respect to Third-Party Payor Claims, the TPP Trust, (v) with respect to NAS
Monitoring Claims, the NAS Monitoring Trust and (vi) with respect to PI Claims, the PI Trust.

                “Creditor Trust Documents” means (i) with respect to an Abatement Trust, the
applicable Abatement Trust Documents and (ii) with respect to the PI Trust, the PI Trust Documents.

                 “Creditor Trust Operating Expenses” means, with respect to each Creditor Trust, any
and all costs, expenses, fees, taxes, disbursements, debts or obligations incurred from the operation and
administration of such Creditor Trust, including in connection with the reconciliation and administration
of the Channeled Claims channeled to such Creditor Trust, working capital and all compensation, costs
and fees of the Creditor Trustees of such Creditor Trust and any professionals retained by such Creditor
Trustees.

                 “Creditor Trust Operating Reserves” means the reserves to be established to pay the
Creditor Trust Operating Expenses of the respective Creditor Trusts. The Creditor Trust Operating
Reserves shall be (i) funded with Cash and cash equivalents held by the respective Creditor Trusts in
accordance with the respective Creditor Trust Documents and (ii) held by the respective Creditor Trusts
in a segregated account and administered by the respective Creditor Trustees.

                 “Creditor Trustee(s)” means each trustee of a Creditor Trust or, collectively, the trustees
of the Creditor Trusts, in each case, appointed in accordance with Section 5.7(b) of the Plan.

                “Creditors’ Committee” means the statutory committee of unsecured creditors appointed
by the U.S. Trustee on September 27, 2019 pursuant to section 1102(a)(1) of the Bankruptcy Code.

                “Cure Amount” means the payment of Cash or the distribution of other property (as the
parties may agree or the Bankruptcy Court may order) as necessary to (i) cure a monetary default by the


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Debtors in accordance with the terms of an executory contract or unexpired lease of the Debtors and
(ii) permit the Debtors to assume such executory contract or unexpired lease under section 365(a) of the
Bankruptcy Code.

              “Cure Claim” means a Claim for a Cure Amount in connection with the assumption or
assumption and assignment of an executory contract or unexpired lease under section 365(a) of the
Bankruptcy Code.

                  “D&O Insurance Policies” means all insurance policies (including extension of coverage
of any policy beyond the end of the policy period) for directors’, officers’, managers’ authorized agents’
or employees’ liability that have been issued at any time to, or provided coverage to, any of the Debtors
or their directors, officers, managers or authorized agents, and all agreements, documents or instruments
relating thereto, including any D&O Side A Insurance.

                “D&O Side A Insurance” means any (i) directors and officers insurance policies
purchased by the Debtors for the period from January 11, 2018 to February 11, 2022; and (ii) the directors
and officers insurance policies purchased by the Debtors for the period from December 11, 2016 to
January 11, 2018, excepting only the Side B coverage necessary for reimbursement of amounts incurred
and paid by the Debtor prior to the Effective Date to defend and indemnify directors, officers and
authorized agents covered under such directors and officers insurance policies.

                “Debtor(s)” has the meaning set forth in the introductory paragraph of the Plan.

                 “Disallowed” means (i) with respect to a Channeled Claim, such Claim, or any portion
thereof, that has been disallowed in accordance with the applicable Creditor Trust Documents and
(ii) with respect to any Claim against a Debtor (other than a Channeled Claim), such Claim, or any
portion thereof, that (A) has been disallowed under this Plan, by a Final Order or pursuant to a settlement,
(B) is Scheduled at zero dollars or as contingent, disputed or unliquidated and as to which a Bar Date has
been established but no Proof of Claim has been timely filed or deemed timely filed with the Bankruptcy
Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court, including the
Bar Date Order, or otherwise deemed timely filed under applicable law, or (iii) with respect to any Claim
against the Debtors, such Claim that is not Scheduled and as to which a Bar Date has been established but
no Proof of Claim has been timely filed or deemed timely filed with the Bankruptcy Court pursuant to
either the Bankruptcy Code or any Final Order of the Bankruptcy Court or otherwise deemed timely filed
under applicable law. Correlative terms such as “Disallow” have correlative meanings.

                 “Disbursing Agent” means any Person in its capacity as disbursing agent under
Article VI of the Plan, including the Plan Administration Trustee acting in such a capacity to make
Distributions in respect of Allowed Claims, other than Channeled Claims, pursuant to the Plan.

                “Disclosure Statement” means the disclosure statement for this Plan, as may be amended
or supplemented from time to time, prepared and distributed in accordance with sections 1125, 1126(b)
and 1145 of the Bankruptcy Code, Bankruptcy Rules 3016 and 3018 and other applicable law, and all
exhibits, appendices, schedules, supplements, modifications, amendments, annexes and attachments to
such disclosure statement.

                  “Disputed” means, with respect to a Claim against a Debtor, a Claim that is not yet
Allowed or Disallowed, and including, for the avoidance of doubt, any Claim the Holder of which votes
to reject the Plan.

               “Disputed Claims Reserves” means, collectively, the reserves to be established on
account of Disputed Avrio General Unsecured Claims, Disputed Adlon General Unsecured Claims and


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Disputed Other General Unsecured Claims (which may be a single or collective reserve for one or more
Classes of Claims). The Disputed Claims Reserves shall be (i) funded on the Effective Date with
Effective Date Cash in an amount determined by the Debtors and reasonably acceptable to the the
Creditors’ Committee, the Ad Hoc Committee and the MSGE Group and (ii) held by the Plan
Administration Trust and administered by the Plan Administration Trustee on and after the Effective
Date.

                “Disputed Cure Claim” means the amount that a counterparty to an Contract Dispute
alleges must be paid in order for an executory contract or unexpired lease to be assumed or assumed and
assigned as provided under the Plan.

                 “Disputed Cure Claims Reserve” means a reserve established to pay the aggregate
amount of Disputed Cure Claims or such lower amount as ordered by the Bankruptcy Court or agreed to
by the parties to the applicable executory contract or unexpired lease. The Disputed Cure Claims Reserve
shall be (i) funded on the Effective Date with Effective Date Cash in an amount determined by the
Debtors and reasonably acceptable to the Creditors’ Committee, the Ad Hoc Committee and the MSGE
Group and (ii) held by the Plan Administration Trust in a segregated account and administered by the
Plan Administration Trustee on and after the Effective Date.

                 “Distribution” means any initial or periodic payment or transfer of consideration in
respect of Allowed Claims made under this Plan; provided that (i) all Distributions in respect of Non-
Federal Domestic Governmental Claims, Tribe Claims, Hospital Claims, Third-Party Payor Claims and
NAS Monitoring Claims shall be exclusively in the form of Abatement Distributions made by the
respective Abatement Trusts in accordance with the applicable Abatement Trust Documents; (ii) all
Distributions in respect of PI Claims shall be exclusively from the PI Trust in accordance with the PI
Trust Documents, and (iii) the only Distribution in respect of Ratepayer Claims shall be the Truth
Initiative Contribution.

                “Distribution Record Date” means the record date for purposes of making Distributions
under the Plan on account of Allowed Claims, which date shall be the Effective Date.

               “DOJ” means the United States Department of Justice.

               “DOJ 9019 Motion” means the Motion of Debtors Pursuant to 11 U.S.C. § 105 and Fed.
R. Bankr. P. 9019 Authorizing and Approving Settlements Between the Debtor and the United States
[D.I. 1828].

               “DOJ 9019 Order” means the Order Pursuant to 11 U.S.C. § 105 and Fed. R. Bankr. P.
9019 Authorizing and Approving Settlements Between the Debtors and the United States [D.I. 2004].

               “DOJ Civil Claim” means the “Civil Claim” as defined in the DOJ 9019 Order in the
amount of $2.8 billion.

                “DOJ Conviction Judgment Date” means the date on which the United States District
Court for the District of New Jersey enters a judgment of conviction pursuant to the Plea Agreement and
the DOJ 9019 Order.

                “DOJ Criminal Fine Claim” means the “Criminal Fine Claim” as defined in the DOJ
9019 Order in the amount of $3.544 billion.

              “DOJ Forfeiture Judgment Claim” means the “Forfeiture Judgment” as defined in the
DOJ 9019 Order in the amount of $2 billion.


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                “DOJ Forfeiture Judgment Credit” means the amount of value distributed or otherwise
conferred by the Debtors in respect of Non-Federal Domestic Governmental Claims and Tribe Claims,
which shall be credited against the DOJ Forfeiture Judgment Claim pursuant to the Plan and the Plea
Agreement, it being understood and agreed that (i) the amount so credited shall not exceed $1.775 billion
and (ii) the Confirmation Order shall include a finding that the amount of value distributed or otherwise
conferred by the Debtors in respect of Non-Federal Domestic Governmental Claims and Tribe Claims
exceeds $1.775 billion.

               “DOJ Forfeiture Payment” means a payment of $225 million in Cash by PPLP to the
United States Marshals in accordance with the Plan, the Plea Agreement and the DOJ 9019 Order.

                 “DOJ Resolution” means the Plea Agreement and the Civil Settlement Agreement,
including the settlements contemplated therein and the other terms and conditions thereof.

                “DOJ Unsecured Claims” means the DOJ Civil Claim and the DOJ Criminal Fine Claim.

                 “Domestic Governmental Entity” means the United States or any State, county,
municipality, Tribe, public school district or other Governmental Unit within the United States, or an
officer of any of the foregoing in his or her official capacity.

                 “Effective Date” means the date selected by the Debtors for the consummation of the
Plan, or as soon thereafter as reasonably practicable.

                  “Effective Date Cash” means, collectively all Cash and cash equivalents of the Debtors
on the Effective Date prior to the making of any payments by the Debtors in accordance with the
Restructuring Transactions, excluding any Cash and cash equivalents (i) in the form of security deposits,
(ii) that collateralize any obligations of the Debtors or (iii) that are otherwise subject to any legal,
contractual or other restriction on the ability to freely transfer such Cash or cash equivalents.

                “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

               “ERISA” means the Employee Retirement Income Security Act of 1974, as amended. 29
U.S.C. §§ 1301-1461.

                “Estate(s)” means, individually or collectively, the estate or estates of the Debtors created
under section 541 of the Bankruptcy Code.

                  “Estate Causes of Action” means any and all Causes of Action that any Debtor may have
or be entitled to assert on behalf of its Estate or itself, whether or not asserted.

                “Excluded Assets” means (i) all Effective Date Cash other than the Initial NewCo Cash
and (ii) any other Assets of the Debtors excluded from the transfer to NewCo pursuant to the NewCo
Transfer Agreement, including without limitation all MDT Transferred Assets and all PAT Assets.

                 “Excluded Party” means (i) each Person identified on the Schedule of Excluded Parties
and (ii) each Holder of a Claim against or Interest in any Debtor that votes to reject (if such Holder is
entitled to vote) or objects to the Plan and such Holder’s Related Parties (solely in such Related Parties’
respective capacities as Related Parties of such Holder).

                “Exculpated Parties” means, collectively, (i) the Debtors, (ii) the Creditors’ Committee
and its members, solely in their capacity as such, (iii) the Plan Administration Trustee, (iv) the MDT
Trustees and the MDT Executive Director, (v) the Creditor Trustees, (vi) the Supporting Claimants, each


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solely in their capacities as such, and (vii) with respect to each of the Persons in the foregoing clauses (i)
through (vi), each of their Related Parties; provided, however, that no Excluded Party or Shareholder
Released Party shall be an Exculpated Party in any capacity or respect.

               “Federal Government Unsecured Claims” means the DOJ Unsecured Claims and the
Other Federal Agency Claims.

                  “Final Order” means an order or judgment of the Bankruptcy Court, as entered on the
docket in any Chapter 11 Case, or of any other court of competent jurisdiction (i) that has not been
reversed, stayed, modified or amended, and (ii) (A) as to which the time to appeal, seek certiorari or move
for a new trial, re-argument or rehearing has expired according to applicable law and no appeal or petition
for certiorari or other proceedings for a new trial, re-argument or rehearing has been timely taken or
(B) as to which any appeal that has been taken or any petition for certiorari that has been or may be timely
filed has been withdrawn or resolved by the highest court to which the order or judgment was appealed or
from which certiorari was sought or the new trial, re-argument or rehearing shall have been denied,
resulted in no modification of such order or has otherwise been dismissed with prejudice.

                “General Bar Date” means July 30, 2020.

                “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy
Code.

                “Holder” means a Person holding a Claim or Interest, as applicable.

                “Hospital Claim” means any Claim against any Debtor that is held by a provider of
healthcare treatment services or any social services, in its capacity as such, and that is not held by a
Domestic Governmental Entity.

                 “Hospital Trust” means a trust to be established in accordance with Section 5.7 of the
Plan to (i) assume all liability for the Hospital Claims, (ii) hold the MDT Hospital Claim and collect the
Initial Hospital Trust Distribution and payments due under the MDT Hospital Claim accordance with the
Private Entity Settlements and the Hospital Trust Documents, (iii) administer Hospital Claims and
(iv) make Abatement Distributions to Authorized Recipients for Authorized Abatement Purposes, in each
case in accordance with the Hospital Trust Documents.

                “Hospital Trust Documents” means the trust agreement establishing and delineating the
terms and conditions for the creation and operation of the Hospital Trust and the Abatement Distribution
procedures to be implemented by the Hospital Trust, in each case, the terms of which shall be acceptable
to the Debtors and the Ad Hoc Group of Hospitals and reasonably acceptable to the Creditors’
Committee, the Ad Hoc Committee and the MSGE Group, and which shall be filed with the Plan
Supplement.

               “Impaired” means, with respect to any Claim, Interest or Class of Claims or Interests,
“impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.

               “Initial Hospital Trust Distribution” means the payment of $25 million of Effective Date
Cash to the Hospital Trust on the Effective Date.

                “Initial NAS Monitoring Trust Distribution” means the payment of $1 million of
Effective Date Cash to the NAS Monitoring Trust on the Effective Date.




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              “Initial NewCo Cash” means $200 million of Effective Date Cash to be transferred to
NewCo on the Effective Date.

               “Initial NOAT Distribution” means the payment to NOAT on the Effective Date of all
Effective Date Cash remaining after the satisfaction of all amounts described in Section 5.13(a) of the
Plan.

                “Initial PI Trust Distribution” means the payment of $300 million of Effective Date
Cash to the PI Trust on the Effective Date.

                  “Initial Private Creditor Trust Distributions” means, collectively, the Initial Hospital
Trust Distribution, the Initial TPP Trust Distribution, the Initial NAS Monitoring Trust Distribution and
the Initial PI Trust Distribution.

                “Initial Public Creditor Trust Distributions” means, collectively, the Initial NOAT
Distribution and the Initial Tribe Trust Distribution.

               “Initial TPP Trust Distribution” means the payment of $1 million of Effective Date
Cash to the TPP Trust on the Effective Date.

                “Initial Tribe Trust Distribution” means the payment of $50 million of Effective Date
Cash to the Tribe Trust on the Effective Date.

                 “Insurance Companies” means, collectively, all Persons that issued any Purdue
Insurance Policy, any third-party administrator, claims handling agent or any parent, Subsidiary, affiliate,
successor, predecessor or assign of any of the foregoing, solely in such Insurance Company’s capacity
with respect to a Purdue Insurance Policy.

                “Intercompany Claim” means any Claim against any Debtor that is held by another
Debtor or an affiliate of a Debtor.

                “Intercompany Interest” means any Interest in any Debtor that is held by another Debtor.

                 “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy
Code) in a Person, including any shares, common stock or units, preferred stock or units, or other
instrument evidencing any fixed or contingent equity or ownership interest in a Person, including any
option, warrant or other right, contractual or otherwise, to acquire any such interest in such Person,
whether or not transferable and whether fully vested or vesting in the future.

              “Interim Compensation Order” means the Order Establishing Procedures for Interim
Compensation and Reimbursement of Expenses for Retained Professionals [D.I. 529].

                “IRC” means the Internal Revenue Code of 1986, as amended.

                “IRS” means the Internal Revenue Service.

                “Key Employee Plans” means, collectively, (i) the Key Employee Retention Plan
approved by the Bankruptcy Court pursuant to the Order Authorizing the Debtors to Implement a Key
Employee Retention Plan [D.I. 1762] and (ii) the Key Employee Incentive Plan approved by the
Bankruptcy Court pursuant to the Order Authorizing the Debtors to Implement a Key Employee Incentive
Plan [D.I. 1861] and the Supplemental Order Authorizing the Debtors to Implement a Key Employee
Incentive Plan [D.I. 2002].


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                “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

                 “Liquidating Debtors” means, collectively, all Debtors that are not Transferred PPLP
Subsidiaries, on and after the Effective Date.

                “Master Disbursement Trust” means the trust established in accordance with Section 5.6
of the Plan to, among other things, (i) hold and administer the MDT Transferred Assets, (ii) make
payments to the Private Creditor Trusts in satisfaction of the MDT Claims in accordance with the Plan
and the Private Entity Settlements and (iii) make Public Creditor Trust Distributions in respect of the
MDT Interests from MDT Excess Cash in accordance with the Plan and the Public Entity Settlements.

                 “MDT Agreement” means the trust agreement establishing and delineating the terms and
conditions for the creation and operation of the Master Disbursement Trust, the terms of which shall be
consistent with the Plan and otherwise reasonably acceptable to the Debtors, the Creditors’ Committee,
the Ad Hoc Committee and the MSGE Group, and which shall be filed with the Plan Supplement.

                   “MDT Causes of Action” means any and all Retained Causes of Action (i) against
Excluded Parties or relating to and necessary to enforce Retained Causes of Action against Excluded
Parties, (ii) relating to and necessary to enforce the MDT Insurance Rights, (iii) relating to and necessary
to enforce the Shareholder Claim Rights, including without limitation, but subject to the terms of, the
Shareholder Settlement Agreement or (iv) against any other Person that is not an ongoing commercial
counterparty of NewCo, to the extent such Retained Causes of Action are not otherwise transferred to the
Plan Administration Trust or the Creditor Trusts.

           “MDT Claims” means, collectively, the MDT Hospital Claim, the MDT TPP Claim, the
MDT NAS Monitoring Claim and the MDT PI Claim.

              “MDT Claims Reserve” means a reserve to be established and held by the MDT Trustees
in accordance with, and in the amounts set forth in, Section 5.2(d)(ii) of the Plan, solely upon the
commencement and during the continuation of an MDT Reserve Period.

                  “MDT Distribution Date” means July 30, 2022 and each twelve (12) month anniversary
thereof, until the MDT Claims are paid in full.

                 “MDT Excess Cash” means all Cash and cash equivalents held by the Master
Disbursement Trust, as of the relevant date of determination, in excess of the amounts referenced in
Section 5.2(f)(i)(A), (B), (C) and (D) of the Plan.

                “MDT Executive Director” means the executive director of the Master Disbursement
Trust appointed in accordance with Section 5.6(e) of the Plan.

                 “MDT Hospital Claim” means the beneficial interest in the Master Disbursement Trust
granted to the Hospital Trust pursuant to the Private Entity Settlements, which interest shall entitle the
Hospital Trust to the payment of the amounts set forth in Section 5.2(d)(i)(A) of the Plan.

              “MDT Insurance Collateral” means the Purdue Insurance Collateral in respect of the
MDT Insurance Policies.

               “MDT Insurance Policies” means (i) all Purdue Insurance Policies listed in Exhibit A to
the Complaint for Declaratory Relief, Adv. Pro. No. 21-07005 (RDD) [D.I. 1], and (ii) any additional
Purdue Insurance Policies agreed by the Debtors and the Ad Hoc Committee, which shall be identified in
the MDT Agreement.


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                “MDT Insurance Rights” means the Purdue Insurance Rights to be transferred by the
Debtors to the Master Disbursement Trust on the Effective Date in respect of the MDT Insurance Policies
and the MDT Insurance Collateral.

                “MDT Interests” means, collectively, the MDT NOAT Interest and the MDT Tribe
Interest.

                 “MDT NAS Monitoring Claim” means the beneficial interest in the Master
Disbursement Trust granted to the NAS Monitoring Trust pursuant to the Private Entity Settlements,
which interest shall entitle the NAS Monitoring Trust to the payment of the amounts set forth in
Section 5.2(d)(i)(C) of the Plan.

               “MDT NOAT Interest” means the beneficial interest in the Master Disbursement Trust
granted to NOAT under the Plan pursuant to the Public Entity Settlements, which interest shall entitle
NOAT to its share of distributions of MDT Excess Cash in accordance with Section 5.2(e)(i) of the Plan
and the MDT Priority Waterfall.

                 “MDT Operating Expenses” means any and all costs, expenses, fees, taxes,
disbursements, debts or obligations incurred from the operation and administration of the Master
Disbursement Trust, including in connection with the prosecution or settlement of MDT Causes of
Action, working capital, all compensation, costs and fees of the MDT Trustees, the MDT Executive
Director and any professionals retained by the Master Disbursement Trust, but excluding any amounts to
be paid in respect of the MDT Claims or the MDT Interests.

                “MDT Operating Reserve” means a reserve to be established to pay any and all MDT
Operating Expenses. The MDT Operating Reserve shall be (i) funded on the Effective Date with $[•] of
Effective Date Cash, and thereafter with Cash held or received by the Master Disbursement Trust (other
than the Cash proceeds of MDT Insurance Rights payable to the PI Trust on account of the MDT PI
Claim pursuant to Section 5.2(d)(i)(D) of the Plan) in accordance with the MDT Agreement as
determined by the MDT Trustees and (ii) held by the Master Disbursement Trust in a segregated account
and administered by the MDT Trustees on and after the Effective Date.

                “MDT PI Claim” means the beneficial interest in the Master Disbursement Trust granted
to the PI Trust pursuant to the Private Entity Settlements, which interest shall entitle the PI Trust to the
payment of the amounts set forth in Section 5.2(d)(i)(D) of the Plan.

              “MDT Priority Waterfall” means the priority waterfall applicable to the Master
Disbursement Trust set forth in Section 5.2(f)(i) of the Plan.

                  “MDT Reserve Period” means, until the payment in full in Cash of the MDT Claims, any
period (i) commencing upon either (A) the failure of any amounts to be paid to the Master Disbursement
Trust when due under the Shareholder Settlement Agreement, (B) the determination by the MDT
Trustees, after the receipt of a written acknowledgment by any obligor under the Shareholder Settlement
Agreement that any amounts due on the next SSA Payment Date are not expected to be paid, that the
Master Disbursement Trust is not likely to be able to fund the payments due on account of the MDT
Claims on the next MDT Distribution Date after taking into account all sources of liquidity and expected
recoveries by the Master Disbursement Trust or (C) the determination by the MDT Trustees, on or after
the date that is one hundred twenty (120) days prior to the third MDT Distribution Date, that the Master
Disbursement Trust is not likely to be able to fund the payments due on account of the MDT Claims on
the third MDT Distribution Date from the payments due under the Shareholder Settlement Agreement and
other sources of liquidity and expected recoveries by the Master Disbursement Trust, and (ii) continuing
until (A) all currently and past due payments under the Shareholder Settlement Agreement have been paid

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in full or (B) either (I) the MDT Trustees determine that the Master Disbursement Trust is no longer
reasonably likely to be unable to make the required payments on account of the MDT Claims on the next
MDT Distribution Date or (II) the MDT Operating Reserve is fully funded in the amounts set forth in
Section 5.2(f)(i)(A) of the Plan and the MDT Claims Reserve is fully funded in the amounts set forth in
Section 5.2(d)(ii) of the Plan.

                “MDT TPP Claim” means the beneficial interest in the Master Disbursement Trust
granted to the TPP Trust pursuant to the Private Entity Settlements, which interest shall entitle the TPP
Trust to the payment of the amounts set forth in Section 5.2(d)(i)(B) of the Plan.

                 “MDT Transferred Assets” means all right, title and interest of the Debtors arising under,
or attributable to, (i) the MDT Operating Reserve, (ii) the MDT Causes of Action, (iii) the MDT
Insurance Rights, (iv) the Shareholder Claim Rights, (v) any other Excluded Assets that are not PAT
Assets and (vi) any Surplus Reserve Cash to be distributed to the Master Disbursement Trust, upon the
identification thereof by the Plan Administration Trustee or the dissolution of the Plan Administration
Trust, in accordance with Section 5.13(c) of the Plan. For the avoidance of doubt, “MDT Transferred
Assets” shall not include any Causes of Action against any Released Party.

                 “MDT Tribe Interest” means the beneficial interest in the Master Disbursement Trust
granted to the Tribe Trust under the Plan pursuant to the Public Entity Settlements, which interest shall
entitle the Tribe Trust to its share of distributions of MDT Excess Cash in accordance with
Section 5.2(e)(i) of the Plan and the MDT Priority Waterfall.

               “MDT Trustees” means the trustees of the Master Disbursement Trust appointed in
accordance with Section 5.6(d) of the Plan.

               “Mediation” means the mediation authorized by the Bankruptcy Court and described in
the Order Appointing Mediators [D.I. 895].

                 “MSGE Group” means the Multi-State Governmental Entities Group identified in the
Second Amended Verified Statement of the Multi-State Governmental Entities Group Pursuant to Rule
2019 of the Federal Rules of Bankruptcy Procedure [D.I. 1794], as amended from time to time; provided,
however, that, notwithstanding anything herein to the contrary, for purposes of any Plan Document or any
other term of this Plan that must be acceptable or reasonably acceptable, as applicable, to the MSGE
Group, the sole remedy of the MSGE Group in the event such term is not acceptable or reasonably
acceptable, as applicable, shall be termination of its support for this Plan.

                 “NAS Child” means a natural person who has been diagnosed by a licensed medical
provider with a medical, physical, cognitive or emotional condition resulting from such natural person’s
intrauterine exposure to opioids or opioid replacement or treatment medication, including but not limited
to the condition known as neonatal abstinence syndrome.

               “NAS Committee” means the Ad Hoc Committee of NAS Children identified in the First
Amended Verified Statement of the Ad Hoc Committee of NAS Children Pursuant to Bankruptcy Rule
2019 [D.I. 1582].

                “NAS Monitoring Claim” means any Claim against any Debtor that is held by, or on
account of or on behalf of, a NAS Child and relates to medical monitoring support, educational support,
vocational support, familial support or similar related relief, and is not for an alleged personal injury
suffered by a NAS Child.




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                 “NAS Monitoring Trust” means the trust to be established in accordance with
Section 5.7 of the Plan to (i) assume all liability for the NAS Monitoring Claims, (ii) hold the MDT NAS
Monitoring Claim and collect the Initial NAS Monitoring Trust Distribution and payments due under the
MDT NAS Monitoring Claim in accordance with the Private Entity Settlements and the NAS Monitoring
Trust Documents, (iii) administer NAS Monitoring Claims and (iv) make Abatement Distributions to
Authorized Recipients for Authorized Abatement Purposes, in each case in accordance with the NAS
Monitoring Trust Documents.

                 “NAS Monitoring Trust Documents” means the trust agreement establishing and
delineating the terms and conditions for the creation and operation of the NAS Monitoring Trust and the
Abatement Distributions procedures to be implemented by the NAS Monitoring Trust, in each case, the
terms of which shall be consistent with the Plan and otherwise acceptable to the Debtors and the NAS
Committee and reasonably acceptable to the Creditors’ Committee, the Ad Hoc Committee and the
MSGE Group, and which shall be filed with the Plan Supplement.

                “Native American Tribe Group” means the group consisting of the Muscogee (Creek)
Nation, a member of the Ad Hoc Committee, the Cheyenne & Arapaho Tribes, an ex officio member of
the Creditors’ Committee, and other Tribes represented by various counsel from the Tribal Leadership
Committee and the Plaintiffs’ Executive Committee in MDL No. 2804.

                 “Net Sale Proceeds” means (i) the Cash and cash equivalent proceeds in respect of the
sale of any Asset of TopCo or its Subsidiaries (other than the sale of inventory in the ordinary course of
business), including any Cash or cash equivalents received in respect of any non-Cash proceeds, minus
(ii) the sum of (A) all reasonable and documented out-of-pocket fees and expenses of TopCo or any of its
Subsidiaries paid to third parties in connection with such event, (B) any taxes paid or reasonably
estimated to be payable by TopCo or any of its Subsidiaries in connection with such event and (C) any
other amounts required to fund NewCo Operating Expenses or TopCo Operating Expenses, as applicable,
in accordance with the NewCo Priority Waterfall and the TopCo Priority Waterfall.

               “NewCo” means a newly formed Delaware limited liability company to be created in
accordance with Section 5.4 of the Plan to directly or indirectly receive the NewCo Transferred Assets
and operate such NewCo Transferred Assets in accordance with the NewCo Operating Agreement, the
NewCo Governance Covenants and the NewCo Operating Injunction.

                 “NewCo Available Cash” means all Cash and cash equivalents held by NewCo and its
Subsidiaries, as of the relevant date of determination, in excess of the amounts referenced in
Section 5.2(f)(ii)(A) of the Plan.

                “NewCo Distribution Date” means July 15, 2022 and each six (6)-month anniversary
thereof.

                  “NewCo Excess Cash” means (i) all Cash and cash equivalents held by NewCo and its
Subsidiaries, as of the relevant date of determination, in excess of the amounts referenced in
Section 5.2(f)(ii)(A) and (B) of the Plan and (ii) all amounts received by NewCo from the Master
Disbursement Trust pursuant to Section 5.2(f)(i)(D) of the Plan; provided that amounts described in this
clause (ii) shall be promptly distributed to TopCo and shall not be subject to the limitations of a NewCo
Distribution Date, or any other limitation, and thereafter distributed promptly by TopCo to NOAT and the
Tribe Trust.

                “NewCo Governance Covenants” means the provisions contained in the Confirmation
Order that will bind NewCo, and any successor owner of NewCo’s opioid business, to covenants to
ensure that NewCo (i) provides all of its products, including all opioid products, in a safe manner that

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limits the risk of diversion, (ii) complies with its obligations under the Public Entity Settlements and the
Private Entity Settlements, (iii) pursues and implements Public Health Initiatives, and (iv) otherwise takes
into account long-term public health interests relating to the opioid crisis and best environmental, social
and governance practices in management of a pharmaceutical business, which covenants shall be
acceptable to the DOJ, the Ad Hoc Committee and the MSGE Group and reasonably acceptable to the
Debtors; provided that the covenants in respect of the foregoing clause (ii) shall be acceptable to the DOJ
and reasonably acceptable to the Debtors, the Creditors’ Committee, the Ad Hoc Committee and the
MSGE Group.

              “NewCo Interest” means the sole limited liability company interest in NewCo issued to
TopCo pursuant to the Public Entity Settlements, representing 100% of the economic and voting Interests
in NewCo.

               “NewCo Managers” means the members of the board of managers of NewCo appointed
in accordance with Section 5.4(d) of the Plan.

                “NewCo Monitor” means the monitor appointed in accordance with Section 5.4(h) of the
Plan to ensure NewCo’s compliance with the NewCo Operating Injunction and the NewCo Governance
Covenants.

                 “NewCo Operating Agreement” means the limited liability company agreement of
NewCo, the terms of which shall be consistent with the Plan and the NewCo/TopCo Governance Term
Sheet and otherwise acceptable to the DOJ, the Ad Hoc Committee and the MSGE Group and reasonably
acceptable to the Debtors, and which shall be filed with the Plan Supplement.

                 “NewCo Operating Expenses” means any and all costs, expenses, fees, taxes,
disbursements, debts or obligations incurred from the operation and administration of NewCo and its
Subsidiaries, including (i) in connection with the Public Health Initiatives, (ii) working capital and other
capital needs, (iii) compensation, costs and fees of, and indemnification amounts owed to, the NewCo
Managers, the NewCo Monitor and any professionals retained by NewCo or the NewCo Monitor and
(iv) any amounts required to satisfy any deficiency of funding in the Wind-Up Reserve. For the avoidance
of doubt, amounts to be paid pursuant to the NewCo/TopCo Guarantee Agreement or as a TopCo
Distribution shall not be NewCo Operating Expenses.

                 “NewCo Operating Injunction” means a voluntary injunction to be contained in the
Confirmation Order that will bind NewCo, and any successor owner of NewCo’s opioid business, to
injunctive relief substantially similar to the voluntary injunction set forth in Appendix I to the Fifteenth
Amended Order Pursuant to 11 U.S.C. § 105(a) Granting Motion for a Preliminary Injunction, Adv.
Proc. Case No. 19-08289 (RDD) [D.I. 224], as amended from time to time, with any such changes to such
voluntary injunction as may be agreed by the Debtors, the Ad Hoc Committee and the MSGE Group
based upon good faith discussions and in furtherance of NewCo’s purpose as set forth in Section 5.4(b) of
the Plan.

                 “NewCo Priority Waterfall” means the priority waterfall applicable to NewCo set forth
in Section 5.2(f)(ii) of the Plan.

                 “NewCo Transfer Agreement” means one or more agreements transferring the NewCo
Transferred Assets, and all documents and information of the Debtors related thereto, from the Debtors to
NewCo or one of its Subsidiaries (or the transfer of the Transferred PPLP Subsidiaries to NewCo or one
of its Subsidiaries and the re-vesting of the NewCo Transferred Assets held by such Transferred PPLP
Subsidiaries in such Transferred PPLP Subsidiaries), the terms of which shall be consistent with the Plan



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and otherwise acceptable to the Debtors, the DOJ, the Ad Hoc Committee and the MSGE Group, and
which shall be filed with the Plan Supplement.

                “NewCo Transferred Assets” means (i) the Initial NewCo Cash and (ii) all non-Cash
Assets of the Debtors on the Effective Date (prior to giving effect to the Restructuring Transactions) other
than the Excluded Assets.

               “NewCo/TopCo Governance Term Sheet” means the governance term sheet for NewCo
and TopCo attached as Appendix F to the Disclosure Statement.

                “NewCo/TopCo Guarantee Agreement” means the guarantee agreement documenting
the obligations of NewCo and TopCo to make Cash payments to the Master Disbursement Trust in
accordance with Section 5.2(d)(iii) of the Plan, the terms and conditions of which shall be consistent with
the Plan and otherwise reasonably acceptable to the Debtors, the Creditors’ Committee, the Ad Hoc
Committee and the MSGE Group, and which shall be filed with the Plan Supplement.

                  “NOAT” means the National Opioid Abatement Trust, a Delaware statutory trust to be
established in accordance with Section 5.7 of the Plan to (i) assume all liability for the Non-Federal
Domestic Governmental Claims, (ii) hold the MDT NOAT Interest and the TopCo NOAT Interest and
collect the Initial NOAT Distribution and other Public Creditor Trust Distributions received in accordance
with the Public Entity Settlements, (iii) administer Non-Federal Domestic Governmental Claims and
(iv) make Abatement Distributions to Authorized Recipients for Authorized Abatement Purposes, in each
case in accordance with the NOAT Documents.

                “NOAT Documents” means the trust agreement establishing and delineating the terms
and conditions for the creation and operation of NOAT and the Abatement Distributions procedures to be
implemented by NOAT, in each case, the terms of which shall be consistent with the Plan and otherwise
acceptable to the DOJ, the Ad Hoc Committee and the MSGE Group, in consultation with the Debtors
and the Creditors’ Committee, and which shall be filed with the Plan Supplement.

                “Non-Federal Domestic Governmental Claim” means any Claim against any Debtor that
is held by a Domestic Governmental Entity other than the United States (including any Claim based on
the subrogation rights of the Holder thereof that is not an Other Subordinated Claim), and that is not a
Priority Tax Claim or a Tribe Claim.

                 “Opioid-Related Activities” means the development, production, manufacture, licensing,
labeling, marketing, distribution or sale of opioid Products or the use or receipt of any proceeds
therefrom, including as described in greater detail in the DOJ Resolution, or the use of opioids, including
opioids that are not Products.

               “Other Federal Agency Claim” means any Claim filed by the United States Department
of Health and Human Services, the United States Department of Veterans Affairs, the Indian Health
Service and the Centers for Medicare & Medicaid Services, set forth in Proofs of Claim Nos. 137406,
138509, 137782 and 138522.

               “Other General Unsecured Claim” means any Claim against any Debtor that is not an
Administrative Claim, a Priority Claim, a Secured Claim, a Federal Government Unsecured Claim, a
Channeled Claim, a Ratepayer Claim, a Co-Defendant Claim, an Other Subordinated Claim, an Avrio
General Unsecured Claim, an Adlon General Unsecured Claim or an Intercompany Claim.

               “Other General Unsecured Claim Cash” means $15 million of Effective Date Cash to be
used to make Distributions to Holders of Allowed Other General Unsecured Claims.


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                “Other Priority Claim” means any Claim against any Debtor that is entitled to priority of
payment as specified in section 507(a) of the Bankruptcy Code and is not an Administrative Claim or a
Priority Tax Claim.

                “Other Subordinated Claim” means any Claim against any Debtor that is subject to
subordination under section 509(c) or 510 of the Bankruptcy Code or other applicable law, and that is not
a Co-Defendant Claim. Notwithstanding anything to the contrary outside of this definition in the Plan,
any Claim that satisfies the definition of an Other Subordinated Claim shall be an Other Subordinated
Claim notwithstanding that such Claim would otherwise satisfy the definition of another type of Claim.

                 “PAT Agreement” means the trust agreement establishing and delineating the terms and
conditions for the creation and operation of the Plan Administration Trust, as it may be amended from
time to time, the terms of which shall be consistent with the Plan and otherwise acceptable to the Debtors,
and reasonably acceptable to the Creditors’ Committee, the Ad Hoc Committee and the MSGE Group,
and which shall be filed with the Plan Supplement.

                 “PAT Assets” means (i) the PAT Reserves, (ii) the PAT Distribution Accounts, (iii) the
Retained Causes of Action relating solely to, and only to the extent necessary for, the administration of
Claims against the Debtors (other than Channeled Claims), the enforcement of the Plan Administration
Trust’s rights and the other responsibilities of the Plan Administration Trust, provided that no Retained
Causes of Action against Excluded Parties shall constitute PAT Assets, except as necessary to object to
and resolve any Disputed Claims held by an Excluded Party and (iv) any other Excluded Assets identified
in the PAT Agreement.

                  “PAT Distribution Account” means one or more accounts to be established to make
Distributions in respect of Allowed Federal Government Unsecured Claims, Allowed Avrio General
Unsecured Claims, Allowed Adlon General Unsecured Claims and Allowed Other General Unsecured
Claims (which may be a single or collective account for one or more Classes of Claims). The PAT
Distribution Account shall be (i) funded on the Effective Date in accordance with Section 5.13(a)(viii) of
the Plan in an amount necessary to make Distributions in respect of such Claims to the extent Allowed as
of the Effective Date and periodically funded thereafter in accordance with Section 7.5 of the Plan and
(ii) held by the Plan Administration Trust and administered by the Plan Administration Trustee.

               “PAT Distribution Date” means any date upon which a Distribution is made by the Plan
Administration Trustee.

                “PAT Reserves” means, collectively, the Wind-Up Reserve, the Disputed Claims
Reserves, the Disputed Cure Claims Reserve and the Priority Claims Reserve.

               “PBGC” means the Pension Benefit Guaranty Corporation, a wholly-owned United
States government corporation, and an agency of the United States created by ERISA.

                “Person” means an individual, corporation, partnership, joint venture, association, joint
stock company, limited liability company, limited liability partnership, trust, estate, unincorporated
organization, Governmental Unit or other Entity.

                “Petition Date” means September 15, 2019.

                “PI Claim” means any Claim against any Debtor for alleged opioid-related personal
injury or other similar opioid-related claim or Cause of Action, including any opioid-related personal
injury Claim or similar opioid-related Claim asserted by a NAS Child, and that is not a Third-Party Payor
Claim, a NAS Monitoring Claim or a Claim held by a Domestic Governmental Entity.


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                  “PI Trust” means the trust to be established in accordance with Section 5.7 of the Plan to
(i) assume all liability for the PI Claims, (ii) hold the MDT PI Claim and collect the Initial PI Trust
Distribution and payments due under the MDT PI Claim in accordance with the Private Entity
Settlements and the PI Trust Documents, (iii) administer PI Claims, (iv) make Distributions to Holders of
Allowed PI Claims in accordance with the PI Trust Documents and (v) carry out such other matters as are
set forth in the PI Trust Documents.

                “PI Trust Documents” means the trust agreement establishing and delineating the terms
and conditions for the creation and operation of the PI Trust, including the trust distribution procedures to
be implemented by the PI Trust and the lien resolution procedures with respect to certain claims held by
Holders of Third-Party Payor Claims, in each case, the terms of which shall be consistent with the Plan
and otherwise acceptable to the Debtors and the Ad Hoc Group of Individual Victims (and, with respect
to such lien resolution procedures, the Third-Party Payor Group) and reasonably acceptable to the
Creditors’ Committee, the Ad Hoc Committee and the MSGE Group, and which shall be filed with the
Plan Supplement.

                 “Plan” means this joint chapter 11 plan of reorganization for the Debtors, including all
appendices, exhibits, schedules and supplements hereto, as it may be altered, amended or modified from
time to time in accordance with the Bankruptcy Code, the Bankruptcy Rules and the terms hereof.

                “Plan Administration Trust” means the trust to be created in accordance with Section 5.3
of the Plan to administer and make Distributions in respect of Claims against the Debtors (other than
Channeled Claims) and administer the Plan.

                “Plan Administration Trustee” means the trustee of the Plan Administration Trust
appointed in accordance with Section 5.3(c) of the Plan.

                “Plan Documents” means, collectively, the Plan and all documents to be executed,
delivered, assumed or performed in connection with the Restructuring Transaction and the occurrence of
the Effective Date, including the documents to be included in the Plan Supplement.

                “Plan Injunction” means the injunctions issued pursuant to Section 10.5 of the Plan.

                 “Plan Settlement” means the settlement of certain Claims and controversies described in
Section 5.2 of the Plan, and as further described and explained in the Disclosure Statement.

                 “Plan Supplement” means the supplement or supplements to the Plan containing certain
documents relevant to the implementation of the Plan, which shall include the MDT Agreement, the
NewCo Transfer Agreement, the NewCo Operating Agreement, the TopCo Operating Agreement, the
PAT Agreement, the PI Trust Documents, the NAS Monitoring Trust Documents, the Hospital Trust
Documents, the TPP Trust Documents, the NOAT Documents, the Tribe Trust Documents, the
NewCo/TopCo Guarantee Agreement, the identity of the MDT Trustees, the identity of the MDT
Executive Director, the identity of the NewCo Managers, the identity of the TopCo Managers, the identity
of the Plan Administration Trustee and PPLP Liquidator, the identity of the Creditor Trustees, the
Schedule of Rejected Contracts, the Schedule of Retained Causes of Action, the Schedule of Excluded
Parties, the Shareholder Settlement Agreement and the Restructuring Steps Memorandum.

                 “Plea Agreement” means that certain proposed plea agreement attached as Exhibit B to
the DOJ 9019 Motion, as approved by the DOJ 9019 Order, by and among (i) Purdue Pharma L.P. and
(ii) the United States, acting through the United States Attorney’s Office for the District of New Jersey,
the United States Attorney’s Office for the District of Vermont, and the United States Department of
Justice, Civil Division, Consumer Protection Branch.


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                  “PPI Interest” means any Interest in Purdue Pharma Inc., whether held directly or
indirectly, that existed immediately before the Effective Date.

                “PPLP” means Purdue Pharma L.P.

               “PPLP Dissolution Date” means the date on which the PPLP Liquidator dissolves PPLP
in accordance with Section 5.14(d) of the Plan.

               “PPLP Interest” means any Interest in PPLP, whether held directly or indirectly, that
existed immediately before the Effective Date.

               “PPLP Liquidator” means the person appointed in accordance with Section 5.14(c) of
the Plan, who will be the same individual appointed as the Plan Administration Trustee.

                “Priority Claim” means any Priority Tax Claim or Other Priority Claim.

                 “Priority Claims Reserve” means a reserve to be established to pay Allowed
Administrative Claims (other than Professional Fee Claims, which shall be paid from the Professional Fee
Escrow Account in accordance with Section 2.1(b) of the Plan, and the DOJ Forfeiture Judgment Claim,
which shall be paid in accordance with Section 2.3 of the Plan), Allowed Secured Claims and Allowed
Priority Claims. The Priority Claims Reserve shall be (i) funded on the Effective Date with Cash and cash
equivalents of the Debtors in an amount determined by the Debtors and reasonably acceptable to the Ad
Hoc Committee and the MSGE Group, in consultation with the Creditors’ Committee, and (ii) held by the
Plan Administration Trust in a segregated account and administered by the Plan Administration Trustee
on and after the Effective Date.

               “Priority Tax Claim” means any Claim against any Debtor that is held by a
Governmental Unit and of the kind entitled to priority in payment under sections 502(i) and 507(a)(8) of
the Bankruptcy Code.

                “Private Creditor Trusts” means the Hospital Trust, the TPP Trust, the NAS Monitoring
Trust and the PI Trust.

             “Private Entity Settlements” means the settlement of Hospital Claims, Third-Party Payor
Claims, NAS Monitoring Claims and PI Claims provided for under the Plan, as set forth in Section 5.2(d)
of the Plan.

                 “Privilege” means any attorney-client privilege, work-product protection, or other
privilege or protection of immunity (i) held by any or all of the Debtors or their Estates, (ii) held by the
board of directors (or similar body) or any special committee of the board of directors (or similar body) of
any of the Debtors and (iii) attaching to any documents, communications, or thing (whether written or
oral) including, but not limited to, all electronic information relating to any Purdue Insurance Rights or
Estate Causes of Action.

                 “Products” means any and all products developed, designed, manufactured, marketed or
sold, in research or development, or supported by, the Debtors, whether work in progress or in final form.

                 “Professional Fee Claim” means a Claim for services or costs incurred in connection
with such services, on or after the Petition Date and on or prior to the Effective Date, in each case by
Professional Persons that remains unpaid as of the Effective Date, less any existing amounts held as a fee
advance, retainer, or as security by a Professional Person that such Professional Person is authorized to
use to satisfy Allowed Professional Fee Claims pursuant to the Interim Compensation Order or an order


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of the Bankruptcy Court authorizing the retention of such Professional Person (other than a reasonable
retainer to cover post-Effective Date work); provided that, notwithstanding the foregoing, the Professional
Fee Claims of the Professional Persons retained by the Ad Hoc Committee shall be subject to the terms of
the AHC Reimbursement Agreement Assumption Order and shall also include fees and expenses incurred
prior to the Petition Date as and to the extent set forth in the AHC Reimbursement Agreement
Assumption Order.

                 “Professional Fee Escrow Account” means an account funded by the Debtors in Cash on
or before the Effective Date to satisfy Allowed Professional Fee Claims in accordance with Section 2.1(b)
of the Plan.

                “Professional Person” means (i) any Person retained by order of the Bankruptcy Court in
connection with these Chapter 11 Cases pursuant to section 327, 328, 330, 331, 503(b) or 1103 of the
Bankruptcy Code, excluding any ordinary course professional retained pursuant to an order of the
Bankruptcy Court, and (ii) each of the professionals for the Ad Hoc Committee, as and to the extent
authorized by the AHC Reimbursement Agreement Assumption Order.

               “Proof of Claim” means a proof of Claim against any of the Debtors filed in the
Chapter 11 Cases in accordance with section 501 of the Bankruptcy Code.

                  “Public Creditor Trust Distributions” means any and all payments, transfers and
distributions from or on behalf of the Debtors, NewCo, TopCo or the Master Disbursement Trust to
NOAT or the Tribe Trust, including without limitation the Initial Public Creditor Trust Distributions and
all distributions of MDT Excess Cash and TopCo Excess Cash received by NOAT or the Tribe Trust.

             “Public Entity Allocation” means the allocations of Public Creditor Trust Distributions
between NOAT and the Tribe Trust as set forth in Section 5.2(e)(iii) of the Plan.

              “Public Entity Settlements” means the settlement of Non-Federal Domestic
Governmental Claims and Tribe Claims provided for under the Plan, as set forth in Section 5.2(e) of the
Plan.

                “Public Health Initiatives” means the development and distribution of medicines to treat
opioid addiction and reverse opioid overdoses.

                “Purdue” has the meaning set forth in the introductory paragraph of this Plan.

                 “Purdue Insurance Collateral” means any collateral the Debtors have provided or set
aside to secure obligations under any Purdue Insurance Policy.

                 “Purdue Insurance Policies” means any primary, umbrella, excess, fronting or other
insurance policy, whether known or unknown, issued to or that provides or may provide coverage or
benefits at any time to the Debtors or under which the Debtors have sought or may seek coverage or
benefits, including, without limitation, any such policy for directors’ and officers’ liability, general
liability, product liability, property, workers’ compensation, fiduciary liability policy, and all agreements,
documents or instruments relating thereto.

                “Purdue Insurance Rights” means any and all rights, titles, privileges, interests, claims,
demands or entitlements of the Debtors to any proceeds, payments, benefits, Causes of Action, choses in
action, defense or indemnity arising under, or attributable to, any and all Purdue Insurance Policies or
Purdue Insurance Collateral, now existing or hereafter arising, accrued or unaccrued, liquidated or
unliquidated, matured or unmatured, disputed or undisputed, fixed or contingent. For the avoidance of


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doubt, “Purdue Insurance Rights” include proceeds of Purdue Insurance Policies and Purdue Insurance
Collateral.

               “Purdue Monitor” means the monitor retained pursuant to the voluntary injunction set
forth in Appendix I to the Fifteenth Amended Order Pursuant to 11 U.S.C. § 105(a) Granting Motion for
a Preliminary Injunction, Adv. Proc. Case No. 19-08289 (RDD) [D.I. 224], as amended from time to
time.

                 “Purdue Pension Plan” means the Purdue Pharma L.P. Pension Plan, a single-employer
defined benefit pension plan covered by Title IV of ERISA.

                “Ratepayer Claim” means any Claim against any Debtor that arises out of or relates to
the payment for health insurance by the Holder of such Claim.

                “Ratepayer Mediation Participants” means the proposed representatives of classes of
privately insured parties who are plaintiffs and proposed class representatives identified in the Amended
Verified Statement of Stevens & Lee, P.C. Pursuant to Bankruptcy Rule 2019 [D.I. 333].

                “Reinstated” means, with respect to any Claim against or Interest in a Debtor, that such
Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.

                 “Related Parties” means, with respect to a Person, such Person’s predecessors,
successors, assigns, Subsidiaries, affiliates, managed accounts or funds, past, present, and future officers,
board members, directors, principals, agents, servants, independent contractors, co-promoters, third-party
sales representatives, medical liaisons, members, partners (general or limited), managers, employees,
subcontractors, agents, advisory board members, financial advisors, attorneys and legal representatives,
accountants, investment bankers, consultants, representatives, management companies, fund advisors and
other professionals and advisors, trusts (including trusts established for the benefit of such Person),
trustees, protectors, beneficiaries, direct or indirect owners and/or equityholders, parents, transferees,
heirs, executors, estates, nominees, administrators, legatees, as well as the Related Parties of each of the
foregoing, in each case in their respective capacities as such. For the avoidance of doubt, the citizens and
residents of a State shall not be deemed to be Related Parties of such State solely as a result of being
citizens or residents of such State.

                   “Released Claims” means any Claims released pursuant to Section 10.6 of the Plan.

                  “Released Parties” means, collectively, (i) the Debtors, (ii) the Plan Administration
Trust, (iii) NewCo, (iv) TopCo, (v) the Master Disbursement Trust, (vi) the Creditor Trusts, (vii) with
respect to each of the foregoing Entities in clauses (i) through (vi), each of their Related Parties, and
(viii) solely for purposes of the Releases by the Debtor in Section 10.6(a) of the Plan, the Supporting
Claimants, solely in their capacity as such; provided, however, that, notwithstanding the foregoing or
anything herein to the contrary, no Excluded Party or Shareholder Released Party2 shall be a Released
Party in any capacity or respect.



2 The Shareholder Settlement, the release of claims and causes of action against the Shareholder Released Parties by the Debtors

and the Releasing Parties and the related injunctions (including the Shareholder Channeling Injunction) are integral parts of the
global settlement transactions reflected by the Plan. The terms of such releases and injunctions are subject to ongoing
negotiations among the Debtors, the Shareholder Released Parties, the Ad Hoc Committee and the Creditors’ Committee. The
Debtors anticipate filing an amended Plan incorporating such releases upon the parties’ agreement to a definitive Shareholder
Settlement Agreement prior to the hearing of the Bankruptcy Court to consider entry of the Solicitation Procedures Order.



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                 “Releases” means the releases provided for in Section 10.6 of the Plan, which shall be in
all respects acceptable to the Ad Hoc Committee and the MSGE Group.

                “Releasing Parties” means, collectively, (i) the Supporting Claimants, solely in their
respective capacities as such, (ii) all Holders of Claims against or Interests in the Debtors and (iii) with
respect to each of the foregoing Entities in clauses (i) and (ii) and the Debtors, each of their Related
Parties.

                “Restructuring Steps Memorandum” means the summary of transaction steps to
complete the Restructuring Transactions, which shall be consistent with the Plan and otherwise acceptable
to the Debtors and reasonably acceptable to the Creditors’ Committee, the Ad Hoc Committee and the
MSGE Group, and which shall be included in the Plan Supplement.

                 “Restructuring Transactions” means one or more transactions pursuant to
section 1123(a)(5)(D) of the Bankruptcy Code, to occur on or before the Effective Date or as soon as
reasonably practicable thereafter, that may be necessary or appropriate to effect any transaction described
in, approved by, contemplated by or necessary to effectuate this Plan, including (i) the creation of NewCo
and the direct or indirect transfer thereto and vesting therein (or in a Subsidiary of NewCo) of the NewCo
Transferred Assets free and clear of Claims, Interests and liabilities in accordance with the NewCo
Transfer Agreement, (ii) the creation of TopCo and the issuance of the NewCo Interest to TopCo, (iii) the
creation of the Master Disbursement Trust and the transfer thereto and vesting therein of the MDT
Transferred Assets, (iv) the creation of the Plan Administration Trust and the vesting therein of the PAT
Assets, (v) the creation of NOAT and the Tribe Trust and the consummation of the Public Entity
Settlements, consisting of the payment of the Initial Public Creditor Trust Distributions and the issuance
of the MDT Interests and the TopCo Interests, (vi) the creation of the Private Creditor Trusts and the
consummation of the Private Entity Settlements, consisting of the payment of the Initial Private Creditor
Trust Distributions and the issuance of the MDT Claims, (vii) the creation and funding of the Priority
Claims Reserve and the PAT Distribution Account to make Distributions in respect of Allowed Claims
(other than Channeled Claims), (viii) the payment of the Truth Initiative Contribution in satisfaction of
the Ratepayer Claims, (ix) the Shareholder Settlement, including the Shareholder Releases and the
Shareholder Channeling Injunction in exchange for, among other things, the contribution of funds to the
Master Disbursement Trust pursuant to the Shareholder Settlement Agreement, and (x) the Releases,
injunctions and exculpations set forth herein and in the Confirmation Order.

                 “Retained Causes of Action” means all Estate Causes of Action that are not expressly
settled or released under the Plan on or prior to the Effective Date, and which shall include all Causes of
Action against Excluded Parties and the Causes of Action set forth on the Schedule of Retained Causes of
Action. For the avoidance of doubt, “Retained Causes of Action” shall not include any Causes of Action
against any Released Party.

              “Schedule of Excluded Parties” means the schedule of Excluded Parties filed with the
Plan Supplement, which shall include only Persons agreed to by the Debtors, the Ad Hoc Committee and
the MSGE Group, with input from the Creditors’ Committee.

                “Schedule of Rejected Contracts” means the schedule of all executory contracts and
unexpired leases to be rejected by the Debtors, if any, filed with the Plan Supplement, which shall be in
form and substance acceptable to the Debtors and reasonably acceptable to the Ad Hoc Committee and
the MSGE Group, in consultation with the Creditors’ Committee.

                “Schedule of Retained Causes of Action” means the schedule of Retained Causes of
Action filed with the Plan Supplement, which shall be in form and substance acceptable to the Debtors
and the Ad Hoc Committee and the MSGE Group and reasonably acceptable to the Creditors’ Committee.

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                “Scheduled” means, with respect to any Claim against the Debtors, the status, priority,
and amount, if any, of such Claim as set forth in the Schedules.

                 “Schedules” means the schedules of assets and liabilities, statements of financial affairs,
lists of Holders of Claims and Interests and all amendments or supplements thereto filed by the Debtors
with the Bankruptcy Court to the extent such filing is not waived pursuant to an order of the Bankruptcy
Court.

                 “Secured Claim” means any Claim against any Debtor to the extent such Claim is
(i) secured by a valid, perfected and non-avoidable Lien on property of a Debtor’s Estate, the amount of
which is equal to or less than the value of such property (A) as set forth in this Plan, (B) as agreed to by
the Holder of such Claim and the Debtors, or (C) as determined by a Final Order in accordance with
section 506(a) of the Bankruptcy Code or (ii) subject to any setoff right of the Holder of such Claim under
section 553 of the Bankruptcy Code. “Secured Claim” does not include any Claim that meets the
definition of “Priority Tax Claim.”

                “Securities Act” means the Securities Act of 1933, as amended.

               “Settled Canadian Patient Claims” means the “Settled Patient Claims” as defined in the
Canadian Patient Claim Settlement Stipulation.

                 “Shareholder Channeling Injunction” means the channeling injunction issued pursuant
to Section 10.9 of the Plan.

                “Shareholder Claim Rights” means any and all rights, titles, privileges, interests, claims,
demands and entitlements of the Debtors arising under, or attributable to, any Causes of Action or choses
in action against, or proceeds, payments, benefits or indemnities from, Shareholder Released Parties,
including without limitation to the extent arising under, or attributable to, the Shareholder Settlement
Agreement and any related security agreements, documents, agreements or instruments, in each case
whether now existing or hereafter arising, accrued or unaccrued, liquidated or unliquidated, matured or
unmatured, disputed or undisputed, fixed or contingent.

                 “Shareholder Payment Group” means each distinct group of Shareholder Released
Parties with joint and several payment obligations under the Shareholder Settlement Agreement.

                “Shareholder Released Claims” means any Claims released pursuant to Section 10.8 of
the Plan.

                “Shareholder Released Parties” means the Persons that shall be released from Claims
held by the Debtors subject to and in accordance with the terms of the Shareholder Settlement Agreement.

                “Shareholder Releases” means the releases provided for in Section 10.8 of the Plan.

                “Shareholder Settlement” means the transactions contemplated under the Shareholder
Settlement Agreement, the release of the Shareholder Released Claims pursuant to Section 10.8 of the
Plan, the Shareholder Channeling Injunction pursuant to Section 10.9 of the Plan and all other terms and
provisions of the Plan, the Confirmation Order and the other Plan Documents implementing any of the
foregoing.

                 “Shareholder Settlement Agreement” means the settlement agreement to be entered into
on or prior to the Effective Date by and among the Debtors, the Master Disbursement Trust and certain of
the Shareholder Released Parties, which shall provide for, among other things, the settlement of claims


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against the Shareholder Released Parties and the payment of $4.275 billion by certain Shareholder
Released Parties to the Master Disbursement Trust, and the terms of which shall be consistent with the
Plan and the Shareholder Settlement Term Sheet and otherwise acceptable to the Debtors, the Creditors’
Committee, the Ad Hoc Committee and the MSGE Group.

                “Shareholder Settlement Term Sheet” means the term sheet attached as Appendix G to
the Disclosure Statement.

                 “Solicitation Procedures Order” means the order entered by the Bankruptcy Court
approving (i) the adequacy of information in the Disclosure Statement, (ii) solicitation and voting
procedures, (iii) forms of ballots, notices and notice procedures in connection therewith and (iv) certain
dates with respect thereto [D.I. [__]].

               “SSA Payment Date” means each date on which a payment is due under the Shareholder
Settlement Agreement.

               “SSA Percentage” means, with respect to a particular SSA Payment Date, (i) the amount
owed under the Shareholder Settlement Agreement on such SSA Payment Date by a particular
Shareholder Payment Group divided by (ii) the total amount owed under the Shareholder Settlement
Agreement on such SSA Payment Date.

                    “State” means any U.S. state, any U.S. territory or the District of Columbia.

                    “Subsidiaries” means, with respect to a Person, all direct and indirect subsidiaries of such
Person.

                 “Supporting Claimants” means (i) the Ad Hoc Committee, (ii) the MSGE Group,
(iii) the Native American Tribes Group, (iv) the Ad Hoc Group of Individual Victims, (v) [the Ad Hoc
Group of Hospitals], 3 (vi) the Third-Party Payor Group, (vii) the Ratepayer Mediation Participants,
(viii) the NAS Committee and (ix) with respect to each of the foregoing clauses (ii) through (viii), the
respective members thereof, solely in their capacity as such.

                “Surplus Reserve Cash” means any surplus Cash or cash equivalents in any of the PAT
Reserves in excess of what is estimated to be necessary to satisfy the obligations for which such amounts
were reserved, in each case, as determined by the Plan Administration Trustee in accordance with
Section 5.13(c) of the Plan.

                 “Third-Party Payor Claim” means any Claim against any Debtor that is held by a health
insurer, an employer-sponsored health plan, a union health and welfare fund or any other provider of
health care benefits, and including any third-party administrator or agent on behalf thereof, in each case in
its capacity as such (including any Claim based on the subrogation rights of the Holder thereof that is not
otherwise an Other Subordinated Claim), and that is not a held by a Domestic Governmental Entity.

                “Third-Party Payor Group” means the group of Holders of Third-Party Payor Claims
consisting of (i) the Holders of Third-Party Payor Claims represented by the TPP participants in the
Mediation listed in Exhibit A of the Mediators’ Report [D.I. 1716] and (ii) one representative from United
Healthcare and one representative from the Ad Hoc Group of Self-Funded Plans identified in the Verified
Statement of the Ad Hoc Group of Self-Funded Health Plans Pursuant to Rule 2019 of the Federal Rules
of Bankruptcy Procedure [D.I. 1243].

3 The Ad Hoc Group of Hospital’s status as a Supporting Claimant is conditioned upon an acceptable resolution with respect to

certain issues that remain under discussion.



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                 “TopCo” means a newly formed Delaware limited liability company to be created in
accordance with Section 5.5 of the Plan to (i) receive and hold the NewCo Interest and collect TopCo
Distributions of NewCo Excess Cash, (ii) make certain payments to the Master Disbursement Trust under
the NewCo/TopCo Guarantee Agreement and (iii) make Public Creditor Trust Distributions in respect of
the TopCo Interests from TopCo Excess Cash, in each case in accordance with the Plan and the TopCo
Operating Agreement.

               “TopCo Distributions” means any and all distributions from NewCo to TopCo in respect
of the NewCo Interests.

                 “TopCo Excess Cash” means (i) all Cash and cash equivalents of TopCo, as of the
relevant date of determination, in excess of the amounts referenced in Section 5.2(f)(iii)(A) and (B) of the
Plan and (ii) all amounts received by TopCo from the Master Disbursement Trust pursuant to
Section 5.2(f)(i)(D) of the Plan; provided that all amounts described in this clause (ii) shall be promptly
distributed to NOAT and the Tribe Trust and shall not be subject to the limitations of a NewCo
Distribution Date or any other limitation.

                 “TopCo Interests” means the TopCo Tribe Interest and the TopCo NOAT Interest, which
shall collectively represent 100% of the voting and economic Interests in TopCo.

                “TopCo Managers” means the managers of TopCo appointed in accordance with
Section 5.5(b) of the Plan.

                 “TopCo NOAT Interest” means a new limited liability company interest in TopCo to be
issued to NOAT under the Plan pursuant to the Public Entity Settlements, representing 100% of the
voting Interests in TopCo and a portion of the economic interests in TopCo corresponding to NOAT’s
entitlements under the Public Entity Allocation, which interest shall entitle NOAT to its share of
distributions of TopCo Excess Cash in accordance with Section 5.2(e)(ii) of the Plan and the TopCo
Priority Waterfall.

                “TopCo Operating Agreement” means the limited liability company agreement
establishing and delineating the terms and conditions for the creation and operation of TopCo, the terms
of which shall be consistent with the Plan and the NewCo/TopCo Governance Term Sheet and otherwise
acceptable to the DOJ, the Ad Hoc Committee and the MSGE Group and reasonably acceptable to the
Debtors, and which shall be filed with the Plan Supplement.

               “TopCo Operating Expenses” means any and all costs, expenses, fees, taxes,
disbursements, debts or obligations incurred from the operation and administration of TopCo, including
costs and fees of, and indemnification amounts owed to the TopCo Managers and any professionals
retained by TopCo, but excluding any amounts to be paid pursuant to the NewCo/TopCo Guarantee
Agreement or as Public Creditor Trust Distributions.

                  “TopCo Priority Waterfall” means the priority waterfall applicable to TopCo set forth in
Section 5.2(f)(iii) of the Plan.

                “TopCo Tribe Interest” means a new limited liability company interest in TopCo issued
to the Tribe Trust under the Plan pursuant to the Public Entity Settlements, representing a portion of the
economic interests in TopCo corresponding to the Tribe Trust’s entitlements under the Public Entity
Allocation, which interest shall entitle the Tribe Trust to its share of distributions of TopCo Excess Cash
in accordance with Section 5.2(e)(ii) of the Plan and the TopCo Priority Waterfall.




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                 “TPP Trust” means a trust to be established in accordance with Section 5.7 of the Plan to
(i) assume all liability for the Third-Party Payor Claims, (ii) hold the MDT TPP Claim and collect the
Initial TPP Trust Distribution and payments due under the MDT TPP Claim in accordance with the
Private Entity Settlements and the TPP Trust Documents, (iii) administer Third-Party Payor Claims,
(iv) make Abatement Distributions to Authorized Recipients for Authorized Abatement Purposes, in each
case in accordance with the TPP Trust Documents and (v) carry out such other matters as are set forth in
the TPP Trust Documents.

                 “TPP Trust Documents” means the trust agreement establishing and delineating the
terms and conditions for the creation and operation of the TPP Trust and the Abatement Distributions
procedures to be implemented by the TPP Trust, in each case, the terms of which shall be consistent with
the Plan and otherwise acceptable to the Debtors and the Third-Party Payor Group and reasonably
acceptable to the Creditors’ Committee, the Ad Hoc Committee and the MSGE Group, and which shall be
filed with the Plan Supplement.

               “Transferred PPLP Subsidiary” means a Debtor that is (i) a Subsidiary of PPLP as of
immediately prior to the Effective Date and (ii) acquired directly or indirectly by NewCo pursuant to the
NewCo Transfer Agreement.

               “Tribe” means any American Indian or Alaska Native Tribe, band, nation, pueblo, village
or community, that the U.S. Secretary of the Interior acknowledges as an Indian Tribe, as provided in the
Federally Recognized Tribe List Act of 1994, 25 U.S.C. § 5130, and as periodically listed by the U.S.
Secretary of the Interior in the Federal Register pursuant to 25 U.S.C. § 5131; and any “Tribal
Organization” as provided in the Indian Self-Determination and Education Assistance Act of 1975, as
amended, 25 U.S.C. § 5304(l).

                “Tribe Claim” means any Claim against any Debtor that is held by a Tribe, and that is not
a Priority Tax Claim.

                “Tribe Trust” means one or more trusts, limited liability companies or other Persons to
be established in accordance with Section 5.7 of the Plan to (i) assume all liability for the Tribe Claims,
(ii) hold the MDT Tribe Interest and the TopCo Tribe Interest and collect the Initial Tribe Trust
Distribution and the other Public Creditor Trust Distributions received in accordance with the Public
Entity Settlements, (iii) administer Tribe Claims and (iv) make Abatement Distributions to Authorized
Recipients for Authorized Abatement Purposes, in each case in accordance with the Tribe Trust
Documents.

                 “Tribe Trust Documents” means one or more agreements establishing and delineating
the terms and conditions for the creation and operation of the Tribe Trust and the Abatement Distribution
procedures to be implemented by the Tribe Trust, in each case, the terms of which shall be consistent with
the Plan and otherwise acceptable to the Debtors and the Native American Tribe Group and reasonably
acceptable to the Creditors’ Committee, the Ad Hoc Committee and the MSGE Group, and which shall be
filed with the Plan Supplement.

                 “Truth Initiative Contribution” means a contribution to the Truth Initiative Foundation
to be used for national opioid prevention and education efforts, which shall be made by the Debtors in
satisfaction of Ratepayer Claims from Effective Date Cash in the amount of $6.5 million less the amount
paid in respect of attorneys’ fees of the Ratepayer Mediation Participants in accordance with
Section Error! Reference source not found. of the Plan.

                “U.S. Trustee” means the United States Trustee for Region 2.



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               “Unimpaired” means, with respect to any Claim, Interest, or Class of Claims or Interests,
not “impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.

                “United States” means the United States of America, its agencies, departments or agents.

                 “Voting Deadline” means the last day for Holders of Claims and Interests entitled to vote
on the Plan to cast their votes to accept or reject the Plan as may be set by the Bankruptcy Court.

                “Voting Representative” means a Firm representing Holders of Claims in any of the
Master Ballot Classes who has returned a properly completed Solicitation Directive (as such terms are
defined in the Solicitation Procedures Order).

                 “Wind-Up Reserve” means a reserve to be established to pay any and all costs, expenses,
fees, taxes, debts, or obligations incurred from the operation and administration of the Debtors’ Estates
after the Effective Date (including professional fees and expenses). The Wind-Up Reserve shall be
(i) funded with Effective Date Cash in an amount determined by the Debtors, in consultation with the
Creditors’ Committee, the Ad Hoc Committee and the MSGE Group, and, to the extent of any deficiency
of funding in the Wind-Up Reserve after the Effective Date, Cash from NewCo (or any purchaser of, or
successor to, NewCo) and (ii) held by the Plan Administration Trust in a segregated account and
administered by the Plan Administration Trustee on and after the Effective Date.

                1.2      Interpretation; Application of Definitions; Rules of Construction.

                          Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in, or exhibit to, this Plan, as the same may be amended, waived, or modified from time
to time in accordance with the terms hereof. The words “herein,” “hereof,” or “hereunder,” and other
words of similar import refer to this Plan as a whole and not to any particular section, subsection, or
clause contained therein and have the same meaning as “in the Plan,” “of the Plan,” and “under the Plan,”
respectively. The words “includes” and “including” are not limiting. The headings in the Plan are for
convenience of reference only and shall not limit or otherwise affect the provisions hereof. For purposes
herein: (a) in the appropriate context, each term, whether stated in the singular or plural, shall include
both the singular and plural, and pronouns stated in the masculine, feminine, or neuter gender shall
include the masculine, feminine, and the neuter gender; (b) any reference herein to a contract, lease,
instrument, release, indenture, or other agreement or document being in a particular form or on particular
terms and conditions means that the reference document shall be substantially in that form or substantially
on those terms and conditions; (c) the rules of construction set forth in section 102 of the Bankruptcy
Code shall apply; and (d) any term used in capitalized form herein that is not otherwise defined but that is
used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
Bankruptcy Code or the Bankruptcy Rules, as the case may be.

                1.3      Reference to Monetary Figures.

                       All references in this Plan to monetary figures shall refer to the legal tender of
the United States of America unless otherwise expressly provided.

                1.4      Controlling Document.

                         In the event of an inconsistency between Articles I through XII of the Plan and
the Plan Supplement, the terms of the relevant Plan Document in the Plan Supplement or such exhibit
shall control unless otherwise specified in such Plan Document or exhibit; provided that, in the event of
any inconsistency between the NewCo Operating Agreement and Section 5.2 of the Plan, Section 5.2
shall control. In the event of an inconsistency between this Plan and any other instrument or document


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created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this Plan
shall control. The provisions of this Plan and of the Confirmation Order shall be construed in a manner
consistent with each other so as to effectuate the purposes of each; provided, however, that, if there is
determined to be any inconsistency between any provision of this Plan and any provision of the
Confirmation Order that cannot be reconciled, then, the provisions of the Confirmation Order shall govern,
and any such provisions of the Confirmation Order shall be deemed a modification of this Plan solely to
the extent of such inconsistency.

ARTICLE II            ADMINISTRATIVE CLAIMS, PROFESSIONAL FEE CLAIMS, PRIORITY
                      TAX CLAIMS AND DOJ FORFEITURE JUDGMENT CLAIM.

                2.1     Administrative Claims.

                         (a)     Generally. Except as provided for herein or in any order of the
Bankruptcy Court, and subject to section 503(b)(1)(D) of the Bankruptcy Code, Holders of
Administrative Claims (other than Professional Fee Claims and the DOJ Forfeiture Judgment Claim) must
file and serve on the Debtors requests for the payment of such Administrative Claims not already Allowed
by a Final Order on or before the applicable Administrative Claims Bar Date. Any Holder of an
Administrative Claim that is required to, but does not, file and serve a request for payment of such
Administrative Claim pursuant to the procedures specified in the Confirmation Order on or prior to the
Administrative Claims Bar Date shall be forever barred, estopped and enjoined from asserting such
Claims against the Debtors, the Liquidating Debtors, the Transferred PPLP Subsidiaries, the Plan
Administration Trust or their respective Assets or properties, and such Claims shall be deemed discharged
as of the Effective Date. An Administrative Claim, with respect to which a request for payment has been
properly and timely filed pursuant to this Section 2.1(a), shall become an Allowed Administrative Claim
if no objection to such request is filed by the Debtors or the Plan Administration Trustee with the
Bankruptcy Court on or before the date that is one hundred twenty (120) days after the Effective Date, or
such later date as may be fixed by the Bankruptcy Court. If an objection is timely filed, such
Administrative Claim shall become an Allowed Administrative Claim only to the extent Allowed by Final
Order or such Claim is settled, compromised or otherwise resolved pursuant to Section 7.6 of the Plan.
Except to the extent a Holder of an Allowed Administrative Claim and the Debtor against which such
Claim is asserted agree to different treatment, each Holder of an Allowed Administrative Claim (other
than a Professional Fee Claim or the DOJ Forfeiture Judgment Claim) shall receive, on account of such
Allowed Claim, Cash in an amount equal to the Allowed amount of such Claim from the Priority Claims
Reserve within thirty (30) days following the later to occur of (i) the Effective Date and (ii) the date on
which such Administrative Claim shall become an Allowed Claim; provided that any Administrative
Claim that is assumed by NewCo shall be paid by NewCo in the ordinary course of business.

                          (b)    Professional Fee Claims. All Professional Persons seeking awards by
the Bankruptcy Court for compensation for services rendered or reimbursement of expenses incurred
through and including the Effective Date under (x) section 327, 328, 330, 331, 503(b)(2), 503(b)(3),
503(b)(4), 503(b)(5) or 1103 of the Bankruptcy Code, or (y) with respect to the Ad Hoc Committee, the
AHC Reimbursement Agreement Assumption Order, shall (i) file, on or before the date that is forty-five
(45) days after the Effective Date, or as soon as reasonably practicable thereafter, their respective
applications for final allowances of compensation for services rendered and reimbursement of expenses
incurred and (ii) be paid in full in Cash, (A) first, from any existing amounts held by a Professional
Person as a fee advance, retainer, or security that such Professional Person is authorized to use to satisfy
Allowed Professional Fee Claims pursuant to the Interim Compensation Order or the order of the
Bankruptcy Court authorizing the retention of such Professional Person (other than a reasonable retainer
to cover post-Effective Date work), and (B) second, from the Professional Fee Escrow Account, in such
aggregate amounts as are Allowed by the Bankruptcy Court or authorized to be paid in accordance with


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the order(s) relating to or allowing any such Professional Fee Claim. On or prior to the Effective Date, the
Debtors shall establish the Professional Fee Escrow Account and, on the Effective Date, fund the
Professional Fee Escrow Account with Cash such that the total amount held in the Professional Fee
Escrow Account is equal to the sum of each Professional Person’s good faith estimates of its Professional
Fee Claims. The procedures for filing objections to Professional Persons’ applications for final allowance
of compensation for services rendered and expenses incurred shall be set forth in the Confirmation Order.

                 2.2     Priority Tax Claims.

                         Except to the extent a Holder of an Allowed Priority Tax Claim and the Debtor
against which such Claim is asserted agree to different treatment, on the Effective Date or as soon as
reasonably practicable thereafter, each Holder of an Allowed Priority Tax Claim shall receive, on account
of such Allowed Priority Tax Claim, either Cash in an amount equal to the Allowed amount of such
Claim from the Priority Claims Reserve or such other treatment as may satisfy section 1129(a)(9) of the
Bankruptcy Code.

                 2.3     DOJ Forfeiture Judgment Claim.

                      (a)     Allowance: Pursuant to the Plea Agreement and the DOJ 9019 Order, the
DOJ Forfeiture Judgment Claim shall be Allowed in the amount of $2.0 billion on the later of (i) the DOJ
Conviction Judgment Date and (ii) the entry by the Bankruptcy Court of the Confirmation Order.

                        (b)   Treatment: In full and final satisfaction, settlement, release and discharge
of the DOJ Forfeiture Judgment Claim, the Debtors shall make the DOJ Forfeiture Payment within three
(3) Business Days following the DOJ Conviction Judgment Date, which DOJ Forfeiture Payment, in
combination with the DOJ Forfeiture Judgment Credit, shall satisfy and discharge the DOJ Forfeiture
Judgment Claim in full.

ARTICLE III            CLASSIFICATION OF CLAIMS AND INTERESTS.

                 3.1     Classification in General.

                           A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation and Distributions under this Plan and under sections 1122 and 1123(a)(1) of the
Bankruptcy Code. A Claim or Interest is classified in a particular Class for the purpose of receiving
Distributions pursuant to this Plan only to the extent such Claim or Interest qualifies within the
description of that Class and is classified in other Classes to the extent any portion of the Claim or Interest
qualifies within the description of such other Classes; provided that, to the extent any Claim satisfies the
definition of a Co-Defendant Claim or an Other Subordinated Claim, such Claim shall be classified as
such notwithstanding that such Claim may satisfy the definition of another type of Claim. A Claim or
Interest is also classified in a particular Class for the purpose of receiving Distributions hereunder only to
the extent such Claim or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or
Interest has not been satisfied, released or otherwise settled prior to the Effective Date. In no event shall
any Holder of an Allowed Claim be entitled to receive payments under this Plan that, in the aggregate,
exceed the Allowed amount of such Holder’s Claim.

                 3.2     Summary of Classification of Claims and Interests.

                          The following table designates the Classes of Claims against and Interests in the
Debtors and specifies which Classes are (a) Impaired or Unimpaired under this Plan, (b) entitled to vote to
accept or reject this Plan in accordance with section 1126 of the Bankruptcy Code or presumed to accept
or deemed to reject this Plan:


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   Class               Type of Claim or Interest              Impairment           Entitled to Vote

Class 1       Secured Claims                                   Unimpaired      No (Presumed to Accept)

Class 2       Other Priority Claims                            Unimpaired      No (Presumed to Accept)

Class 3       Federal Government Unsecured Claims               Impaired                  Yes

Class 4       Non-Federal Domestic Governmental Claims          Impaired                  Yes

Class 5       Tribe Claims                                      Impaired                  Yes

Class 6       Hospital Claims                                   Impaired                  Yes

Class 7       Third-Party Payor Claims                          Impaired                  Yes

Class 8       Ratepayer Claims                                  Impaired                  Yes

Class 9       NAS Monitoring Claims                             Impaired                  Yes

Class 10      PI Claims                                         Impaired                  Yes

Class 11(a)   Avrio General Unsecured Claims                   Unimpaired      No (Presumed to Accept)

Class 11(b)   Adlon General Unsecured Claims                   Unimpaired      No (Presumed to Accept)

Class 11(c)   Other General Unsecured Claims                    Impaired                  Yes
                                                               Unimpaired     No (Presumed to Accept or
Class 12      Intercompany Claims
                                                               or Impaired        Deemed to Reject)
Class 13      Co-Defendant Claims                               Impaired        No (Deemed to Reject)

Class 14      Other Subordinated Claims                         Impaired        No (Deemed to Reject)

Class 15      PPLP Interests                                    Impaired        No (Deemed to Reject)

Class 16      PPI Interests                                     Impaired        No (Deemed to Reject)
                                                               Unimpaired     No (Presumed to Accept or
Class 17      Intercompany Interests
                                                               or Impaired        Deemed to Reject)

                3.3       Voting Classes; Presumed Acceptance by Non-Voting Classes.

                         With respect to each Debtor, if a Class contains Claims eligible to vote and no
Holder of Claims eligible to vote in such Class votes to accept or reject this Plan by the Voting Deadline,
this Plan shall be presumed accepted by the Holders of Claims in such Class.




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                 3.4     Voting; Presumptions; Solicitation.

                           (a)     Acceptance by Certain Impaired Classes. Only Holders of Claims in
Classes 3, 4, 5, 6, 7, 8, 9, 10 and 11(c) are entitled to vote to accept or reject this Plan. An Impaired Class
of Claims shall have accepted this Plan if (i) the Holders, including Holders acting through a Voting
Representative, of at least two-thirds (2/3) in amount of Claims actually voting in such Class have voted
to accept this Plan and (ii) the Holders, including Holders acting through a Voting Representatives of
more than one-half (1/2) in number of the Claims actually voting in such Class have voted to accept this
Plan. Holders of Claims in Classes 3, 4, 5, 6, 7, 8, 9, 10 and 11(c) (or, if applicable, the Voting
Representatives of such Holders) shall receive ballots containing detailed voting instructions.

                        (b)     Deemed Acceptance by Unimpaired Classes. Holders of Claims in
Classes 1, 2, 11(a) and 11(b) are conclusively presumed to have accepted this Plan pursuant to
section 1126(f) of the Bankruptcy Code. Accordingly, such Holders are not entitled to vote to accept or
reject this Plan.

                        (c)    Deemed Rejection by Certain Impaired Classes. Holders of Claims
and Interests in Classes 13, 14, 15 and 16 are deemed to have rejected this Plan pursuant to
section 1126(g) of the Bankruptcy Code. Accordingly, such Holders are not entitled to vote to accept or
reject this Plan.

                        (d)     Deemed Acceptance or Rejection by Certain Classes. Holders of
Interests in Classes 12 and 17 are either conclusively presumed to have accepted the Plan pursuant to
section 1126(f) of the Bankruptcy Code or are deemed to have rejected the Plan pursuant to
section 1126(g) of the Bankruptcy Code. Accordingly, such Holders are not entitled to vote to accept or
reject the Plan.

                          (e)     Individual Creditor Voting Rights. Notwithstanding anything to the
contrary in this Plan, the voting rights of Holders of Claims in any Class shall be governed in all respects
by the Solicitation Procedures Order, including without limitation with respect to the amount of such
Claims for voting purposes.

                 3.5     Cramdown.

                         If any Class of Claims is deemed to reject this Plan or is entitled to vote on this
Plan and does not vote to accept this Plan, the Debtors may (a) seek confirmation of this Plan under
section 1129(b) of the Bankruptcy Code and/or (b) amend or modify this Plan in accordance with the
terms hereof and the Bankruptcy Code. If a controversy arises as to whether any Claim or Interest, or any
Class of Claims or Interests, is Impaired, the Bankruptcy Court shall, after notice and a hearing, determine
such controversy on or before the Confirmation Date.

                 3.6     No Waiver.

                          Nothing contained in this Plan shall be construed to waive a Debtor’s or other
Person’s right to object on any basis to any Claim.

ARTICLE IV             TREATMENT OF CLAIMS AND INTERESTS.

                 4.1     Secured Claims (Class 1).

                        (a)    Treatment: Except to the extent a Holder of an Allowed Secured Claim
and the Debtor against which such Claim is asserted agree to different treatment, on the Effective Date, or


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as soon as reasonably practicable thereafter, each Holder of an Allowed Secured Claim shall receive, on
account of such Allowed Claim, (i) payment in full in Cash from the Priority Claims Reserve in
accordance with section 506(a) of the Bankruptcy Code, (ii) Reinstatement of such Allowed Claim
pursuant to section 1124 of the Bankruptcy Code or (iii) such other treatment as may be necessary to
render such Claim Unimpaired.

                         (b)    Impairment and Voting: Secured Claims are Unimpaired. Holders of
Secured Claims are conclusively presumed to accept this Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, Holders of Secured Claims are not entitled to vote to accept or reject the
Plan, and the votes of such Holders will not be solicited with respect to such Secured Claims.

                4.2     Other Priority Claims (Class 2).

                         (a)     Treatment: Except to the extent a Holder of an Allowed Other Priority
Claim and the Debtor against which such Claim is asserted agree to different treatment, on the Effective
Date, or as soon as reasonably practicable thereafter, each Holder of an Allowed Other Priority Claim
shall receive, on account of such Allowed Claim, (i) payment in full in Cash from the Priority Claims
Reserve or (ii) such other treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy
Code.

                         (b)     Impairment and Voting: Other Priority Claims are Unimpaired. Holders
of Other Priority Claims are conclusively presumed to accept this Plan pursuant to section 1126(f) of the
Bankruptcy Code. Therefore, Holders of Other Priority Claims are not entitled to vote to accept or reject
the Plan, and the votes of such Holders will not be solicited with respect to such Other Priority Claims.

                4.3     Federal Government Unsecured Claims (Class 3).

                       (a)    Allowance of the DOJ Civil Claim and DOJ Criminal Fine Claim:
Pursuant to the DOJ 9019 Order, the DOJ Civil Claim is Allowed in the amount of $2.8 billion. The DOJ
Criminal Fine Claim shall be Allowed in the amount of $3.544 billion on the later of (i) the DOJ
Conviction Judgment Date and (ii) the entry by the Bankruptcy Court of the Confirmation Order.

                         (b)     Treatment: On the Effective Date, in full and final satisfaction,
settlement, release and discharge of the Allowed Federal Government Unsecured Claims, (i) the Allowed
Other Federal Agency Claims shall receive treatment in a manner and amount agreed by the Debtors and
the DOJ, and (ii) the DOJ Civil Claim and the DOJ Criminal Fine Claim shall receive treatment in
accordance with the DOJ 9019 Order and the DOJ Resolution.

                       (c)       Impairment and Voting: The Federal Government Unsecured Claims are
Impaired. The DOJ is entitled to vote to accept or reject the Plan.

                4.4     Non-Federal Domestic Governmental Claims (Class 4).

                         (a)   Treatment: On the Effective Date, in full and final satisfaction,
settlement, release and discharge of the Debtors’ obligations in respect of Non-Federal Domestic
Governmental Claims, NOAT shall receive (i) the Initial NOAT Distribution, (ii) the TopCo NOAT
Interest and (iii) the MDT NOAT Interest. As of the Effective Date, liability for all Non-Federal Domestic
Governmental Claims shall be assumed by NOAT without further act or deed and shall be satisfied solely
from funds held by NOAT as and to the extent provided in the NOAT Documents. Distributions in
respect of Non-Federal Domestic Governmental Claims shall be exclusively in the form of Abatement
Distributions made by NOAT to Authorized Recipients for Authorized Abatement Purposes.



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                         (b)    Channeling: On the Effective Date, pursuant to the Plan, each Holder of
a Non-Federal Domestic Governmental Claim shall have its Claim permanently channeled to NOAT, and
such Non-Federal Domestic Governmental Claim shall thereafter be asserted exclusively against NOAT
and resolved in accordance with the terms, provisions and procedures of the NOAT Documents. Pursuant
to the Plan, Holders of Non-Federal Domestic Governmental Claims are enjoined from filing against any
Debtor, Released Party or Shareholder Released Party any future litigation, Claims or Causes of Action
arising out of such Non-Federal Domestic Governmental Claims, and may not proceed in any manner
against any Debtor, Released Party or Shareholder Released Party on account of such Claims in any
forum whatsoever, including any state, federal or non-U.S. court or administrative or arbitral forum, and
are required to pursue such Claims exclusively against NOAT, solely as and to the extent provided in the
NOAT Documents.

                       (c)    Impairment and Voting: Non-Federal Domestic Governmental Claims
are Impaired. Holders of Non-Federal Domestic Governmental Claims are entitled to vote to accept or
reject the Plan.

                4.5      Tribe Claims (Class 5).

                           (a)      Treatment: On the Effective Date, in full and final satisfaction,
settlement, release and discharge of the Debtors’ obligations in respect of Tribe Claims, the Tribe Trust
shall receive (i) the Initial Tribe Trust Distribution, (ii) the TopCo Tribe Interest and (iii) the MDT Tribe
Interest. As of the Effective Date, liability for all Tribe Claims shall be assumed by the Tribe Trust
without further act or deed and shall be satisfied solely from funds held by the Tribe Trust as and to the
extent provided in the Tribe Trust Documents. Distributions in respect of Tribe Claims shall be
exclusively in the form of Abatement Distributions made by the Tribe Trust to Authorized Recipients for
Authorized Abatement Purposes.

                          (b)     Channeling: On the Effective Date, pursuant to the Plan, each Holder of
a Tribe Claim shall have its Claim permanently channeled to the Tribe Trust, and such Tribe Claim shall
thereafter be asserted exclusively against the Tribe Trust and resolved in accordance with the terms,
provisions and procedures of the Tribe Trust Documents. Pursuant to the Plan, Holders of Tribe Claims
are enjoined from filing against any Debtor, Released Party or Shareholder Released Party any future
litigation, Claims or Causes of Action arising out of or related to such Tribe Claims, and may not proceed
in any manner against any Debtor, Released Party or Shareholder Released Party on account of such
Claims in any forum whatsoever, including any state, federal or non-U.S. court or administrative or
arbitral forum, and are required to pursue such Claims exclusively against the Tribe Trust, solely as and to
the extent provided in the Tribe Trust Documents.

                         (c)      Impairment and Voting: Tribe Claims are Impaired. Holders of Tribe
Claims are entitled to vote to accept or reject the Plan.

                4.6      Hospital Claims (Class 6).

                          (a)      Treatment: On the Effective Date, in full and final satisfaction,
settlement, release and discharge of the Debtors’ obligations in respect of Hospital Claims, the Hospital
Trust shall receive (i) the Initial Hospital Trust Distribution and (ii) the MDT Hospital Claim. As of the
Effective Date, liability for all Hospital Claims shall be assumed by the Hospital Trust without further act
or deed and shall be satisfied solely from funds held by the Hospital Trust as and to the extent provided in
the Hospital Trust Documents. Distributions in respect of Hospital Claims shall be exclusively in the form
of Abatement Distributions made by the Hospital Trust to Authorized Recipients for Authorized
Abatement Purposes.


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                          (b)     Channeling: On the Effective Date, pursuant to the Plan, each Holder of
a Hospital Claim shall have its Claim permanently channeled to the Hospital Trust, and such Hospital
Claims shall thereafter be asserted exclusively against the Hospital Trust and resolved in accordance with
the terms, provisions and procedures of the Hospital Trust Documents. Pursuant to the Plan, Holders of
Hospital Claims are enjoined from filing against any Debtor, Released Party or Shareholder Released
Party any future litigation, Claims or Causes of Action arising out of or related to such Hospital Claims,
and may not proceed in any manner against any Debtor, Released Party or Shareholder Released Party on
account of such Claims in any forum whatsoever, including any state, federal or non-U.S. court or
administrative or arbitral forum, and are required to pursue such Claims exclusively against the Hospital
Trust, solely as and to the extent provided in the Hospital Trust Documents.

                        (c)      Impairment and Voting: Hospital Claims are Impaired. Holders of
Hospital Claims are entitled to vote to accept or reject the Plan.

                4.7      Third-Party Payor Claims (Class 7).

                         (a)      Treatment: On the Effective Date, in full and final satisfaction,
settlement, release and discharge of the Debtors’ obligations in respect of Third-Party Payor Claims, the
TPP Trust shall receive (i) the Initial TPP Trust Distribution and (ii) the MDT TPP Claim. As of the
Effective Date, liability for all Third-Party Payor Claims shall be assumed by the TPP Trust without
further act or deed and shall be satisfied solely from funds held by the TPP Trust as and to the extent
provided in the TPP Trust Documents. Distributions in respect of Third-Party Payor Claims shall be
exclusively in the form of Abatement Distributions made by the TPP Trust to Authorized Recipients for
Authorized Abatement Purposes.

                         (b)    Channeling: On the Effective Date, pursuant to the Plan, each Holder of
a Third-Party Payor Claim shall have its Claim permanently channeled to the TPP Trust, and such Third-
Party Payor Claims shall thereafter be asserted exclusively against the TPP Trust and resolved in
accordance with the terms, provisions and procedures of the TPP Trust Documents. Pursuant to the Plan,
Holders of Third-Party Payor Claims are enjoined from filing against any Debtor, Released Party or
Shareholder Released Party any future litigation, Claims or Causes of Action arising out of or related to
such Third-Party Payor Claims, and may not proceed in any manner against any Debtor, Released Party
or Shareholder Released Party on account of such Claims in any forum whatsoever, including any state,
federal or non-U.S. court or administrative or arbitral forum, and are required to pursue such Claims
exclusively against the TPP Trust, solely as and to the extent provided in the TPP Trust Documents.

                        (c)     Impairment and Voting: Third-Party Payor Claims are Impaired. Holders
of Third-Party Payor Claims are entitled to vote to accept or reject the Plan.

                4.8      Ratepayer Claims (Class 8).

                         (a)     Treatment: In full and final satisfaction, settlement, release and discharge
of all Ratepayer Claims, on the Effective Date or as soon thereafter as reasonably practicable, Effective
Date Cash shall be used to make the Truth Initiative Contribution in an amount equal to $6.5 million less
any attorneys’ fees paid in accordance with Section Error! Reference source not found. of the Plan.

                       (b)       Impairment and Voting: Ratepayer Claims are Impaired. Holders of
Ratepayer Claims are entitled to vote to accept or reject the Plan.

                         (c)      Tax Treatment: The Truth Initiative Contribution shall be treated, for U.S.
federal income tax purposes, as (i) the cancellation of all Ratepayer Claims for no consideration and (ii) a
transfer of Cash to the Truth Initiative Foundation by the Debtors.


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                4.9     NAS Monitoring Claims (Class 9).

                        (a)     Treatment: On the Effective Date, in full and final satisfaction,
settlement, release and discharge of the Debtors’ obligations in respect of NAS Monitoring Claims, the
NAS Monitoring Trust shall receive (i) the Initial NAS Monitoring Trust Distribution and (ii) the MDT
NAS Monitoring Claim. As of the Effective Date, liability for all NAS Monitoring Claims shall be
assumed by the NAS Monitoring Trust without further act or deed and shall be satisfied solely from funds
held by the NAS Monitoring Trust as and to the extent provided in the NAS Monitoring Trust Document.
Distributions in respect of NAS Monitoring Claims shall be exclusively in the form of Abatement
Distributions made by the NAS Monitoring Trust to Authorized Recipients for Authorized Abatement
Purposes.

                          (b)     Channeling: On the Effective Date, pursuant to the Plan, each Holder of
a NAS Monitoring Claim shall have its Claim permanently channeled to the NAS Monitoring Trust, and
such NAS Monitoring Claims shall thereafter be asserted exclusively against the NAS Monitoring Trust
and resolved in accordance with the terms, provisions and procedures of the NAS Monitoring Trust
Documents. Pursuant to the Plan, Holders of NAS Monitoring Claims are enjoined from filing against any
Debtor, Released Party or Shareholder Released Party any future litigation, Claims or Causes of Action
arising out of or related to such NAS Monitoring Claims, and may not proceed in any manner against any
Debtor, Released Party or Shareholder Released Party on account of such Claims in any forum
whatsoever, including any state, federal or non-U.S. court or administrative or arbitral forum, and are
required to pursue such Claims exclusively against the NAS Monitoring Trust, solely as and to the extent
provided in the NAS Monitoring Trust Documents.

                      (c)     Impairment and Voting: NAS Monitoring Claims are Impaired. Holders
of NAS Monitoring Claims are entitled to vote to accept or reject the Plan.

                4.10    PI Claims (Class 10).

                           (a)    Treatment: On the Effective Date, in full and final satisfaction,
settlement, release and discharge of the Debtors’ obligations in respect of PI Claims, the PI Trust shall
receive (i) the Initial PI Trust Distribution and (ii) the MDT PI Claim. As of the Effective Date, liability
for all PI Claims shall be assumed by the PI Trust without further act or deed and shall be satisfied solely
from funds held by the PI Trust as and to the extent provided in the PI Trust Documents. Distributions in
respect of PI Claims shall be exclusively in the form of Distributions from the PI Trust to Holders of
Allowed PI Claims.

                         (b)     Channeling: On the Effective Date, pursuant to the Plan, each Holder of
a PI Claim shall have its Claim permanently channeled to the PI Trust, and such PI Claims shall thereafter
be asserted exclusively against the PI Trust and resolved in accordance with the terms, provisions and
procedures of the PI Trust Documents. Pursuant to the Plan, Holders of PI Claims are enjoined from filing
against any Debtor, Released Party or Shareholder Released Party any future litigation, Claims or Causes
of Action arising out of or related to such PI Claims, and may not proceed in any manner against any
Debtor, Released Party or Shareholder Released Party on account of such Claims in any forum
whatsoever, including any state, federal or non-U.S. court or administrative or arbitral forum, and are
required to pursue such Claims exclusively against the PI Trust, solely as and to the extent provided in the
PI Trust Documents.

                         (c)     Canadian Patient Settlement. Pursuant to the Canadian Patient Claim
Settlement Stipulation, if the Canadian Patient Settlement Agreement is approved by the Saskatchewan
Court of Queen’s Bench and the funds in the Canadian Patient Settlement Trust are released for the
benefit of Holders of Settled Canadian Patient Claims (i) no Holder of a Settled Canadian Patient Claim

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that filed a Proof of Claim shall receive a recovery in respect of such Settled Canadian Patient Claim from
any source other than the Patient Settlement Payment (as defined in the Canadian Patient Claim
Settlement Stipulation) made from the Canadian Patient Settlement Trust and (ii) in order to receive a
recovery in respect of any other Claim for which a Proof of Claim was filed by a Holder of a Settled
Canadian Patient Claim, such Holder shall have the burden of proving that such Proof of Claim is not in
respect of a Settled Canadian Patient Claim that was released and discharged pursuant to the Canadian
Patient Claim Settlement Stipulation and such Holder has not received any recovery from the Canadian
Patient Settlement Trust on account of such Claim. No Distributions shall be made on account of any
Claims that may constitute Settled Canadian Patient Claims unless and until (x) the Saskatchewan Court
of Queen’s Bench approves the Canadian Patient Settlement Agreement and all funds in the Canadian
Patient Settlement Trust have been distributed to Holders of Settled Canadian Patient Claims in
accordance with the Canadian Patient Settlement Agreement or (y) the Saskatchewan Court of Queen’s
Bench denies the Canadian Patient Settlement Agreement.

                          (d)      Impairment and Voting: PI Claims are Impaired. Holders of PI Claims
are entitled to vote to accept or reject the Plan.

                4.11    Avrio General Unsecured Claims (Class 11(a)).

                         (a)    Treatment: Except to the extent a Holder of an Allowed Avrio General
Unsecured Claim and Avrio Health L.P. agree to different treatment, on the Effective Date, or as soon as
reasonably practicable thereafter, each Holder of an Allowed Avrio General Unsecured Claim shall
receive, on account of such Allowed Claim, payment in full in Cash.

                        (b)     Impairment and Voting: Avrio General Unsecured Claims are
Unimpaired. Holders of Avrio General Unsecured Claims are conclusively presumed to accept this Plan
pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of Avrio General Unsecured
Claims are not entitled to vote to accept or reject the Plan, and the votes of such Holders will not be
solicited.

                4.12    Adlon General Unsecured Claims (Class 11(b)).

                         (a)     Treatment: Except to the extent a Holder of an Allowed Adlon General
Unsecured Claim and Adlon Therapeutics L.P. agree to different treatment, on the Effective Date, or as
soon as reasonably practicable thereafter, each Holder of an Allowed Adlon General Unsecured Claim
shall receive, on account of such Allowed Claim, payment in full in Cash.

                        (b)     Impairment and Voting: Adlon General Unsecured Claims are
Unimpaired. Holders of Adlon General Unsecured Claims are conclusively presumed to accept this Plan
pursuant to section 1126(f) of the Bankruptcy Code. Therefore, Holders of Adlon General Unsecured
Claims are not entitled to vote to accept or reject the Plan, and the votes of such Holders will not be
solicited.

                4.13    Other General Unsecured Claims (Class 11(c)).

                         (a)     Treatment: All Other General Unsecured Claims are Disputed. Except to
the extent a Holder of an Allowed Other General Unsecured Claim and the Debtor against which such
Claim is asserted agree to different treatment, after the Effective Date upon the Allowance of such Claim
in accordance with Article VII of the Plan, each Holder of an Allowed Other General Unsecured Claim
shall receive, on account of such Allowed Claim, such Holder’s Pro Rata Share of the Other General
Unsecured Claim Cash, up to payment in full of such Allowed Claim.



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                       (b)    Impairment and Voting: Other General Unsecured Claims are Impaired.
Holders of Other General Unsecured Claims are entitled to vote to accept or reject the Plan.

                4.14     Intercompany Claims (Class 12).

                           (a)     Treatment: Except as otherwise provided in the NewCo Transfer
Agreement or the Restructuring Steps Memorandum, on or after the Effective Date, Intercompany Claims
shall be, (x) in the case of Intercompany Claims held by a Liquidating Debtor against another Liquidating
Debtor, at the discretion of the Debtors (or the Plan Administration Trustee, as applicable), (y) in the case
of Intercompany Claims held by a Transferred PPLP Subsidiary against another Transferred PPLP
Subsidiary, at the discretion of NewCo and (z) otherwise, at the discretion of the Debtors (or the Plan
Administration Trustee, as applicable) with the consent (not to be unreasonably withheld, conditioned or
delayed) of the Ad Hoc Committee and the MSGE Group:

                                 (i)     Reinstated; or

                                 (ii)    cancelled and extinguished with no distribution on account
                                         thereof, compromised or settled.

                         (b)      Impairment and Voting: Intercompany Claims are either Unimpaired or
Impaired with no distribution on account thereof. Holders of Intercompany Claims are either conclusively
presumed to accept this Plan pursuant to section 1126(f) of the Bankruptcy Code or deemed to reject this
Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Intercompany Claims are
not entitled to vote to accept or reject the Plan, and the votes of such Holders will not be solicited with
respect to such Intercompany Claims.

                4.15     Co-Defendant Claims (Class 13).

                         (a)      Treatment: [Holders of Co-Defendant Claims shall not receive or retain
any property on account of such Claims. As of the Effective Date, (i) in accordance with the terms of the
Shareholder Settlement Agreement, the Shareholder Released Parties shall release all Co-Defendant
Claims held by such Shareholder Released Parties and shall not receive any distribution on account
thereof, and such Claims shall be of no further force or effect and (ii) all other Co-Defendant Claims shall
be released in accordance with Section 8.4 of the Plan or otherwise deemed expunged, released and
extinguished without further action by or order of the Bankruptcy Court with no distribution on account
thereof, and shall be of no further force or effect. Except with respect to any such Claims released by the
Shareholder Released Parties in accordance with Shareholder Settlement Agreement, to the extent not
previously filed in a separate motion, the Plan shall constitute an objection to such Claims and a motion to
Disallow the Co-Defendant Claims in full, including pursuant to section 502(e)(1) of the Bankruptcy
Code, and to estimate such Claims at $0 for purposes of determining the Disputed Claims Reserve with
respect to such Claims. In addition, and not in limitation of the foregoing, the Plan shall be deemed to
constitute a motion to subordinate such Claims, to the extent such Claims are not Disallowed or released
by the Shareholder Released Parties, under section 509(c) or 510 of the Bankruptcy Code or other
applicable law on the basis that such Claims are held by Persons who engaged in, or aided and abetted, or
whose Claim arises from (including with respect to the representation of any Person who engaged in),
acts or omissions that constitute criminal conduct, fraud, willful misconduct or other wrongful or
inequitable conduct in connection with Opioid-Related Activities (or on behalf of such Persons, including
such Claims for indemnification, repayment or advancement of fees and expenses, including legal defense
fees and expenses). To the extent necessary, the Confirmation Order shall contain findings supporting the
conclusions providing for subordination of such Claims for the purposes of Distribution on the terms set
forth in this Section 4.15. Subject to the Solicitations Procedure Order, each Holder of a Co-Defendant
Claim shall be provided a notice informing each such Holder of the proposed treatment of such Claim

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under the Plan, and affording such Holder the opportunity to object to such treatment or to the
subordination thereof.]4

                        (b)      Impairment and Voting: Co-Defendant Claims are Impaired. Holders of
Co-Defendant Claims are deemed to reject this Plan pursuant to section 1126(g) of the Bankruptcy Code.
Therefore, Holders of Co-Defendant Claims are not entitled to vote to accept or reject the Plan, and the
votes of such Holders will not be solicited with respect to such Co-Defendant Claims.

                  4.16      Other Subordinated Claims (Class 14).

                        (a)     Treatment: Other Subordinated Claims are subordinated pursuant to the
Plan and section 509(c) and/or 510 of the Bankruptcy Code and/or other applicable law. Holders of Other
Subordinated Claims shall not receive or retain any property under this Plan on account of such Claims.
As of the Effective Date, Other Subordinated Claims shall be deemed expunged, released and
extinguished without further action by or order of the Bankruptcy Court, and shall be of no further force
or effect.

                       (b)    Impairment and Voting: Other Subordinated Claims are Impaired.
Holders of Other Subordinated Claims are deemed to reject this Plan pursuant to section 1126(g) of the
Bankruptcy Code. Therefore, Holders of Other Subordinated Claims are not entitled to vote to accept or
reject the Plan, and the votes of such Holders will not be solicited with respect to such Other
Subordinated Claims.

                  4.17      PPLP Interests (Class 15).

                        (a)     Treatment: In accordance with the terms of the Shareholder Settlement
Agreement, Holders of PPLP Interests shall relinquish such Interests and shall not receive or retain any
property under the Plan on account of such Interests. As of the PPLP Dissolution Date, all PPLP Interests
shall be deemed surrendered, cancelled and/or redeemed without further action by or order of the
Bankruptcy Court, and shall be of no further force or effect.

                         (b)     Impairment and Voting: PPLP Interests are Impaired. Holders of PPLP
Interests are deemed to reject this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
Holders of PPLP Interests are not entitled to vote to accept or reject the Plan, and the votes of such
Holders will not be solicited with respect to such PPLP Interests.

                  4.18      PPI Interests (Class 16).

                         (a)      Treatment: In accordance with the terms of the Shareholder Settlement
Agreement, Holders of PPI Interests shall relinquish such Interests and shall not receive or retain any
property under this Plan on account of such Interests. As of the Effective Date, PPI Interests shall be
deemed surrendered, cancelled and/or redeemed without further action by or order of the Bankruptcy
Court, and shall be of no further force or effect.

                        (b)      Impairment and Voting: PPI Interests are Impaired. Holders of PPI
Interests are deemed to reject this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,

4 The treatment of Co-Defendant Claims, including the treatment of any Estate Causes of Action against Holders of Co-
Defendant Claims and other matters, remains subject to adjustment based on the outcome of ongoing discussions and
negotiations among the Debtors, the Ad Hoc Committee and the Holders of Co-Defendant Claims; provided that the treatment of
Co-Defendant Claims, including the treatment of any Estate Causes of Action against Holders of Co-Defendant Claims shall be
subject to the consent of the Ad Hoc Committee and the MSGE Group.



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Holders of PPI Interests are not entitled to vote to accept or reject the Plan, and the votes of such Holders
will not be solicited with respect to such PPI Interests.

                 4.19    Intercompany Interests (Class 17).

                       (a)     Treatment: Except as otherwise provided in the NewCo Transfer
Agreement or the Restructuring Steps Memorandum, on the Effective Date, Intercompany Interests shall
be:

                                  (i)     with respect to Intercompany Interests in any Transferred PPLP
                                          Subsidiary held by PPLP, Reinstated and transferred to NewCo
                                          (or one of its Subsidiaries) in accordance with the NewCo
                                          Transfer Agreement;

                                  (ii)    with respect to Intercompany Interests in any Transferred PPLP
                                          Subsidiary held by another Transferred PPLP Subsidiary,
                                          Reinstated or otherwise treated in accordance with the NewCo
                                          Transfer Agreement; and

                                  (iii)   with respect to Intercompany Interests in any Debtor that is not a
                                          Transferred PPLP Subsidiary, Reinstated solely for
                                          administrative convenience until cancelled when such Debtor is
                                          dissolved or merged out of existence by the Plan Administration
                                          Trustee.

                           (b)     Impairment and Voting: Intercompany Interests are either Unimpaired or
Impaired with no distribution on account thereof. Holders of Intercompany Claims are either conclusively
presumed to accept this Plan pursuant to section 1126(f) of the Bankruptcy Code or deemed to reject this
Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Intercompany Interests
are not entitled to vote to accept or reject the Plan, and the votes of such Holders will not be solicited with
respect to such Intercompany Claims.

                 4.20    Debtors’ Rights with Respect to Unimpaired Claims.

                         Except as otherwise provided in this Plan, nothing under the Plan shall affect the
rights of the Debtors with respect to an Unimpaired Claim, including all rights with respect to legal and
equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.

ARTICLE V              MEANS FOR IMPLEMENTATION.

                 5.1     Restructuring Transactions.

                        On or before the Effective Date or as soon as reasonably practicable thereafter,
the Debtors may take all actions consistent with this Plan as may be necessary or appropriate to effect any
transaction described in, approved by, contemplated by or necessary to effectuate the Restructuring
Transactions under and in connection with this Plan.

                 5.2     Plan Settlements.

                        (a)     As further described in the Disclosure Statement, the provisions of this
Plan (including the release and injunctive provisions contained in Article X of the Plan) and the other
Plan Documents constitute a good faith compromise and settlement among the Debtors, Supporting


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Claimants, the Shareholder Released Parties and certain other participants in the Mediation of Claims and
controversies among such parties reached in connection with the Mediation and otherwise, which such
compromise and settlement is necessary and integral to the Plan and the Plan Documents and the success
of these Chapter 11 Cases. The Debtors, the Supporting Claimants and the Shareholder Released Parties
believe the treatment provided in respect of Claims against and Interests in the Debtors is fair and
appropriate only when combined with the distribution scheme, release, injunction and all other provisions
contained in the Plan and the Plan Documents.

                         (b)      The Plan, including the explanation set forth in the Disclosure Statement,
and the Plan Documents shall be deemed a motion to approve the Plan Settlements and the good faith
compromise and settlement of all of the Claims, Interests, and controversies described in the foregoing
Section 5.2(a) pursuant to Bankruptcy Rule 9019, and entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the Plan Settlements under section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that the Plan Settlements are fair,
equitable, reasonable, and in the best interests of the Debtors and their Estates.

                         (c)     The Plan, the Plan Settlement, the Plan Documents and the Confirmation
Order constitute a good faith compromise and settlement of Claims, Interests and controversies based
upon the unique circumstances of these Chapter 11 Cases (such as the total distributable value available,
the unique facts and circumstances relating to these Debtors and the need for an accelerated resolution
without additional avoidable litigation) and none of the foregoing documents, nor any materials used in
furtherance of Plan confirmation (including, but not limited to, the Disclosure Statement, and any notes
related to, and drafts of, such documents and materials), may be offered into evidence, deemed an
admission, used as precedent or used by any party or Person in any context whatsoever beyond the
purposes of this Plan, in any other litigation or proceeding, except as necessary, and as admissible in such
context, to enforce their terms and to evidence the terms of the Plan and the Plan Documents before the
Bankruptcy Court or any other court of competent jurisdiction. This Plan, the Plan Settlement, the Plan
Documents and the Confirmation Order will be binding as to the matters and issues described therein, but
will not be binding with respect to similar matters or issues that might arise in any other litigation or
proceeding in which none of the Debtors, the Plan Administration Trust, the Master Disbursement Trust,
the Creditor Trusts, NewCo or TopCo is a party. Any Person’s support of, or position or action taken in
connection with, this Plan, the Plan Settlement, the Plan Documents and the Confirmation Order may
differ from such Person’s position or testimony in any other litigation or proceeding except in connection
with these Chapter 11 Cases. Further, and as all parties to the Mediation agreed, this Plan Settlement is
not intended to serve as an example for, or represent the parties’ respective positions or views concerning
any other Chapter 11 Cases relating to opioids, nor shall it be used as precedent by any Person or party.

                          (d)    Private Entity Settlements.5 On the Effective Date, the Private Creditor
Trusts shall receive their respective Initial Private Creditor Trust Distributions (as applicable) and their
respective MDT Claims. The MDT Claims shall entitle the Private Creditor Trusts to the payments and
other benefits set forth below.

                                      (i)       The Master Disbursement Trust shall make payments to the
                                                Private Creditor Trusts in satisfaction of the MDT Claims as
                                                follows:

                                                (A)      in respect of the MDT Hospital Claim, (I) $35 million on
                                                         the first MDT Distribution Date; (II) $45 million on the

5 The application of any prepayments made under the Shareholder Settlement Agreement and any Net Sale Proceeds remains

subject to ongoing discussions among the Debtors, the Supporting Claimants and the Creditors’ Committee.



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                                       second MDT Distribution Date; (III) $45 million on the
                                       third MDT Distribution Date; (IV) $50 million on the
                                       fourth MDT Distribution Date; and (V) $50 million on
                                       the fifth MDT Distribution Date;

                                (B)    in respect of the MDT TPP Claim, (I) $121 million on
                                       the first MDT Distribution Date; (II) $121 million on the
                                       second MDT Distribution Date; and (III) $122 million
                                       on the third MDT Distribution Date;

                                (C)    in respect of the MDT NAS Monitoring Claim,
                                       (I) $24 million on the first MDT Distribution Date and
                                       (II) $35 million on the second MDT Distribution Date;
                                       and

                                (D)    in respect of the MDT PI Claim, (I) 100% of the Cash
                                       proceeds of MDT Insurance Rights (whether received
                                       before, on or after the fifth MDT Distribution Date),
                                       upon but no later than thirty (30) days after the receipt
                                       by the Master Disbursement Trust of such Cash proceeds;
                                       provided that the aggregate amount of all such Cash
                                       proceeds of MDT Insurance Rights applied under this
                                       clause (I), when combined with all other payments in
                                       respect of the MDT PI Claim, shall not exceed
                                       $450 million; (II) on the third MDT Distribution Date, to
                                       the extent the aggregate amount of all prior payments in
                                       respect of the MDT PI Claim as of such date is less than
                                       $200 million, an amount equal to such shortfall; (III) on
                                       the fourth MDT Distribution Date, to the extent the
                                       aggregate amount of all prior payments in respect of the
                                       MDT PI Claim as of such date is less than $300 million,
                                       an amount equal to such shortfall; and (IV) on the fifth
                                       MDT Distribution Date, to the extent the aggregate
                                       amount of all prior payments in respect of the MDT PI
                                       Claim as of such date is less than $400 million, an
                                       amount equal to such shortfall.

                         (ii)   Upon the commencement of an MDT Reserve Period, the MDT
                                Trustees shall provide notice thereof to NewCo and shall
                                establish and fund the MDT Claims Reserve in an amount equal
                                to the payments due on account of the MDT Claims on the next
                                MDT Distribution Date; provided that, solely for purposes of any
                                NewCo Distribution Date on January 15 of any year, if such
                                MDT Reserve Period is continuing solely as a result of a
                                payment default by certain Shareholder Payment Groups, such
                                reserve shall be funded in an amount equal to the payments due
                                on account of the MDT Claims on the then-next MDT
                                Distribution Date multiplied by the SSA Percentage of such
                                defaulting Shareholder Payment Groups for the then-next SSA
                                Payment Date. For so long as such MDT Reserve Period is
                                continuing, the MDT Claims Reserve shall remain in place and


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                                 no TopCo Distributions or Public Creditor Trust Distributions
                                 shall be made until the MDT Operating Reserve and the MDT
                                 Claims Reserve are fully funded in the amounts required at such
                                 time. For the avoidance of doubt, notwithstanding the occurrence
                                 and continuation of an MDT Reserve Period, so long as the
                                 MDT Operating Reserve and the MDT Claims Reserve are fully
                                 funded, the Master Disbursement Trust and TopCo shall
                                 continue to make Public Creditor Trust Distributions from MDT
                                 Excess Cash and TopCo Excess Cash, respectively, and NewCo
                                 shall continue to make TopCo Distributions from NewCo Excess
                                 Cash, in each case, in accordance with Section 5.2(e) of the Plan.

                         (iii)   NewCo shall guarantee the obligations of the Master
                                 Disbursement Trust to make payments to the Private Creditor
                                 Trusts on account of the MDT Claims in accordance with
                                 Section 5.2(d)(i) of the Plan, and NewCo and TopCo shall make
                                 payments to the Master Disbursement Trust as set forth below.

                                 (A)     Following the receipt by NewCo from the MDT Trustees
                                         of notice of the commencement of an MDT Reserve
                                         Period, for so long as such MDT Reserve Period is
                                         continuing, on each NewCo Distribution Date, NewCo
                                         shall pay to the Master Disbursement Trust all NewCo
                                         Available Cash up to an amount necessary to ensure that
                                         the MDT Operating Reserve and the MDT Claims
                                         Reserve are fully funded at the amounts required as of
                                         that date. The amounts required to be paid by NewCo to
                                         the Master Disbursement            Trust    under this
                                         Section 5.2(d)(iii)(A) shall be limited to the extent of
                                         NewCo Available Cash; provided that, in the event there
                                         is a deficiency of funding in the MDT Claims Reserve
                                         for a period of eighteen (18) months during the
                                         continuation of an MDT Reserve Period, the Master
                                         Disbursement Trust shall be entitled to accelerate its
                                         claims under the NewCo/TopCo Guarantee Agreement
                                         and exercise remedies.

                                 (B)     Irrespective of whether there is an MDT Reserve Period
                                         in effect, until the payment in full in Cash of the MDT
                                         Claims, TopCo and NewCo shall pay to the Master
                                         Disbursement Trust an amount equal to [•]% of any Net
                                         Sale Proceeds within five (5) Business Days after the
                                         receipt of such Net Sale Proceeds; provided that (I) Net
                                         Sale Proceeds of less than $50 million will be carried
                                         forward and accumulated and no distributions on
                                         account thereof shall be required until the aggregate
                                         amount of the accumulated Net Sale Proceeds so
                                         received following the Effective Date equals or exceeds
                                         such amount and (II) the amounts payable to the Master
                                         Disbursement Trust under this Section 5.2(d)(iii)(B)
                                         shall not exceed the aggregate outstanding amount owed


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                                              on account of the MDT Claims (regardless of whether
                                              some amounts have yet fallen due). Any non-Cash
                                              proceeds in respect of the sale of any Asset of TopCo or
                                              any of its Subsidiaries shall be held and not distributed
                                              by TopCo or such Subsidiary, as applicable, until the
                                              payment in full of the MDT Claims or the disposition of
                                              such non-Cash proceeds for Cash; provided that the Net
                                              Sale Proceeds of such non-Cash proceeds shall be
                                              subject to this Section 5.2(d)(iii)(B). The Master
                                              Disbursement Trust shall apply all amounts received
                                              under this Section 5.2(d)(iii)(B) among the Private
                                              Creditor Trusts to prepay outstanding amounts on
                                              account of the MDT Claims on a pro rata basis (based on
                                              the amount due to each Private Creditor Trust on a given
                                              MDT Distribution Date) in ascending order of maturity
                                              (i.e., amounts due on the earliest MDT Distribution Date
                                              first, the next MDT Distribution Date second and so on).

                        (e)     Non-Federal Public Entity Settlements. On the Effective Date, NOAT
and the Tribe Trust shall receive their respective Initial Public Creditor Trust Distributions, MDT
Interests and TopCo Interests. The MDT Interests and the TopCo Interests shall entitle NOAT and the
Tribe Trust to the payments and other benefits set forth below.

                              (i)     On each MDT Distribution Date and as otherwise determined by
                                      the MDT Trustees, acting in accordance with their fiduciary
                                      duties to the Creditor Trusts as beneficiaries of the Master
                                      Disbursement Trust, the Master Disbursement Trust shall make
                                      Public Creditor Trust Distributions from all MDT Excess Cash
                                      in accordance with Section 5.2(e)(iii) of the Plan.

                              (ii)    On each NewCo Distribution Date, (A) NewCo shall make a
                                      TopCo Distribution from all NewCo Excess Cash and
                                      (B) TopCo shall make Public Creditor Trust Distributions from
                                      all TopCo Excess Cash in accordance with Section 5.2(e)(iii) of
                                      the Plan.

                              (iii)   All Public Creditor Trust Distributions shall be allocated
                                      between NOAT and the Tribe Trust as follows: (A) first, until
                                      the aggregate amount of Public Creditor Trust Distributions
                                      equals $50 million, 100% to the Tribe Trust; (B) second, until
                                      the aggregate cumulative amount of Public Creditor Trust
                                      Distributions equals $1 billion, 100% to NOAT; (C) third, until
                                      the aggregate cumulative amount of Public Creditor Trust
                                      Distributions equals $3 billion, 2.935% to the Tribe Trust and
                                      97.065% to NOAT; (D) fourth, until the aggregate cumulative
                                      Public Creditor Trust Distributions equals $5 billion, 2.8125% to
                                      the Tribe Trust and 97.1875% to NOAT; and (E) thereafter, with
                                      respect to all additional Public Creditor Trust Distributions, 3%
                                      to the Tribe Trust and 97% to NOAT.




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                         (iv)   Until the payment in full in Cash of the MDT Claims, all Public
                                Creditor Trust Distributions and TopCo Distributions, other than
                                the Initial Public Creditor Trust Distributions, shall be made
                                (A) only on the dates set forth in this Section 5.2(e), (B) in
                                accordance with the MDT Priority Waterfall, the NewCo Priority
                                Waterfall and the TopCo Priority Waterfall, as applicable, and
                                (C) on no less than ten (10) Business Days’ notice to the Private
                                Creditor Trusts and, except for Public Creditor Trust
                                Distributions made by the Master Disbursement Trust, the
                                Master Disbursement Trust.

                   (f)   Priority Waterfalls.

                         (i)    MDT Priority Waterfall. On each MDT Distribution Date and
                                any other date on which the MDT Trustees determine to make a
                                distribution of MDT Excess Cash, all Cash and cash equivalents
                                of the Master Disbursement Trust shall be applied as follows:
                                (A) first, to fund the MDT Operating Reserve in an amount
                                determined by the MDT Trustees; (B) second, to pay all
                                outstanding amounts then due or falling due within the next
                                thirty-one (31) days on account of the MDT Claims; (C) third,
                                solely during an MDT Reserve Period, to fund the MDT Claims
                                Reserve in the amount required as of that date in accordance
                                with Section 5.2(d)(ii) of the Plan; (D) fourth, to NewCo or
                                TopCo, as applicable, for the repayment of the amounts received
                                by the Master Disbursement Trust from NewCo or TopCo
                                pursuant to their respective obligations under the NewCo/TopCo
                                Guarantee Agreement in accordance with Section 5.2(d)(iii) of
                                the Plan; provided that NewCo shall promptly make a TopCo
                                Distribution from all such repayments and TopCo shall promptly
                                make Public Creditor Trust Distributions from all such
                                repayments and such TopCo Distributions; and (E) fifth, as
                                Public Creditor Trust Distributions in respect of the MDT
                                Interests.

                         (ii)   NewCo Priority Waterfall. On each NewCo Distribution Date,
                                all Cash and cash equivalents of NewCo and its Subsidiaries
                                shall be applied as follows: (A) first, to fund the current payment
                                of or reserve for, all NewCo Operating Expenses that are current,
                                reasonably forecasted or budgeted or included in a reasonable
                                reserve for contingent liabilities, including any amounts required
                                to satisfy any deficiency of funding in the Wind-Up Reserve;
                                (B) second, to the Master Disbursement Trust in an amount
                                required at that time on account of NewCo’s obligations under
                                the NewCo/TopCo Guarantee Agreement in accordance with
                                Section 5.2(d)(iii) of the Plan, if any, including any amounts
                                required to satisfy any shortfall in funding of the MDT Operating
                                Reserve and the MDT Claims Reserve, if applicable; and
                                (C) third, as a TopCo Distribution in respect of the NewCo
                                Interest.



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                                (iii)    TopCo Priority Waterfall. On each NewCo Distribution Date,
                                         after the receipt by TopCo of any amounts described in
                                         Section 5.2(f)(ii)(C) of the Plan, all Cash and cash equivalents of
                                         TopCo shall be applied as follows: (A) first, to fund the current
                                         payment of or reserve for, all TopCo Operating Expenses that
                                         are current, reasonably forecasted or budgeted or included in a
                                         reasonable reserve for contingent liabilities; (B) second, to the
                                         Master Disbursement Trust in an amount required at that time on
                                         account of TopCo’s obligations under the Newco/TopCo
                                         Guarantee Agreement in accordance with Section 5.2(d)(iii) of
                                         the Plan, if any; and (C) third, as Public Creditor Trust
                                         Distributions in respect of the TopCo Interests.

                       (g)    Shareholder Settlement. On or before the Effective Date, the Debtors
shall enter into the Shareholder Settlement Agreement on the terms set forth in the Shareholder
Settlement Agreement Term Sheet.

                5.3     The Plan Administration Trust.

                        (a)      Establishment and Purpose of Plan Administration Trust. On or
before the Effective Date, the Debtors shall take all necessary steps to form the Plan Administration Trust
in accordance with the Plan and the PAT Agreement. The Plan Administration Trust shall be established
for the purposes described in this Plan and any others more fully described in the PAT Agreement, shall
have no objective to continue or engage in the conduct of trade or business and shall be subject to the
jurisdiction of the Bankruptcy Court. The Plan Administration Trust shall, in each case in accordance
with the Plan and the PAT Agreement:

                                (i)      hold, manage, sell and invest the PAT Assets for the benefit of
                                         Holders of Allowed Claims (other than Channeled Claims);

                                (ii)     administer, process, resolve and liquidate Claims (other than
                                         Channeled Claims), including through the prosecution and
                                         resolution of objections to Disputed Claims (other than
                                         Channeled Claims);

                                (iii)    hold and maintain the PAT Reserves and the PAT Distribution
                                         Account and maintain the Professional Fee Escrow Account; and

                                (iv)     make Distributions to Holders of Allowed Claims (other than
                                         Channeled Claims).

                         (b)    Vesting of the PAT Assets in the Plan Administration Trust. The Plan
Administration Trust shall consist of the PAT Assets. On the Effective Date, the PAT Assets shall vest in
the Plan Administration Trust, free and clear of all Claims, Interests, Liens, other encumbrances and
liabilities of any kind.

                         (c)     Appointment and Role of the Plan Administration Trustee. The Plan
Administration Trustee shall be an existing employee of the Debtors selected by the Debtors in their sole
discretion or another individual selected by the Debtors with the consent of the Creditors’ Committee, the
Ad Hoc Committee and the MSGE Group (which consent shall not be unreasonably withheld,
conditioned or delayed). The identity and compensation of the Plan Administration Trustee shall be
disclosed in the Plan Supplement. The appointment of the Plan Administration Trustee shall be approved


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in the Confirmation Order, and such appointment shall be effective as of the Effective Date. In
accordance with the PAT Agreement, the Plan Administration Trustee shall serve in such capacity
through the earlier of (x) the date that the Plan Administration Trust is dissolved in accordance with the
PAT Agreement and (y) the date the Plan Administration Trustee resigns, is terminated or is otherwise
unable to serve for any reason. In furtherance of and consistent with the purpose of the Plan
Administration Trust and the Plan, the Plan Administration Trustee shall:

                                 (i)     have the power and authority to perform all functions on behalf
                                         of the Plan Administration Trust;

                                 (ii)    undertake all administrative responsibilities as are provided in
                                         the Plan and the PAT Agreement, including filing the final
                                         monthly operating report (for the month in which the Effective
                                         Date occurs) and all subsequent quarterly operating reports and
                                         administering the closure of the Chapter 11 Cases, which reports
                                         shall be delivered to the Master Disbursement Trust;

                                 (iii)   be responsible for all decisions and duties with respect to the
                                         Plan Administration Trust and the PAT Assets; and

                                 (iv)    take such other actions as the Plan Administration Trust
                                         determines to be necessary or desirable to carry out the purposes
                                         of the Plan.

                         (d)     Funding of the Wind-Up Reserve; Costs and Expenses of the Plan
Administration Trust. On the Effective Date, the Debtors shall establish and fund the Wind-Up Reserve,
which shall vest in the Plan Administration Trust and be held and maintained by the Plan Administration
Trustee. In the event of any shortfall of funding in the Wind-Up Reserve, NewCo shall be obligated to
satisfy any such deficiency (which obligation shall be assumed by NewCo and any successor to NewCo’s
business). The costs and expenses of the Plan Administration Trust, including the compensation, fees and
expenses of the Plan Administration Trustee and its retained professionals, shall be paid out of the Wind-
Up Reserve. The Plan Administration Trustee shall be entitled to reasonable compensation, in an amount
to be determined by the Debtors, subject to the consent (not to be unreasonably withheld, conditioned or
delayed) of the Ad Hoc Committee, and to retain and reasonably compensate counsel and other
professionals, including any professional who represented parties in interest, including the Debtors, in the
Chapter 11 Cases, to assist in its duties as Plan Administration Trustee on such terms as the Plan
Administration Trustee deems appropriate without Bankruptcy Court approval, subject to the provisions
of the PAT Agreement.

                         (e)      Institution and Maintenance of Legal and Other Proceedings. As of
the date upon which the Plan Administration Trust is established, the Plan Administration Trust shall be
empowered to initiate, prosecute, defend and resolve all legal actions and other proceedings related to any
Asset, liability or responsibility of the Plan Administration Trust. Such legal actions and other
proceedings shall be limited solely to those required for the purposes of reconciling, administering and
defending against Claims (other than Channeled Claims) and the other responsibilities of the Plan
Administration Trust. The Plan Administration Trust shall be empowered to initiate, prosecute, defend
and resolve all such actions in the name of the Debtors or their Estates, in each case if deemed necessary
or appropriate by the applicable Plan Administration Trustee. The Plan Administration Trust shall be
responsible for the payment of all damages, awards, judgments, settlements, expenses, costs, fees and
other charges incurred subsequent to the date upon which the Plan Administration Trust is established
arising from, or associated with, any legal action or other proceeding brought pursuant to the foregoing.
For the avoidance of doubt, the Plan Administration Trust, pursuant to section 1123(b)(3)(B) of the

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Bankruptcy Code and applicable state corporate law, is appointed as the successor-in-interest to, and
representative of, the Debtors and their Estates for the retention, enforcement, settlement or adjustment of
Claims against the Debtors (other than the Channeled Claims). For the avoidance of doubt, neither the
Plan Administration Trust nor the Plan Administration Trustee shall be vested with the rights to pursue
any MDT Insurance Rights or MDT Insurance Collateral.

                          (f)      U.S. Federal Income Tax Matters Relating to Plan Administration
Trust. The Plan Administration Trust is intended to be treated as a trust described in IRC sections 661
through 664 and the regulations promulgated thereunder (a “complex trust”). The Plan Administration
Trustee shall file (or cause to be filed) such statements, returns, or disclosures relating to the Plan
Administration Trust as are required by any Governmental Unit, including IRS Form 1041, IRS Form
1041-ES, and IRS Schedule K-1. The Plan Administration Trustee shall be responsible for payment, out
of the PAT Assets, of any taxes imposed on the Plan Administration Trust or the PAT Assets, including
estimated and annual U.S. federal income taxes. The Plan Administration Trustee may request an
expedited determination of taxes of the Plan Administration Trust under section 505(b) of the Bankruptcy
Code for all returns filed for, or on behalf of, the Plan Administration Trust for all taxable periods through
the dissolution of the Plan Administration Trust. Nothing in this Section 5.3(f) shall be deemed to
determine, expand or contract the jurisdiction of the Bankruptcy Court under section 505 of the
Bankruptcy Code.

                         (g)      Dissolution, Release of Reserves and Residual Value. The Plan
Administration Trust shall be dissolved and the Plan Administration Trustee shall be discharged from its
duties with respect to the Plan Administration Trust upon completion of its duties as set forth in the Plan
and satisfaction of the purposes of the Plan Administration Trust as set forth in the Plan and the PAT
Agreement, which, for the avoidance of doubt, shall be no earlier than the later of (i) the PPLP
Dissolution Date and (ii) the date on which (A) all Disputed Claims (other than Channeled Claims) have
been resolved, (B) all PAT Assets have been liquidated and (C) all Distributions required to be made by
the Plan Administration Trustee under the Plan and the PAT Agreement have been made, unless
dissolution on an earlier date is authorized pursuant to a Final Order of the Bankruptcy Court. Any Cash
or cash equivalents in the Plan Administration Trust remaining upon dissolution of the Plan
Administration Trust, including any Surplus Reserve Cash remaining in the PAT Reserves, shall be
distributed in accordance with Section 5.13(c) of the Plan.

                         (h)      Exculpation and Indemnification of the Plan Administration Trustee.
To the maximum extent permitted by applicable law, the Plan Administration Trustee shall not have or
incur any liability for actions taken or omitted in its capacity as the Plan Administration Trustee, or on
behalf of the Plan Administration Trust, except those acts found by Final Order to be arising out of its
willful misconduct, bad faith, gross negligence or fraud, and shall be entitled to indemnification and
reimbursement for reasonable fees and expenses in defending any and all of its actions or inactions in its
capacity as the Plan Administration Trustee, or on behalf of the Plan Administration Trust, except for any
actions or inactions found by Final Order to be arising out of its willful misconduct, bad faith, gross
negligence or fraud. Any valid indemnification claim of the Plan Administration Trustee shall be satisfied
from the Wind-Up Reserve.

                5.4      NewCo.

                        (a)    Establishment and Ownership of NewCo. On or before the Effective
Date, NewCo and any Subsidiaries of NewCo shall be formed in accordance with the Plan and the
NewCo Operating Agreement. In accordance with the Public Entity Settlements, upon completion of the
Restructuring Transactions, TopCo shall hold the NewCo Interest, representing 100% of the voting and
economic Interests in NewCo.


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                           (b)     Purpose of NewCo. From and after the Effective Date, NewCo shall
operate the NewCo Transferred Assets in accordance with the terms of the NewCo Operating Agreement,
and subject to the NewCo Operating Injunction and the NewCo Governance Covenants set forth in the
Confirmation Order. NewCo shall be operated in a responsible and sustainable manner, balancing (i) the
interests of its stakeholders to fund and provide abatement of the opioid crisis, (ii) effective deployment
of its assets to address the opioid crisis and (iii) the interests of those materially affected by its conduct.

                           (c)    Vesting of the NewCo Transferred Assets in NewCo. On or prior to
the Effective Date, pursuant to the Plan and in accordance with the NewCo Transfer Agreement, the
NewCo Transferred Assets, including the Initial NewCo Cash, shall be transferred to and vest in NewCo
or one or more Subsidiaries of NewCo (other than any NewCo Transferred Assets held by a Transferred
PPLP Subsidiary, which shall revest in such Transferred PPLP Subsidiary), in each case free and clear of
all Claims, Interests, Liens, other encumbrances and liabilities of any kind, except for NewCo’s
obligations under the NewCo/TopCo Guarantee Agreement, NewCo’s obligation to satisfy any deficiency
of funding in the Wind-Up Reserve (which obligation shall be assumed by NewCo and any successor to
NewCo’s business) and as otherwise expressly set forth in the NewCo Transfer Agreement. Except as
described in the foregoing sentence, NewCo shall have no liability for, and the NewCo Transferred Assets
shall vest in NewCo free and clear of, any pre-petition and post-petition Claims, Causes of Action or
liabilities of any kind, in each case that have been or could have been asserted against the Debtors, their
Estates or their property (including, but not limited to, Claims based on successor liability) based on any
acts or omissions prior to the Effective Date.

                         (d)     Appointment of the NewCo Managers. The board of managers of
NewCo will consist of seven (7) NewCo Managers, each with experience in one or more of the following
areas: pharmaceuticals, public policy (including public health policy), law enforcement, ethics and
compliance, finance, audit, general business and/or corporate governance issues. The initial NewCo
Managers shall be disinterested and independent, and shall be selected by the Ad Hoc Committee, and
acceptable to the MSGE Group, in consultation with the Debtors and the Creditors’ Committee, and
pursuant to a selection process that is reasonably acceptable to the Debtors; provided that the DOJ shall
have the right, in its discretion, to observe such selection process.6 The identity of the initial NewCo
Managers shall be included in the Plan Supplement. The appointment of the initial NewCo Managers
shall be approved in the Confirmation Order, and such appointment shall be effective as of the Effective
Date.

                       (e)    NewCo Operating Expenses. All NewCo Operating Expenses shall be
paid by NewCo. On the Effective Date, NewCo shall be funded with the Initial NewCo Cash, which shall
vest in NewCo in accordance with Section 5.4(c) of the Plan.

                        (f)      NewCo Insurance. On or prior to the Effective Date, the Debtors shall
fund an upfront premium payment from Effective Date Cash to purchase insurance required and
appropriate for the business needs of NewCo, including liability and other insurance for NewCo,
including without limitation, product liability insurance and directors’ and officers’ liability insurance for
the NewCo Managers, officers and other authorized agents, in an amount and on terms acceptable to the
Debtors, the Ad Hoc Committee and the MSGE Group.

                      (g)      NewCo Operating Injunction and NewCo Governance Covenants.
The Confirmation Order will provide for the issuance of the NewCo Operating Injunction and the NewCo

6 If determined to be necessary by the Ad Hoc Committee, and acceptable to the MSGE Group, NewCo may retain one or more

of the four independent directors on PPLP’s Special Committee for a period of time to serve as interim directors of NewCo to
allow for a period of transition and onboarding of NewCo Managers.



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Governance Covenants. At all times from and after the Effective Date, NewCo, and any purchaser of
NewCo’s opioid business, shall remain subject to the NewCo Operating Injunction and the NewCo
Governance Covenants.

                           (h)     NewCo Monitor. The Confirmation Order will provide for the
appointment of the NewCo Monitor. The initial NewCo Monitor shall be the Purdue Monitor in place as
of the Effective Date or otherwise selected by the Ad Hoc Committee, and acceptable to the MSGE
Group, with the consent of the Debtors, and in consultation with the Creditors’ Committee. The identity
of the NewCo Monitor shall be disclosed in the Plan Supplement. The NewCo Monitor shall be
responsible for ensuring that NewCo is in compliance with the NewCo Operating Injunction and the
NewCo Governance Covenants. NewCo and its professionals and representatives, including the NewCo
Managers, shall cooperate and reasonably respond to requests by the NewCo Monitor in the performance
of its responsibilities, including reasonable requests for access to relevant books and records of NewCo.
In furtherance of the responsibilities of the NewCo Monitor, the NewCo Monitor shall be authorized to
seek relief from the Bankruptcy Court to the extent necessary to carry out its obligations hereunder. The
NewCo Monitor shall prepare and publish quarterly reports regarding the matters for which the NewCo
Monitor is responsible, including NewCo’s compliance with the NewCo Operating Injunction and the
NewCo Governance Covenants. All compensation, costs and fees of the NewCo Monitor and any
professionals retained by the NewCo Monitor shall constitute NewCo Operating Expenses, and shall be
paid by NewCo.

                         (i)    U.S. Federal Income Tax Matters Relating to NewCo. The NewCo
Managers shall cause NewCo to make a timely election to be treated as a corporation for U.S. federal
income tax purposes effective as of the date of its formation by the deadline for making such election (or
such later date as to which the IRS has granted an extension for such election) unless the IRS has
provided guidance which may be relied upon to the effect that not making such election would not have a
material adverse tax effect on NOAT, including by reason of the application of IRC section 115.

                          (j)       Exculpation and Indemnification of the NewCo Managers. To the
maximum extent permitted by applicable law, no NewCo Manager shall have or incur any liability for
actions taken or omitted in his or her capacity as a NewCo Manager, or on behalf of NewCo, except those
acts found by Final Order to be arising out of his or her willful misconduct, bad faith or fraud, and shall
be entitled to indemnification and reimbursement for reasonable fees and expenses in defending any and
all actions or inactions in his or her capacity as a NewCo Manager, or on behalf of NewCo, except for any
actions or inactions found by Final Order to be arising out of his or her willful misconduct, bad faith or
fraud. Any valid indemnification claim of any NewCo Manager shall be satisfied by NewCo.

                5.5     TopCo.

                          (a)     Establishment and Ownership of TopCo. On or before the Effective
Date, TopCo shall be formed in accordance with the terms of the Plan and the TopCo Operating
Agreement. In accordance with the Public Entity Settlements, upon completion of the Restructuring
Transactions, NOAT shall hold the TopCo NOAT Interest and the Tribe Trust shall hold the TopCo Tribe
Interest, collectively representing 100% of the voting and economic Interests in TopCo.

                         (b)     Appointment of the TopCo Managers. The board of managers of
TopCo will consist of three (3) TopCo Managers, each of whom shall be disinterested and independent.
The initial TopCo Managers shall be selected by the Ad Hoc Committee, and acceptable to the MSGE
Group, in consultation with the Debtors and the Creditors’ Committee, and pursuant to a selection process
that is reasonably acceptable to the Debtors; provided that the DOJ shall have the right, in its discretion,
to observe such selection process. The identity of the initial TopCo Managers shall be included in the Plan


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Supplement. The appointment of the initial TopCo Managers shall be approved in the Confirmation Order,
and such appointment shall be effective as of the Effective Date.

                        (c)      TopCo Operating Expenses. TopCo Operating Expenses shall be paid
by TopCo.

                          (d)       TopCo D&O Insurance and Indemnification. On or prior to the
Effective Date, the Debtors shall fund an upfront premium payment from Effective Date Cash to purchase
directors’ and officers’ liability insurance for the TopCo Managers in an amount and on terms acceptable
to the Debtors, the Ad Hoc Committee and the MSGE Group.

                          (e)     Distributions from TopCo Free and Clear. All Public Creditor Trust
Distributions made by TopCo shall be made in accordance with the TopCo Priority Waterfall and on no
less than ten (10) Business Days’ notice to the Master Disbursement Trust and the Private Creditor Trusts,
and thereafter shall be free and clear of all claims, Liens or other recourse or encumbrances, and shall not
be subject to disgorgement or recoupment by any Person.

                         (f)     U.S. Federal Income Tax Matters Relating to TopCo. TopCo is
intended to be treated as a partnership for U.S. federal income tax purposes and shall be treated
consistently for state and local tax purposes, to the extent applicable. Neither TopCo nor any TopCo
Manager shall make an election for TopCo to be classified as other than a partnership pursuant to
Treasury Regulations section 301.7701-3.

                          (g)      Exculpation and Indemnification of the TopCo Managers. To the
maximum extent permitted by applicable law, no TopCo Manager shall have or incur any liability for
actions taken or omitted in his or her capacity as a TopCo Manager, or on behalf of NewCo, except those
acts found by Final Order to be arising out of his or her willful misconduct, bad faith or fraud, and shall
be entitled to indemnification and reimbursement for reasonable fees and expenses in defending any and
all actions or inactions in his or her capacity as a TopCo Manager, or on behalf of NewCo, except for any
actions or inactions found by Final Order to be arising out of his or her willful misconduct, bad faith or
fraud. Any valid indemnification claim of any TopCo Manager shall be satisfied by TopCo.

                5.6     Master Disbursement Trust.

                        (a)     Establishment and Purpose of the Master Disbursement Trust. On or
before the Effective Date, the Debtors shall take all necessary steps to establish the Master Disbursement
Trust in accordance with the Plan and the MDT Agreement. The Master Disbursement Trust shall be
established for the purposes described in this Plan and any other purposes more fully described in the
MDT Agreement, and shall be subject to the jurisdiction of the Bankruptcy Court. The Master
Disbursement Trust shall, in each case in accordance with the Plan and the MDT Agreement:

                                 (i)     hold, manage, sell, invest and distribute the MDT Transferred
                                         Assets for the benefit of the Creditor Trusts in accordance with
                                         the Private Entity Settlements and the Public Entity Settlements;

                                 (ii)    enforce, pursue, prosecute, compromise and/or settle the MDT
                                         Causes of Action, the MDT Insurance Rights and the
                                         Shareholder Claim Rights, including monitoring and enforcing
                                         the Shareholder Settlement Agreement;

                                 (iii)   make payments to the Private Creditor Trusts in satisfaction of
                                         the MDT Claims;


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                                 (iv)    make Public Creditor Trust Distributions from MDT Excess
                                         Cash; and

                                 (v)     publish on a publicly available website reports received from the
                                         Abatement Trusts regarding the disbursement, use and efficacy
                                         of Abatement Distributions and compliance with Authorized
                                         Abatement Purposes.

                          (b)     Vesting of the MDT Transferred Assets in the Master Disbursement
Trust. The corpus of the Master Disbursement Trust shall consist of the MDT Transferred Assets. On the
Effective Date, pursuant to the Plan and in accordance with the MDT Agreement, the MDT Transferred
Assets shall be transferred to and vest in the Master Disbursement Trust free and clear of all Claims,
Interests, Liens, other encumbrances and liabilities of any kind (other than the MDT Claims and MDT
Interests); provided that, to the extent certain Assets comprising the MDT Transferred Assets are not
known or identified as of the Effective Date, such Assets shall automatically, and without further act or
deed, be transferred to and vest in the Master Disbursement Trust upon the discovery or identification
thereof, including, with respect to the Surplus Reserve Cash, in accordance with Section 5.13(c) of the
Plan. The Master Disbursement Trust shall have no liability for, and the MDT Transferred Assets shall
vest in the Master Disbursement Trust free and clear of, any pre-petition and post-petition Claims, Causes
of Action or liabilities of any kind, in each case that have been or could have been asserted against the
Debtors, their Estates or their property (including, but not limited to, Claims based on successor liability)
based on any acts or omissions prior to the Effective Date, except for the MDT Claims. From and after
the Effective Date, all proceeds of the MDT Transferred Assets, including without limitation, amounts
paid by Insurance Companies under the MDT Insurance Policies and amounts paid under the Shareholder
Settlement Agreement, shall be paid to the Master Disbursement Trust to be applied in accordance with
the MDT Priority Waterfall and the MDT Agreement.

                         (c)   Funding of the Master Disbursement Trust. The Master Disbursement
Trust shall be funded with the proceeds of the MDT Transferred Assets and amounts, if applicable,
received pursuant to the NewCo/TopCo Guarantee Agreement.

                          (d)      Appointment and Role of the MDT Trustees. The board of trustees of
the Master Disbursement Trust will consist of three (3) MDT Trustees with experience in financial
reorganizations. The MDT Trustees shall be disinterested and independent. One initial MDT Trustee shall
be selected by the Creditors’ Committee and two initial MDT Trustees shall be selected by the Ad Hoc
Committee, and acceptable to the MSGE Group, in each case, in consultation with the Debtors and
pursuant to a selection process reasonably acceptable to the Debtors; provided that, in each case, the DOJ
shall have the right, in its discretion, to observe such selection process. The identity of the initial MDT
Trustees shall be disclosed in the Plan Supplement. The appointment of the initial MDT Trustees shall be
approved in the Confirmation Order, and such appointment shall be effective as of the Effective Date.
Upon the payment in full in Cash of all MDT Claims, the MDT Trustees may be removed and replaced by
NOAT (including with any of the Creditor Trustees of NOAT) in its sole discretion. In furtherance of and
consistent with the purpose of the Master Disbursement Trust and the Plan, the MDT Trustees shall:

                                 (i)     have the power and authority to perform all functions on behalf
                                         of the Master Disbursement Trust;

                                 (ii)    be responsible for all decisions and duties with respect to the
                                         Master Disbursement Trust and the MDT Transferred Assets;
                                         and



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                                (iii)   in all circumstances, act in a fiduciary capacity for the benefit
                                        and in the best interests of the Creditor Trusts, as the
                                        beneficiaries of the Master Disbursement Trust, in furtherance of
                                        the purpose of the Master Disbursement Trust, and in accordance
                                        with the Plan and the MDT Agreement.

                         (e)     Appointment of the MDT Executive Director. The MDT Executive
Director will be an individual with experience in financial reorganizations. The initial MDT Executive
Director shall be selected by the MDT Trustees; provided that the DOJ shall have the right, in its
discretion, to observe such selection process. The identity of the initial MDT Executive Director shall be
disclosed in the Plan Supplement. Removal and replacement of the MDT Executive Director shall be
determined by the MDT Trustees as set forth in the MDT Agreement. The MDT Executive Director shall:

                                (i)     carry out the day-to-day operations of the Master Disbursement
                                        Trust;

                                (ii)    make enforcement, litigation and liquidation recommendations
                                        as are reasonably necessary to the MDT Trustees and such other
                                        administrative professionals or entities; and

                                (iii)   have such other duties and responsibilities as set forth in the
                                        MDT Agreement and as may be delegated to it by the MDT
                                        Trustees in accordance with the MDT Agreement.

                        (f)     MDT Operating Expenses. On the Effective Date, the Debtors shall
establish and fund the MDT Operating Reserve, which shall vest in the Master Disbursement Trust in
accordance with Section 5.6(b) of the Plan and be held and maintained by the MDT Trustees. Periodically,
until the dissolution of the Master Disbursement Trust, the MDT Trustees will replenish the MDT
Operating Reserve from Cash held or received by the Master Disbursement Trust to the extent deemed
necessary by the MDT Trustees to satisfy and pay estimated future MDT Operating Expenses. The MDT
Trustees shall create and maintain an annual budget of MDT Operating Expenses, which shall be
reviewed by the Creditor Trustees and reasonably acceptable to the Creditor Trustees. All MDT
Operating Expenses shall be satisfied and paid from the MDT Operating Reserve. The MDT Trustees and
the MDT Executive Director shall be entitled to reasonable compensation and to retain and reasonably
compensate counsel and other professionals to assist in the duties of the Master Disbursement Trust on
such terms as the MDT Trustees and the MDT Executive Director deem appropriate without Bankruptcy
Court approval, subject to the provisions of the MDT Agreement. The initial compensation of the MDT
Trustees and the MDT Executive Director shall be reasonably acceptable to the Debtors, the Creditors’
Committee, the Ad Hoc Committee and the MSGE Group, and thereafter shall be subject to the annual
budgets prepared by the MDT Trustees.

                        (g)      Transfer of the MDT Insurance Rights. In furtherance of the transfer
of the MDT Transferred Assets to the Master Disbursement Trust and in accordance with the MDT
Agreement, on the Effective Date, the Debtors shall irrevocably transfer, grant and assign to the Master
Disbursement Trust, and the Master Disbursement Trust shall receive and accept any and all of the MDT
Causes of Action and MDT Insurance Rights. To the extent any Insurance Company would be obligated
in respect of any MDT Insurance Policy to pay any Channeled Claim on behalf of one or more of the
Debtors, the Debtors shall transfer and assign to the Master Disbursement Trust the right to enforce such
Insurance Company’s obligation. The foregoing transfer shall be (i) free and clear of all Claims, Liens,
encumbrances and Causes of Action of any nature whatsoever, (ii) made to the maximum extent possible
under applicable law, (iii) absolute and without requirement of any further action by the Debtors, the
Liquidating Debtors, the Plan Administration Trust, the Master Disbursement Trust, the Bankruptcy

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Court or any other Person, and (iv) governed by, and construed in accordance with, the Bankruptcy Code
and the other applicable laws governing the applicable MDT Insurance Policies. The Master
Disbursement Trust shall comply with any notice obligations required under the MDT Insurance Policies
and applicable law. The Master Disbursement Trust shall become liable for and shall satisfy, to the extent
required under applicable law, any prospective premiums, deductibles, self-insured retentions and any
other amounts arising in any way out of the receipt of payment from an Insurance Company in respect of
the MDT Insurance Rights. The transfer of the MDT Insurance Rights contemplated in this Section 5.6(g)
is not an assignment of any insurance policy itself. Notwithstanding anything herein to the contrary, all
Plan terms relating to all insurance policies that may provide coverage to the Debtors for Opioid-Related
Activities, their scope, and the transfer thereof, shall be acceptable to the Ad Hoc Committee. The
Confirmation Order shall contain findings acceptable to the Ad Hoc Committee necessary to preserve all
MDT Insurance Rights.

                          (h)     Institution and Maintenance of Legal and Other Proceedings. As of
the date upon which the Master Disbursement Trust is established, the Master Disbursement Trust shall
be empowered to initiate, prosecute, defend and resolve all legal actions and other proceedings related to
any Asset, liability or responsibility of the Master Disbursement Trust, including in respect of the MDT
Causes of Action, the MDT Insurance Rights and the Shareholder Claim Rights. Such legal actions and
other proceedings shall be limited solely to those required for the purposes of satisfying the
responsibilities of the Master Disbursement Trust, including in respect of the MDT Causes of Action, the
MDT Insurance Rights and the Shareholder Claim Rights. The Master Disbursement Trust shall be
empowered to initiate, prosecute, defend and resolve all such actions in the name of the Debtors or their
Estates, in each case if deemed necessary or appropriate by the MDT Trustees. The Master Disbursement
Trust shall be responsible for the payment of all damages, awards, judgments, settlements, expenses, costs,
fees and other charges incurred subsequent to the date upon which the Master Disbursement Trust is
established arising from, or associated with, any legal action or other proceeding brought pursuant to the
foregoing.

                         (i)       U.S. Federal Income Tax Matters Relating to the Master
Disbursement Trust. The Master Disbursement Trust is intended to be treated, and shall be reported, as a
“qualified settlement fund” for U.S. federal income tax purposes and shall be treated consistently for state
and local tax purposes, to the extent applicable. All parties (including, without limitation, Holders of
Claims against or Interests in the Debtors, the Related Parties of such Holders, the Debtors, the Master
Disbursement Trust, the MDT Trustees and the Creditor Trusts) shall report consistently with the
foregoing. An MDT Trustee shall be the “administrator,” within the meaning of Treasury Regulations
section 1.468B-2(k)(3), of the Master Disbursement Trust. The administrator of the Master Disbursement
Trust shall be responsible for filing all tax returns of the Master Disbursement Trust and the payment, out
of the Assets of the Master Disbursement Trust, of any taxes due by or imposed on the Master
Disbursement Trust. The MDT Trustees may request an expedited determination under section 505(b) of
the Bankruptcy Code for all tax returns filed by or on behalf of the Master Disbursement Trust for all
taxable periods through the dissolution of the Master Disbursement Trust. Nothing in this Section 5.6(i)
shall be deemed to determine, expand or contract the jurisdiction of the Bankruptcy Court under
section 505 of the Bankruptcy Code.

                        (j)     Distributions from the Master Disbursement Trust Free and Clear.
All distributions made by the Master Disbursement Trust to the Creditor Trusts shall be made on no less
than ten (10) Business Days’ notice to all Creditor Trusts, and thereafter shall be free and clear of all
Claims, Liens or other recourse or encumbrances, and shall not be subject to attachment, disgorgement or
recoupment by any Person. Such distributions to each Creditor Trust shall become the property of such
Creditor Trust, and shall be used for the administration of such Creditor Trust, to make Distributions on
account of Allowed Channeled Claims channeled to such Creditor Trust in accordance with the applicable


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Creditor Trust Documents and for such other purposes as may be specifically set forth in the applicable
Creditor Trust Documents.

                           (k)      Dissolution, Release of Reserves and Residual Value. The Master
Disbursement Trust shall be dissolved and the MDT Trustees and the MDT Executive Director shall be
discharged from their respective duties with respect to the Master Disbursement Trust upon completion of
their duties as set forth in this Plan and the MDT Agreement, which, for the avoidance of doubt, shall be
no earlier than the date on which (i) all Assets held by the Master Disbursement Trust, including the MDT
Transferred Assets, have been liquidated and (ii) all payments and other distributions required to be made
from the Master Disbursement Trust under the Plan and the MDT Agreement have been made, including
payment in full in Cash of all MDT Claims, unless dissolution on an earlier date is authorized pursuant to
a Final Order of the Bankruptcy Court. Upon dissolution of the Master Disbursement Trust, any Cash
remaining in the MDT Operating Reserve or otherwise held by the Master Disbursement Trust shall be
distributed in accordance with the MDT Priority Waterfall and the MDT Agreement.

                         (l)    Exculpation and Indemnification of the MDT Trustees and MDT
Executive Director. To the maximum extent permitted by applicable law, each of the MDT Trustees and
the MDT Executive Director shall not have or incur any liability for actions taken or omitted in its
capacity as an MDT Trustee or the MDT Executive Director, or on behalf of the Master Disbursement
Trust, except those acts found by Final Order to be arising out of its willful misconduct, bad faith, gross
negligence or fraud, and shall be entitled to indemnification and reimbursement for reasonable fees and
expenses in defending any and all of its actions or inactions in its capacity as an MDT Trustee or the
MDT Executive Director, or on behalf of the Master Disbursement Trust, except for any actions or
inactions found by Final Order to be arising out of its willful misconduct, bad faith, gross negligence or
fraud. Any valid indemnification claim of the MDT Trustees or the MDT Executive Director shall be
satisfied from the MDT Operating Reserve.

                5.7     Creditor Trusts.

                          (a)     Establishment and Purpose of the Creditor Trusts. The Confirmation
Order shall endorse and direct the establishment of the Creditor Trusts on or prior to the Effective Date in
accordance with the terms of the respective Creditor Trust Documents. The Creditor Trusts shall be
independent from the Holders of Claims against the Debtors, and shall be subject to the exclusive
jurisdiction of the Bankruptcy Court. The Creditor Trusts shall be established for the purposes described
in this Plan and any other purposes more fully described in the Creditor Trust Documents. Each Creditor
Trust shall, in each case, in accordance with the Plan, the Confirmation Order and the applicable Creditor
Trust Documents:

                                 (i)     hold, manage and invest all funds and other Assets received by
                                         such Creditor Trust from the Debtors, the Master Disbursement
                                         Trust and TopCo, as applicable (including, with respect to the
                                         Tribe Trust and NOAT, the TopCo Interests and the MDT
                                         Interests), in each case, for the benefit of the beneficiaries of
                                         such Creditor Trust;

                                 (ii)    hold and maintain the Creditor Trust Operating Reserve of such
                                         Creditor Trust; and

                                 (iii)   administer, process, resolve and liquidate Channeled Claims
                                         channeled to such Creditor Trust, in each case as provided in the
                                         applicable Creditor Trust Documents.


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                          (b)    Appointment and Role of the Creditor Trustees. In furtherance of and
consistent with the purposes of the Creditor Trusts and the Plan, the Creditor Trustees shall have the
power and authority to perform all functions on behalf of the respective Creditor Trusts. The Creditor
Trustees shall undertake all administrative responsibilities as are provided in the Plan and the applicable
Creditor Trust Documents. The Creditor Trustees shall be responsible for all decisions and duties with
respect to the respective Creditor Trusts. In all circumstances, each Creditor Trustee shall be independent
and disinterested and shall act in the best interests of the beneficiaries of such Creditor Trust, in
furtherance of the purpose of such Creditor Trust and in accordance with this Plan and the applicable
Creditor Trust Documents. In accordance with the Creditor Trust Documents, each Creditor Trustee shall
serve in such capacity through the earlier of (x) the date that the applicable Creditor Trust is dissolved in
accordance with the applicable Creditor Trust Documents and (y) the date such Creditor Trustee resigns,
is terminated or is otherwise unable to serve for any reason. The identity of the initial Creditor Trustees
shall be disclosed in the Plan Supplement. The initial Creditor Trustees shall be:

                                 (i)     with respect to NOAT, selected by the Ad Hoc Committee, and
                                         acceptable to the MSGE Group, in consultation with the Debtors
                                         and pursuant to a selection process reasonably acceptable to the
                                         Debtors; provided that the DOJ shall have the right, in its
                                         discretion, to observe such selection process;

                                 (ii)    with respect to the Tribe Trust, selected by the Native American
                                         Tribe Group with the consent of the Debtors; and

                                 (iii)   with respect to each of the Private Creditor Trusts, selected by
                                         (A) with respect to the Hospital Trust, the Ad Hoc Group of
                                         Hospitals, (B) with respect to the TPP Trust, the Third-Party
                                         Payor Group, (C) with respect to the NAS Monitoring Trust, the
                                         NAS Committee and (D) with respect to the PI Trust, the Ad
                                         Hoc Group of Individual Victims, in each case, with the consent
                                         of the Debtors (which consent shall not be unreasonably
                                         withheld, delayed or denied).

                        (c)     Abatement Distributions. Each Abatement Trust shall, in accordance
with the Plan, the Confirmation Order and the applicable Abatement Trust Documents, make Abatement
Distributions to Authorized Recipients for Authorized Abatement Purposes. The Abatement Trust
Documents for each Abatement Trust shall provide that decisions concerning Abatement Distributions
made by Abatement Trusts will consider the need to ensure that underserved urban and rural areas, as
well as minority communities, receive equitable access to the funds.

                       (d)     PI Trust Distributions. The PI Trust shall, in accordance with the Plan,
the Confirmation Order and the PI Trust Documents, make Distributions to Holders of Allowed PI Claims.

                         (e)     Abatement Trust Monitoring and Reporting Obligations. Each
Abatement Trust shall (i) monitor the use of funds received by Abatement Distribution recipients in
accordance with Authorized Abatement Purposes and (ii) prepare and deliver to the Master Disbursement
Trust for publication semiannual reports on the disbursement, use and efficacy of Abatement
Distributions from such Abatement Trust and the compliance by Abatement Distribution recipients with
the Authorized Abatement Purposes set forth in the applicable Abatement Trust Documents. In addition,
NOAT shall (x) ensure that the Master Disbursement Trust and TopCo comply with their respective
obligations to NOAT, including the enforcement of rights and agreements for the benefit of NOAT,
(y) monitor the financial and other reports received from TopCo, NewCo, the Master Disbursement Trust
and the States, and publish such reports on a publicly available website, as appropriate in the reasonable

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discretion of the Creditor Trustees of NOAT and (z) prepare or direct the preparation of annual audited
financial reports to be filed with the Bankruptcy Court, delivered to the States and published on a publicly
available website.

                        (f)      Assumption of Obligations and Liabilities. In furtherance of the
purposes of the Plan and the Creditor Trusts, and subject to the applicable Creditor Trust Documents,
each Creditor Trust shall (i) expressly assume sole and exclusive responsibility and liability for (A) the
Channeled Claims channeled to such Creditor Trust and (B) all Creditor Trust Operating Expenses of
such Creditor Trust and (ii) have all defenses, cross-claims, offsets and recoupments regarding such
Channeled Claims that the Debtors have, or would have had, under applicable law, but solely to the extent
consistent with the applicable Creditor Trust Documents and this Plan; provided that no such Claims,
defenses or rights may be asserted against any Released Party or Shareholder Released Party.

                         (g)     Administration of Channeled Claims. All Channeled Claims will be
administered, liquidated and discharged pursuant to the applicable Creditor Trust Documents. The
Creditor Trustees shall determine the eligibility, amount and Allowance of the applicable Channeled
Claims in accordance with the applicable Creditor Trust Documents. The determination by the applicable
Creditor Trustee of the eligibility, amount and Allowance of each Channeled Claim shall be final and
binding, and shall not be subject to any challenge or review of any kind, by any court or other Person,
except as set forth in the Creditor Trust Documents. Distributions in respect of Allowed Channeled
Claims shall be made by the applicable Creditor Trustee, in accordance with the trust distribution
procedures and other provisions of the applicable Creditor Trust Documents, from the applicable Creditor
Trust, which shall be funded in accordance with the Public Entity Settlements and the Private Entity
Settlements, as applicable. Distributions from the Creditor Trusts shall be the sole source of recovery for
Holders of Allowed Channeled Claims, and no Holder of a Channeled Claim shall have any other or
further recourse to the Creditor Trusts, the Debtors or their Estates, the Plan Administration Trust, the
Master Disbursement Trust, NewCo, TopCo, the other Released Parties or the Shareholder Released
Parties. Holders of Disallowed Channeled Claims shall have no recourse to the Creditor Trusts, the
Debtors or their Estates, the Plan Administration Trust, the Master Disbursement Trust, NewCo, TopCo,
the other Released Parties or the Shareholder Released Parties in respect of such Disallowed Claims.
Distributions in respect of Channeled Claims other than Claims channeled to the PI Trust shall be
exclusively in the form of Abatement Distributions made by the applicable Abatement Trust to
Authorized Recipients for Authorized Abatement Purposes solely as permitted pursuant to the applicable
Abatement Trust Documents.

                         (h)      Institution and Maintenance of Legal and Other Proceedings. As of
the date upon which each Creditor Trust is established, such Creditor Trust shall be empowered to initiate,
prosecute, defend and resolve all legal actions and other proceedings related to any Asset, liability or
responsibility of such Creditor Trust. Such legal actions and other proceedings shall be limited solely to
those required for purposes of reconciling, administering or defending against the Channeled Claims
channeled to such Creditor Trust. Each Creditor Trust shall be empowered to initiate, prosecute, defend
and resolve all such actions in the name of the Debtors or their Estates, in each case if deemed necessary
by the applicable Creditor Trustee to fulfill the purposes for which such Creditor Trust was created. Each
Creditor Trust shall be responsible for the payment of all damages, awards, judgments, settlements,
expenses, costs, fees and other charges incurred subsequent to the date upon which such Creditor Trust is
established arising from, or associated with, any legal action or other proceeding brought pursuant to the
foregoing. For the avoidance of doubt, each Creditor Trust, pursuant to section 1123(b)(3)(B) of the
Bankruptcy Code and applicable state corporate law, is appointed as the successor-in-interest to, and
representative of, the Debtors and their Estates for the retention, enforcement, settlement or adjustment of
the applicable Channeled Claims channeled to such Creditor Trust.



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                          (i)      Creditor Trust Operating Expenses. The Creditor Trustees shall be
entitled to reasonable compensation and to retain and reasonably compensate counsel and other
professionals to assist in their duties without Bankruptcy Court approval, subject to the provisions of the
applicable Creditor Trust Documents. Creditor Trust Operating Expenses of each Creditor Trust shall be
satisfied and paid from such Creditor Trust’s Creditor Trust Operating Reserve in accordance with the
applicable Creditor Trust Documents. Periodically, until the dissolution of a Creditor Trust, the applicable
Creditor Trustee will replenish the Creditor Trust Operating Reserve from Cash held or received by such
Creditor Trust to the extent deemed necessary by such Creditor Trustee to satisfy and pay estimated future
Creditor Trust Operating Expenses in accordance with the Creditor Trust Documents.

                         (j)      U.S. Federal Income Tax Matters Relating to the Creditor Trusts.
Each Creditor Trust (other than any Tribe Trust entity that is formed as a legal entity other than a trust) is
intended to be treated, and shall be reported, as a “qualified settlement fund” for U.S. federal income tax
purposes and shall be treated consistently for state and local tax purposes to the extent applicable. All
parties (including, without limitation, Holders of Claims against or Interests in the Debtors, the Related
Parties of such Holders, the Debtors, the Creditor Trustees, TopCo and the Master Disbursement Trust)
will be required to report consistently with the foregoing for all applicable tax reporting purposes. A
Creditor Trustee from each relevant Creditor Trust shall be the “administrator” within the meaning of
Treasury Regulations section 1.468B-2(k)(3) of the applicable Creditor Trust. The administrator of each
such Creditor Trust shall be responsible for filing all tax returns of the applicable Creditor Trust and the
payment, out of the assets of such Creditor Trust, of any taxes due by or imposed on such Creditor Trust.
Each Creditor Trustee may request an expedited determination of taxes under section 505(b) of the
Bankruptcy Code for all tax returns filed by or on behalf of the applicable Creditor Trust for all taxable
periods through the dissolution of such Creditor Trust. Nothing in this Section 5.7(j) shall be deemed to
determine, expand or contract the jurisdiction of the Bankruptcy Court under section 505 of the
Bankruptcy Code. Subject to guidance from the IRS, it is intended that NOAT’s income shall be treated
as exempt from U.S. federal income tax pursuant to IRC section 115, and shall be treated consistently for
state and local tax purposes to the extent applicable.

                         (k)      Exculpation and Indemnification of the Creditor Trustees. To the
maximum extent permitted by applicable law, the Creditor Trustees shall not have or incur any liability
for actions taken or omitted in their capacities as the Creditor Trustees, or on behalf of the respective
Creditor Trusts, except those acts found by Final Order to be arising out of its willful misconduct, bad
faith, gross negligence or fraud, and shall be entitled to indemnification and reimbursement for reasonable
fees and expenses in defending any and all of their actions or inactions in their capacity as the Creditor
Trustees, or on behalf of the respective Creditor Trusts, except for any actions or inactions found by Final
Order to be arising out of its willful misconduct, bad faith, gross negligence or fraud. Any valid
indemnification claim of the Creditor Trustees shall be satisfied from the respective Creditor Trusts.

                          (l)      Dissolution of the Creditor Trusts. Each Creditor Trust shall be
dissolved and the applicable Creditor Trustee shall be discharged from its duties with respect to such
Creditor Trust upon completion of its duties and the satisfaction of the purposes of the Creditor Trust as
set forth in this Plan and the applicable Creditor Trust Documents.

                5.8      Attorneys’ Fees and Costs.

                         Except as otherwise provided herein,

                         (a)     the payment of attorneys’ fees and costs (excluding Professional Fee
Claims) of the States, counties, municipalities and Tribes (including members of the Ad Hoc Committee)
shall be payable from funds available to NOAT and the Tribe Trust on terms to be determined by the Ad
Hoc Committee, and acceptable to the MSGE Group, and

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                         (b)     the payment of attorneys’ fees and costs of (i) Ratepayer Mediation
Participants shall be payable from the funds that would otherwise be used to make the Truth Initiative
Contribution and (ii) Holders of Claims channeled to the Private Creditor Trusts shall be payable from
funds available to the respective Private Creditor Trusts, in each case, in a manner consistent with the
agreements reached in phase I of the Mediation, as described in the Mediators’ Report [D.I. 1617],
including with respect to payment of fees.

                5.9      Transferability of Distribution Rights.

                          Any right to receive a Distribution or other payment from the Plan
Administration Trust (including any PAT Distribution Account or PAT Reserve), a Creditor Trust or the
Master Disbursement Trust (including the MDT Claims Reserve) shall not be evidenced by any certificate,
security, receipt or in any other form or manner whatsoever, except on the books and records of the Plan
Administration Trust (as maintained by the Plan Administration Trustee), the applicable Creditor Trust
(as maintained by the applicable Creditor Trustees) or the Master Disbursement Trust (as maintained by
the MDT Trustees), as applicable. Further, any right to receive a Distribution or other payment from the
Plan Administration Trust (including any PAT Distribution Account or PAT Reserve), a Creditor Trust or
the Master Disbursement Trust (including the MDT Claims Reserve) shall be nontransferable and
nonassignable except by will, intestate, succession or operation of law. Any rights to receive a
Distribution or other payment from the Plan Administration Trust (including any PAT Distribution
Account or PAT Reserve), a Creditor Trust or the Master Disbursement Trust (including the MDT Claims
Reserve) shall not constitute “securities” and shall not be registered pursuant to the Securities Act. If it is
determined that such rights constitute “securities,” the exemption provisions of section 1145(a)(1) of the
Bankruptcy Code would be satisfied and such securities would be exempt from registration.

                5.10     Insurance Neutrality.

                         Nothing in the Plan, the Plan Documents or the Confirmation Order, including
any provision that purports to be preemptory or supervening, shall in any way relate to, or have the effect
of, impairing, altering, supplementing, changing expanding, decreasing, or modifying (a) the rights or
obligations of any of the Insurance Companies or (b) any rights or obligations of the Debtors arising out
of or under any Purdue Insurance Policy.

                5.11     Transfer of Books and Records; Cooperation; Privilege.

                        (a)      Transfer of Books and Records to NewCo and the Plan
Administration Trust. Except with respect to Excluded Assets, all documents, books and records of the
Debtors shall be transferred and assigned to NewCo on or prior to the Effective Date pursuant to the
NewCo Transfer Agreement; provided that, from and after the date of such transfer, the Plan
Administration Trustee shall have the right to retain copies of all transferred documents, books and
records and NewCo shall permit the Plan Administration Trustee and its counsel and representatives to
have full access to such transferred documents, books and records. All documents, books and records of
the Debtors that are Excluded Assets shall be transferred and assigned to the Plan Administration Trust;
provided that NewCo shall receive copies of all documents, books and records of the Debtors that are
Excluded Assets.

                         (b)     Cooperation with the Master Disbursement Trust and the Creditor
Trusts. On the Effective Date or as soon as reasonably practicable thereafter, the Debtors shall transfer
and assign, or cause to be transferred and assigned, (i) to the MDT Trustees, (A) copies of all MDT
Insurance Policies, (B) information and copies of documents, including books and records of the Debtors
that reasonably relate to (I) any Claims previously noticed, tendered or submitted or paid by any
Insurance Company under the MDT Insurance Policies and (II) any MDT Causes of Action, and (C) other

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information and copies of all other documents, including books and records of the Debtors that are
reasonably necessary to preserve, secure or obtain the benefit of the MDT Insurance Rights, pursue the
MDT Causes of Action or liquidate any other MDT Transferred Assets and (ii) to each Creditor Trust, a
copy of the Proofs of Claims for Channeled Claims against such Creditor Trust. On and after the Effective
Date, the Plan Administration Trustee and NewCo may maintain their respective documents, books and
records in accordance with their respective document retention policies. The Plan Administration Trustee
and NewCo shall respond to reasonable requests of (x) the MDT Trustees for information and documents
related to the MDT Insurance Rights, the MDT Causes of Action or otherwise, in each case to the extent
reasonably necessary for the administration of the Master Disbursement Trust and (y) each Creditor
Trustee for information and documents relating to the applicable Channeled Claims or otherwise, in each
case to the extent reasonably necessary for the administration of the applicable Creditor Trust. In the
event of any dispute between the MDT Trustees and NewCo regarding the delivery of information or
documents requested pursuant to clause (x) of the foregoing sentence, the MDT Trustees shall have the
right to request intervention by the TopCo Managers to resolve any such dispute.

                         (c)      Privilege. The transfer or assignment of information and copies of
documents, including books and records, in accordance with this Section 5.11 shall not result in the
destruction or waiver of any applicable Privileges. On the Effective Date, all Privileges in connection
with the information or documents transferred in accordance with this Section 5.11 shall be transferred to,
and vest exclusively in, NewCo, the MDT Trustees, the Plan Administration Trustee and the Creditor
Trustees in accordance herewith. Further, with respect to the transfer of Privileges to the MDT Trustees
and the Creditor Trustees, such Privileges shall (i) be transferred to such MDT Trustees and Creditor
Trustees for the purpose of enabling such Persons to perform their respective duties as set forth in the
Plan or in the MDT Agreement or the applicable Creditor Trust Documents and for no other reason,
(ii) vest solely in the MDT Trustees and the Creditor Trustees and not in the Master Disbursement Trust
or the Creditor Trusts, or any other committee or subcomponent of the Master Disbursement Trust or the
Creditor Trusts, or any other Person (including counsel and other professionals) who is (or has been
engaged by, represents or has represented) any Holder of a Claim against or Interest in the Debtors or any
Person that alleges or may allege a Claim, directly or indirectly, relating to or arising out of the Debtors’
Products or operations and (iii) be preserved and not waived as a result of such transfer. For the avoidance
of doubt, any such transfer shall have no effect on any right, Claim or Privilege of any Person other than
the Debtors. No information subject to a Privilege shall be disclosed or communicated by the MDT
Trustees or the Creditor Trustees (x) to any Person not entitled to receive such information, including for
the avoidance of doubt any Person (including counsel and other professionals) who is (or has been
engaged by, represents or has represented) any Holder of a Claim against or Interest in the Debtors or any
Person that alleges or may allege a Claim, directly or indirectly, relating to or arising out of the Debtors’
Products or operations or (y) for any reason or in any manner other than as necessary for such Persons to
perform their respective duties as set forth in the Plan or in the MDT Agreement or the applicable
Creditor Trust Documents. Notwithstanding the foregoing, nothing herein shall preclude the MDT
Trustees from providing information or documents received pursuant to this Section 5.11 to any Insurance
Company as necessary to preserve, secure or obtain the benefit of the MDT Insurance Rights.

                5.12     Public Document Repository.

                        On the Effective Date, or as soon as reasonably practicable thereafter, a public
document repository shall be established by the Debtors. The parameters of the public document
repository shall be acceptable to the Debtors, the Creditors’ Committee, the Ad Hoc Committee, the
MSGE Group and the DOJ, and in no event shall be less restrictive than the public document repository
that the Debtors have agreed to create and host in connection with the DOJ Resolution.




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                   5.13      Effective Date Cash; Surplus Reserved Cash.

                          (a)     Effective Date Fixed Payments. On the Effective Date, Effective Date
Cash shall be used to fund (i) the Professional Fee Escrow Account in an amount necessary to satisfy
Professional Fee Claims in accordance with Section 2.1(b) of the Plan, (ii) the Priority Claims Reserve in
an amount necessary to satisfy estimated Allowed Administrative Claims (other than Professional Fee
Claims and the DOJ Forfeiture Judgment Claim), Allowed Secured Claims and Allowed Priority Claims,
(iii) the Disputed Claims Reserves in accordance with Section 7.1 of the Plan, (iv) the Disputed Cure
Claims Reserve in accordance with Section 8.2(d) of the Plan, (v) the Wind-Up Reserve in accordance
with Section 5.3(d) of the Plan, (vi) the MDT Operating Reserve in accordance with Section 5.6(f) of the
Plan, (vii) the Initial NewCo Cash in accordance with Section 5.4(c) of the Plan, (viii) the applicable PAT
Distribution Account in the amounts necessary to make Distributions required in accordance with
Article IV of the Plan in respect of Allowed Federal Government Unsecured Claims, Allowed Adlon
General Unsecured Claims and Allowed Avrio General Unsecured Claims, each to the extent Allowed as
of the Effective Date, (ix) the Truth Initiative Contribution and the attorneys’ fees of the Ratepayer
Mediation Participants in satisfaction of Ratepayer Claims in accordance with Section 4.8 of the Plan,
(x) the Initial Private Creditor Trust Distributions, (xi) the Initial Tribe Trust Distribution, (xii) amounts
required to establish the public document repository in accordance with Section 5.12 of the Plan, (xiii) the
upfront insurance premium payments in accordance with Sections 5.4(f), 5.5(d) and 8.9(a) of the Plan and
(xiv) any other amounts required to be paid on the Effective Date pursuant to the Plan. No later than five
(5) Business Days prior to the Effective Date, the Debtors shall provide notice to the Creditors’
Committee, the Ad Hoc Committee and the MSGE Group of the then-current estimated amount of
Effective Date Cash and all amounts described in this Section 5.13(a), and shall promptly notify the
Creditors’ Committee, the Ad Hoc Committee and the MSGE Group of any changes to such estimations
prior to the Effective Date. Any objection by the Ad Hoc Committee or the MSGE Group with respect to
the Debtors’ proposed amount of funding of any PAT Reserve shall be resolved by the Bankruptcy Court.

                        (b)      Initial NOAT Distribution. On the Effective Date, all Effective Date
Cash remaining after the satisfaction of all amounts described in the foregoing clause (a) shall be used to
make the Initial NOAT Distribution, which is currently estimated to be $250 million.7

                         (c)     Surplus Reserved Cash. Prior to the dissolution of the Plan
Administration Trust, the Plan Administration Trustee shall determine, on each six (6)-month anniversary
of the Effective Date, whether the amounts available in any PAT Reserve exceed the amounts necessary
to satisfy the purpose for which such reserves were established. If the Plan Administration Trustee
determines that a surplus exists in any PAT Reserve as of the date of such determination, such Surplus
Reserve Cash shall be (i) first, used to satisfy any funding deficiency in any other PAT Reserve and
(ii) second, with respect to any amounts not used to satisfy any such funding deficiency in another PAT
Reserve, transferred to the Master Disbursement Trust in accordance with the MDT Agreement. All Cash
and cash equivalents of the Plan Administration Trust remaining upon the dissolution of Plan
Administration Trust, including any remaining Surplus Reserve Cash in the PAT Reserves, shall be
transferred to the Master Disbursement Trust in accordance with the MDT Agreement.

                   5.14      Corporate Action.

                         (a)     Dissolution of Boards of the Debtors. As of the Effective Date, the
respective boards of directors and managers, as applicable, of each of the Debtors shall be terminated and

7 To be adjusted for items outside of the Company’s control, including but not limited to, potential variability in investment

monetization proceeds, higher than forecasted restructuring-related professional fees and cash collateral necessary to secure
insurance coverage for NewCo and TopCo.



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dissolved and the members of each of the boards of directors and managers, as applicable, of the Debtors
shall be deemed to have resigned.

                          (b)      Continued Existence of the Liquidating Debtors. Each of the Debtors,
other than the Transferred PPLP Subsidiaries, shall continue to exist as Liquidating Debtors after the
Effective Date in accordance with the respective laws of the state under which each such Debtor was
formed and pursuant to their respective certificates of incorporation, bylaws, articles of formation,
operating agreements, and other organizational documents in effect prior to the Effective Date, except to
the extent such organizational documents are amended under the Plan, for the limited purposes of
liquidating all of the Assets of the Estates and making distributions in accordance with the Plan. From and
after the Effective Date, except as set forth herein, the Liquidating Debtors (i) for all purposes shall be
deemed to have withdrawn their business operations from any state in which the Liquidating Debtors
were previously conducting, or are registered or licensed to conduct, their business operations, and shall
not be required to file any document, pay any sum, or take any other action in order to effectuate such
withdrawal, (ii) shall be deemed to have canceled pursuant to the Plan all PPI Interests and, as of the
PPLP Dissolution Date, all PPLP Interests, and (iii) shall not be liable in any manner to any taxing
authority for franchise, business, license or similar taxes accruing on or after the Effective Date.

                         (c)     Appointment of the PPLP Liquidator as the Sole Representative for
the Liquidating Debtors. On the Effective Date, the PPLP Liquidator shall be appointed as the sole
director and sole officer of the Liquidating Debtors, and shall succeed to the powers of the Liquidating
Debtors’ general partners, directors and officers. From and after the Effective Date, the PPLP Liquidator
shall be the sole representative of, and shall act for, the Liquidating Debtors and administer the winding
up and dissolution of the Liquidating Debtors. The PPLP Liquidator shall act for the Liquidating Debtors
in the same fiduciary capacity as applicable to a board of directors and officers, subject to the provisions
hereof (and all certificates of formation, partnership agreements, operating agreements, membership
agreements and related documents are deemed amended by the Plan to permit and authorize the same).
Any fees and expenses incurred by the PPLP Liquidator shall be paid by the Plan Administration Trustee
from the Wind-Up Reserve.

                          (d)      Merger; Dissolution; Consolidation of the Liquidating Debtors. On
or after the date(s) upon which the Plan Administration Trust is established, the Liquidating Debtors or
the PPLP Liquidator may, subject to the terms of the Plan, cause any or all of the Liquidating Debtors to
be merged into one or more of the Liquidating Debtors, dissolved or otherwise consolidated and engage
in any other transaction in furtherance of the Plan. Notwithstanding the foregoing, upon the dissolution of
each Liquidating Debtor by the PPLP Liquidator after the completion of the acts required of such
Liquidating Debtor pursuant to this Plan, such Liquidating Debtor shall be deemed dissolved for all
purposes without the necessity for any other or further actions to be taken by or on behalf of such
Liquidating Debtor; provided, however, that each Liquidating Debtor or the PPLP Liquidator, as
applicable, shall file with the office of the Secretary of State, or other appropriate office for the state of its
organization, a certificate of cancellation or dissolution.

                         (e)      Charter and Bylaws. To the extent necessary or appropriate, the
charters, by-laws and other organizational documents of the Debtors shall be amended, or amended and
restated as necessary, in a manner consistent with section 1123(a)(6) of the Bankruptcy Code, if
applicable, and the terms of this Plan.

                        (f)      No Further Action. Each of the matters provided for under the Plan
involving the corporate structure of the Debtors or the Plan Administration Trust, or corporate action to
be taken by or required of the Debtors, shall, as of the Effective Date, be deemed to have occurred (unless
contemplated hereunder to occur after the Effective Date) and be effective as provided herein, and shall


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be authorized and approved in all respects without any requirement of further action by any Person,
including, but not limited to, the Plan Administration Trustee, the PPLP Liquidator, Holders of Claims
against or Interests in the Debtors or directors or officers of the Debtors.

                          (g)     Effectuating Documents. Prior to or after the Effective Date, any
appropriate officer of the Debtors or the PPLP Liquidator, as applicable, shall be authorized to execute,
deliver, file or record such contracts, instruments, releases, indentures and other agreements or documents,
and to take such actions as may be necessary or appropriate to effectuate and further evidence the terms
and conditions of the Plan.

                          (h)     Exculpation and Indemnification of the PPLP Liquidator. To the
maximum extent permitted by applicable law, the PPLP Liquidator shall not have or incur any liability for
actions taken or omitted in its capacity as the PPLP Liquidator, except those acts found by Final Order to
be arising out of its willful misconduct, bad faith, gross negligence, or fraud, and shall be entitled to
indemnification and reimbursement for reasonable fees and expenses in defending any and all of its
actions or inactions in its capacity as the PPLP Liquidator, except for any actions or inactions found by
Final Order to be arising out of its willful misconduct, bad faith, gross negligence or fraud. Any valid
indemnification claim of the PPLP Liquidator shall be satisfied from the Wind-Up Reserve.

                5.15    Cancellation of Notes, Interests, Instruments, Certificates and Other
Documents.

                         Except as otherwise provided herein, on and after the Effective Date, all PPLP
Interests and PPI Interests and all notes, instruments, certificates, agreements, indentures, mortgages,
security documents and other documents evidencing Claims against or Interests in the Debtors or
obligations of the Debtors or the Liquidating Debtors, as applicable, thereunder or in any way related to
the foregoing shall be deemed cancelled, satisfied in full and of no further force or effect without any
need for further action or approval of the Bankruptcy Court.

                5.16    Closing of Chapter 11 Cases.

                       After a Debtor’s Estate has been fully administered, the Plan Administration
Trustee shall seek authority from the Bankruptcy Court to close the applicable Chapter 11 Case in
accordance with the Bankruptcy Code and Bankruptcy Rules.

ARTICLE VI            DISTRIBUTIONS.

                6.1     Distributions Generally.

                          Except as otherwise provided in the Plan, the PAT Agreement or the Creditor
Trust Documents, all Distributions in respect of Allowed Claims, other than Channeled Claims, shall be
made by the Disbursing Agent, or such other Persons designated by the Plan, in accordance with the
terms of the Plan, including this Article VI. All Distributions in respect of Allowed Channeled Claims
shall be made by the Creditor Trustees or such other Persons designated by the applicable Creditor Trust
Documents, in accordance with the terms of the applicable Creditor Trust Documents and the Plan;
provided that, except with respect to Sections 6.17–6.20 of the Plan or as otherwise expressly set forth
herein, this Article VI shall not apply to Channeled Claims.

                6.2     Distributions on the Effective Date.

                       On the Effective Date or as soon as reasonably practicable thereafter, the
Disbursing Agent shall make Distributions (a) from the Priority Claims Reserve in respect of Allowed


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Administrative Claims, Allowed Secured Claims and Allowed Priority Claims, each in an amount and to
the extent Allowed as of the Effective Date and (b) from the PAT Distribution Account in respect of
Allowed Federal Government Unsecured Claims, Allowed Avrio General Unsecured Claims and Allowed
Adlon General Unsecured Claims, each in an amount required in accordance with this Article VI of the
Plan and solely to the extent Allowed as of the Effective Date.

                6.3      Date of Distributions.

                        In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the performance of
such act may be completed on the next succeeding Business Day, but shall be deemed to have been
completed as of the required date.

                6.4      Disbursing Agent.

                         All Distributions under the Plan in respect of Claims against the Debtors, other
than Channeled Claims, shall be made by the Disbursing Agent. The Disbursing Agent shall be deemed to
hold all property to be distributed under this Plan in trust for the Persons entitled to receive the same. The
Disbursing Agent shall not hold an economic or beneficial interest in the property to be distributed under
this Plan. The Disbursing Agent shall not be required to give any bond or surety or other security for the
performance of its duties. Channeled Claims shall not be administered by the Disbursing Agent, and shall
instead be administered by the applicable Creditor Trustee.

                6.5      Rights and Powers of Disbursing Agent.

                          The Disbursing Agent shall be empowered to (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan, (b) make all
Distributions contemplated by the Plan, (c) employ professionals to represent it with respect to its
responsibilities and (d) exercise such other powers as may be vested in the Disbursing Agent by order of
the Bankruptcy Court, pursuant to the Plan or as deemed by the Disbursing Agent to be necessary and
proper to implement the provisions of the Plan.

                         The Disbursing Agent shall only be required to act and make Distributions in
accordance with the terms of the Plan and the PAT Agreement, and shall have no liability for actions
taken in accordance with the Plan and the PAT Agreement or in reliance upon information provided to it
in accordance with the Plan or obligation or liability in respect of any Channeled Claims or for
Distributions under the Plan to any party who does not hold an Allowed Claim administered by the Plan
Administration Trust at the time of Distribution or who does not otherwise comply with the terms of the
Plan; provided, however, that the foregoing shall not affect the liability that otherwise would result from
any such act or omission to the extent such act or omission is determined by a Final Order to have
constituted willful misconduct, gross negligence, intentional fraud or criminal conduct of any such Person.

                6.6      Expenses of Disbursement Agent.

                         Any reasonable fees and expenses incurred by the Disbursing Agent on or after
the Effective Date shall be paid in Cash by the Plan Administration Trustee from the Wind-Up Reserve.
Fees and expenses incurred by the Creditor Trustees shall be paid by the applicable Creditor Trusts.

                6.7      Delivery of Distributions.

                       Subject to Bankruptcy Rule 9010, the Disbursing Agent shall make all
Distributions to any Holder of an Allowed Claim at the address of such Holder (a) as set forth on the


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Schedules filed with the Bankruptcy Court or (b) on the books and records of the Debtors or their agents,
unless the Disbursing Agent has been notified in writing of a change of address, including, without
limitation, by filing of a Proof of Claim by such Holder that contains an address for such Holder that is
different than the address of such Holder as set forth in the Schedules or on such books and records of the
Debtors.

                6.8     Undeliverable and Unclaimed Distributions.

                          In the event that any Distribution to any Holder of an Allowed Claim is returned
as undeliverable, no Distribution to such Holder shall be made unless and until the Disbursing Agent has
been notified of the then-current address of such Holder, at which time or as soon as reasonably
practicable thereafter such Distribution shall be made to such Holder without interest; provided, however,
that all Distributions (other than Distributions in respect of Channeled Claims) that are unclaimed for a
period of six (6) months after the Distribution thereof shall be deemed unclaimed property under
section 347(b) of the Bankruptcy Code and shall revest in the Plan Administration Trust, and any
entitlement of any Holder of any Claims to such Distributions shall be extinguished and forever barred.

                6.9     Distribution Record Date.

                         As of the close of business on the Distribution Record Date, the Claims register
shall be closed. The Disbursing Agent shall have no obligation to recognize any transfer of any such
Claims occurring after the close of business on the Distribution Record Date and shall instead be entitled
to recognize and deal, for all purposes under the Plan, with only those Holders of record as of the close of
business on the Distribution Record Date.

                6.10    Manner of Payment under Plan.

                     At the option of the Disbursing Agent, any Cash payment to be made pursuant to
the Plan may be made by a check or wire transfer or as otherwise required or provided in the PAT
Agreement.

                6.11    Minimum Cash Distributions.

                          The Disbursing Agent shall not be required to make any Distributions of Cash in
an amount less than $100, or such lower amount as determined by the Disbursing Agent in accordance
with the PAT Agreement to any Holder of an Allowed Claim; provided, however, that if any Distribution
is not made pursuant to this Section 6.11, such Distribution shall be added to any subsequent Distribution
to be made on behalf of such Holder’s Allowed Claims. The Disbursing Agent shall not be required to
make any final Distribution of Cash in an amount less than $25 to any Holder of an Allowed Claim. If the
amount of any final Distribution to any Holder of Allowed Claims would be $25 or less, then such
Distribution shall be made available for Distribution to all Holders of Allowed Claims in the same Class
receiving final Distributions of at least $25.

                6.12    Setoffs and Recoupment.

                        Subject to Section 2.1 and Sections 10.5 through 10.11 of the Plan, the
Disbursing Agent may, but shall not be required to, setoff against or recoup from any Claim against the
Debtors, and from any payments to be made pursuant to the Plan with respect to such Claim, any Claims
of any nature whatsoever (to the extent permitted by applicable law) that the Debtors or the Plan
Administration Trust, as applicable, may have against the Holder of such Claim, but neither the failure to
do so nor the allowance of any Claim hereunder shall constitute a waiver or release by the Debtors or the
Plan Administration Trust of any such Claim it may have against such Holder.


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                6.13    Claims Paid or Payable by Third Parties.

                         The Plan Administration Trustee shall reduce in full a Claim against the Debtors
(other than a Channeled Claim), and such Claim shall be Disallowed without a Claims objection having to
be filed and without any further notice to or action, order or approval of the Bankruptcy Court, to the
extent that the Holder of such Claim receives payment in full on account of such Claim from any Person
that is not a Debtor. Subject to the last sentence of this paragraph, to the extent a Holder of a Claim
against the Debtors (other than a Channeled Claim) receives a Distribution on account of such Claim and
receives payment from a Person that is not a Debtor on account of such Claim, such Holder shall, within
fourteen (14) days of receipt thereof, repay or return the Distribution to the Plan Administration Trust to
the extent the Holder’s total recovery on account of such Claim from the third party and under the Plan
exceeds the amount of such Claim as of the date of any such Distribution under the Plan. The failure of
such Holder to timely repay or return such Distribution shall result in the Holder owing the Debtors
annualized interest at the federal judgment rate on such amount owed for each Business Day after the
fourteen (14)-day grace period specified above until the amount is repaid.

                6.14    Distributions after Effective Date.

                      Distributions made after the Effective Date to Holders of Disputed Claims that
are not Allowed Claims as of the Effective Date, but which later become Allowed Claims, shall be
deemed to have been made on the Effective Date.

                6.15    No Postpetition Interest and Penalties on Claims.

                        Unless otherwise provided for in the Plan or the Confirmation Order or required
by the Bankruptcy Code, no Holder of a Claim shall be entitled to interest accruing on or after the Petition
Date or to penalties on any Claim. Any such interest or penalty component of any such Claims, if
Allowed, shall be paid only in accordance with section 726(b) of the Bankruptcy Code.

                6.16    Allocation of Distributions Between Principal and Interest.

                           To the extent that any Allowed Claim is based upon any obligation or instrument
that is treated for U.S. federal income tax purposes as indebtedness of any Debtor or any other Person and
is entitled to accrued but unpaid interest thereon, it is intended, subject to applicable law, that such
Distribution shall be allocated first to the principal amount of the Allowed Claim (as determined for U.S.
federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of the
Allowed Claim, to accrued but unpaid interest.

                6.17    No Constructive Receipt.

                         No Holder of Allowed Claims shall be treated as receiving a Distribution for U.S.
federal income tax purposes except to the extent such Holder is entitled to receive such Distribution
directly under the Plan (or such Distribution is made in satisfaction of an obligation of such Holder). All
parties (including, without limitation, Holders of Claims against or Interests in the Debtors, the Related
Parties of such Holders, the Debtors, the Master Disbursement Trust, the MDT Trustees and the Creditor
Trusts) shall report consistently with the foregoing for U.S. federal income tax purposes.

                6.18    No Distribution in Excess of Amount of Allowed Claim.

                         Notwithstanding anything to the contrary in this Plan, no Holder of an Allowed
Claim shall receive, on account of such Allowed Claim, Distributions in excess of the Allowed amount of
such Claim when combined with amounts received by such Holder from other sources.


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                6.19     Satisfaction of Claims.

                        Unless otherwise provided herein, the Distributions and deliveries to be made on
account of Allowed Claims under this Plan shall, in the aggregate, be in complete and final satisfaction,
settlement and discharge of, and exchange for, such Allowed Claims.

                6.20     Withholding and Reporting Requirements.

                         (a)     Withholding Rights. In connection with the Plan, and all instruments or
Interests issued in connection therewith and in consideration thereof, any party issuing any instrument or
Interest or making any Distribution described in the Plan shall comply with all applicable withholding and
reporting requirements imposed by any U.S. federal, state or local or foreign taxing authority, and all
Distributions pursuant to the Plan and all related agreements shall be subject to any such withholding or
reporting requirements. In the case of a non-Cash Distribution that is subject to withholding, the
distributing party may withhold a portion of such distributed property equal in value to the tax required to
be withheld, and either (i) sell such withheld property to generate Cash necessary to pay over the
withholding tax (or reimburse the distributing party for any advance payment of the withholding tax), or
(ii) pay the withholding tax using its own funds and retain such withheld property. Any amounts withheld
pursuant to this Section 6.20(a) and properly remitted to the applicable Governmental Unit shall be
deemed to have been distributed to, and received by, the applicable recipient for all purposes of the Plan.
In the event that any Person issues any instrument or Interest or makes any non-Cash Distribution
pursuant to the Plan that is subject to withholding tax and such issuing or distributing party has not sold
such withheld property to generate Cash to pay the withholding tax, or paid the withholding tax using its
own funds and retained such withheld property as described above, such issuing or distributing party has
the right, but not the obligation, to not make a Distribution until such Holder has made arrangements
reasonably satisfactory to such issuing or disbursing party for payment of any such tax obligations, after
which such issuing or disbursing party shall return to such Holder the portion of the property previously
withheld.

                          (b)    Forms. Any party entitled to receive any property as an issuance or
Distribution under the Plan shall, upon request, deliver to the Disbursing Agent, the Master Disbursement
Trust, the applicable Creditor Trust, NewCo, TopCo, or such other Person designated by the Plan
Administration Trustee (which Person shall subsequently deliver to the Disbursing Agent any applicable
IRS Form W-8 or Form W-9 received), as applicable, a properly executed IRS Form W-9 or Form W-8,
as applicable, and any other forms or documents reasonably requested by such party, to reduce or
eliminate any withholding required by any federal, state, local or foreign taxing authority. If any such
request is made by such party in accordance with the foregoing, and the Holder fails to comply before the
date that is three hundred sixty-five (365) calendar days after the request is made, the amount of such
Distribution shall irrevocably revert to the Plan Administration Trust, the Master Disbursement Trust, the
applicable Creditor Trust, NewCo or TopCo, as applicable and any Claim with respect to such
Distribution shall be discharged and forever barred from assertion against such party or its property.

                        (c)     Tax Liability. Notwithstanding the above, each Holder of an Allowed
Claim or other Person that receives or is to receive a Distribution pursuant to this Plan shall have the sole
and exclusive responsibility for the satisfaction and payment (to the extent not withheld from such
Distribution pursuant to Section 6.20(a) of the Plan) of any tax obligations imposed on such Holder by
any Governmental Unit, including income, withholding and other tax obligations, on account of such
Distribution.




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ARTICLE VII           PROCEDURES FOR DISPUTED CLAIMS.

                7.1      Disputed Claims Reserve.

                        From and after the Effective Date, and until such time as all Disputed Claims
(other than Channeled Claims) have been compromised and settled or determined by a Final Order of the
Bankruptcy Court, the Plan Administration Trustee shall, consistent with and subject to section 1123(a)(4)
of the Bankruptcy Code, with respect to each Class of Avrio General Unsecured Claims, Adlon General
Unsecured Claims and Other General Unsecured Claims, retain in the applicable Disputed Claims
Reserve for such Class an aggregate amount equal to the Distributions that would have been made to
Holders of Disputed Claims of such Class as if such Disputed Claims were Allowed Claims against the
Debtors, in each case in an amount equal to the least of (i) the filed amount of such Disputed Claims,
(ii) the amount determined, to the extent permitted by the Bankruptcy Code and Bankruptcy Rules, by the
Bankruptcy Court for purposes of fixing the amount to be retained for such Disputed Claims and (iii) such
other amounts as may be agreed upon by the Holders of such Disputed Claims and the Plan
Administration Trustee.

                7.2      Claim Objections.

                         On or after the Effective Date, except as otherwise provided in the Plan, the PAT
Agreement or the Creditor Trust Documents, objections to Claims against the Debtors, other than
Channeled Claims, may be interposed and prosecuted only by the Plan Administration Trustee. Except
with respect to Channeled Claims and as otherwise provided in Section 2.1 of the Plan with respect to
Administrative Claims, any objections to Claims against the Debtors shall be served on the respective
Holders of such Claims and filed with the Bankruptcy Court (a) on or before one hundred eighty (180)
days following the later of (i) the Effective Date and (ii) the date that a Proof of Claim is filed or amended
or a Claim is otherwise asserted or amended in writing by or on behalf of a Holder of such Claim or
(b) on such later date as may be fixed by the Bankruptcy Court. Except as otherwise provided in the
Creditor Trust Documents, Channeled Claims shall be treated as unliquidated Disputed Claims for
purposes of the applicable Creditor Trust, and in all cases shall be subject to resolution exclusively by the
applicable Creditor Trustee in accordance with the applicable Creditor Trust Documents.

                7.3      No Distribution Pending Allowance.

                        Except as otherwise expressly provided in the Plan, the PAT Agreement or the
Creditor Trust Documents, if any portion of a Claim is Disputed, no payment or Distribution provided
under the Plan shall be made on account of such Claim unless and until such Disputed Claim becomes an
Allowed Claim.

                7.4      Estimation of Claims.

                          The Debtors (before the Effective Date) or the Plan Administration Trustee (on
or after the Effective Date) may, at any time, request that the Bankruptcy Court estimate, pursuant to
section 502(c) of the Bankruptcy Code, any Disputed Claim, other than a Channeled Claim, that the
Bankruptcy Court has jurisdiction to estimate in accordance with the Bankruptcy Code or other applicable
law, regardless of whether an objection was previously filed with the Bankruptcy Court with respect to
such Claim, or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court
shall retain jurisdiction to estimate any Claim at any time during litigation concerning any objection to
any such Claim, including during the pendency of any appeal relating to any such objection. If the
Bankruptcy Court estimates a Disputed Claim (other than a Channeled Claim), such estimated amount
shall constitute either the Allowed amount of such Claim, the amount used to determine the Disputed
Claims Reserves or a maximum limitation on such Claim, as determined by the Bankruptcy Court. If such

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estimated amount constitutes a maximum limitation on such Claim, the Plan Administration Trustee may
elect to pursue any supplemental proceeding to object to any ultimate Distribution on account of such
Claim.

                7.5     Distribution after Allowance.

                         On the first PAT Distribution Date following the date on which a Disputed Claim
(other than a Channeled Claim) becomes an Allowed Claim against a Debtor, the Disbursing Agent shall
remit to the respective PAT Distribution Account, for Distribution to the Holder of such Allowed Claim,
the Cash or cash equivalents retained in the applicable Disputed Claims Reserve in an amount equal to the
amount that would have been distributed to the Holder of such Claim from the Effective Date through and
including the PAT Distribution Date if such Claim had been Allowed as of the Effective Date (net of any
costs and expenses, including taxes, of the applicable Disputed Claims Reserve).

                7.6     Resolution of Claims.

                        Except as expressly provided in the Plan, the PAT Agreement or any order
entered by the Bankruptcy Court before the Effective Date, including the Confirmation Order, the Plan
Administration Trustee shall have and retain any and all rights and defenses held by the Debtors with
respect to any Claim against the Debtors (other than Channeled Claims) as of the Petition Date, and shall
have the authority to compromise, settle, otherwise resolve or withdraw any objections to such Claims
and to compromise, settle or otherwise resolve any Disputed Claims (other than Channeled Claims)
without approval of the Bankruptcy Court. If the Plan Administration Trustee and a Holder of a Disputed
Claim (other than a Channeled Claim) are unable to reach a settlement on the Disputed Claim, such
Disputed Claim shall be submitted to the Bankruptcy Court for resolution.

                       Except as expressly provided in the Plan, the applicable Creditor Trust
Documents or any order entered by the Bankruptcy Court before the Effective Date, including the
Confirmation Order, the applicable Creditor Trustee shall have and retain any and all rights and defenses
held by the Debtors with respect to the applicable Channeled Claims, as of the Petition Date, and shall
have the sole authority to compromise, settle or otherwise resolve such Channeled Claims without
approval of the Bankruptcy Court, in each case in accordance with the applicable Creditor Trust
Documents.

                7.7     Property Held in Disputed Claims Reserves.

                         Each Holder of a Disputed Claim (other than a Channeled Claim) that ultimately
becomes an Allowed Claim shall have recourse only to the undistributed Cash held in the applicable
Disputed Claims Reserve for satisfaction of the Distributions to which such Holder is entitled under the
Plan and the PAT Agreement (net of any costs and expenses, including taxes, of the applicable Disputed
Claims Reserve), and not against the Debtors, the Plan Administration Trust, the Creditor Trusts, NewCo,
TopCo or the Master Disbursement Trust or any Assets previously distributed on account of any Allowed
Claim. Holders of Channeled Claims shall have recourse only to Cash held by the applicable Creditor
Trust and solely to the extent provided in the applicable Creditor Trust Documents.

                7.8     Claims Resolution Procedures Cumulative.

                         All of the objection, estimation, settlement and resolution procedures set forth in
this Plan with respect to Claims against the Debtors are intended to be cumulative and not exclusive of
one another. Claims may be established and subsequently settled, compromised, withdrawn or resolved in
accordance with this Plan by any mechanism approved by the Bankruptcy Court. Notwithstanding the



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foregoing, Channeled Claims shall be administered solely in accordance with the applicable Creditor
Trust Documents.

                7.9      No Postpetition Interest or Penalties on Disputed Claims.

                         Unless otherwise specifically provided for in the Plan or the Confirmation Order
or required by applicable bankruptcy law, no Holder of a Claim shall be entitled to interest accruing on or
after the Petition Date or to any penalties on any Claim. Interest and penalties shall not accrue or be paid
upon any Disputed Claim with respect to the period from the Effective Date to the date a Distribution is
made thereon, or on and after such Disputed Claim becomes an Allowed Claim.

ARTICLE VIII          EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                8.1      Assumption and Rejection of Executory Contracts and Unexpired Leases.

                         (a)      As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any Debtor is a party, as amended pursuant to Section 8.4 shall be
deemed assumed by the applicable Debtor and, except with respect to any contract or lease held by a
Transferred PPLP Subsidiary, assigned to NewCo or its designee, except for any executory contract or
unexpired lease that (i) has previously been assumed or rejected pursuant to a Final Order of the
Bankruptcy Court, (ii) is specifically identified on the Schedule of Rejected Contracts, (iii) is the subject
of a separate assumption or rejection motion filed by the Debtors under section 365 of the Bankruptcy
Code pending on the Confirmation Date, (iv) is the subject of a pending Contract Dispute or (v) is being
otherwise treated pursuant to the Plan. The Debtors reserve the right to modify the treatment of any
particular executory contract or unexpired lease pursuant to this Plan. Furthermore, notwithstanding
anything to the contrary in the Plan, the Debtors may alter, amend, modify or supplement the Schedule of
Rejected Contracts and to assume, assume and assign or reject executory contracts and unexpired leases at
any time prior to the Effective Date or, with respect to any executory contract or unexpired lease subject
to a Contract Dispute that is resolved after the Effective Date, within thirty (30) days following entry of a
Final Order of the Bankruptcy Court resolving such Contract Dispute.

                          (b)     Subject to the occurrence of the Effective Date, the payment of any
applicable Cure Amount and the resolution of any Contract Dispute, the entry of the Confirmation Order
shall constitute approval of the rejections, assumptions and assumptions and assignments provided for in
this Plan pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated herein
or provided in a separate order of the Bankruptcy Court, rejections, assumptions and assumptions and
assignments of executory contracts and unexpired leases pursuant to the Solicitation Procedures Order
and this Plan are effective as of the Effective Date. Each executory contract and unexpired lease assumed
pursuant to this Plan or by order of the Bankruptcy Court shall vest in and be fully enforceable by the
applicable Debtor or NewCo, in each case in accordance with its terms, except as modified by the
provisions of this Plan, any order of the Bankruptcy Court authorizing and providing for its assumption,
or applicable law.

                         (c)    Unless otherwise provided herein (including Section 8.4 of the Plan) or
by separate order of the Bankruptcy Court, each executory contract or unexpired lease that is assumed or
assumed and assigned shall include any and all modifications, amendments, supplements, restatements or
other agreements made directly or indirectly by any agreement, instrument or other document that in any
manner affects such executory contract or unexpired lease, without regard to whether such agreement,
instrument or other document is listed in an Assumption Notice.

                       (d)       Except as otherwise expressly set forth on an Assumption Notice, any
contracts, engagement letters, retention agreements, and similar arrangements, in each case between the

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Debtors and any attorneys, accountants, financial advisors, investment bankers or similar professionals,
representatives or advisors shall not be treated under the Plan as executory contracts subject to
assumption, assumption and assignment, or rejection. Counterparties to any such contracts, engagement
letters, retention agreements and similar arrangements were required to file Proofs of Claim by the
General Bar Date and any Allowed Claims relating thereto shall be treated as Other General Unsecured
Claims or Co-Defendant Claims, as applicable.

                8.2     Determination of Contract Disputes and Deemed Consent.

                        (a)     The Debtors shall serve Assumption Notices in accordance with the
Solicitation Procedures Order. If a counterparty to an executory contract or unexpired lease receives an
Assumption Notice, but such executory contract or unexpired lease is not listed therein, the proposed
Cure Amount for such executory contract or unexpired lease shall be deemed to be zero dollars ($0).

                          (b)     Any counterparty to an executory contract or unexpired lease shall have
the time prescribed in the Solicitation Procedures Order to object to (i) the Cure Amount identified on the
Assumption Notice, (ii) adequate assurance of future performance by the applicable Debtor, NewCo or its
assignee (within the meaning of section 365 of the Bankruptcy Code) and (iii) any other matter pertaining
to assumption or assumption and assignment of such executory contract or unexpired lease on the terms
set forth in the Plan and such Assumption Notice.

                         (c)     To the extent a Contract Dispute is asserted in an objection filed in
accordance with the procedures set forth in the Assumption Notice, such Contract Dispute shall be heard
by the Bankruptcy Court at the Confirmation Hearing. Following resolution of a Contract Dispute by
Final Order of the Bankruptcy Court, the applicable executory contract or unexpired lease shall be
deemed assumed or assumed and assigned effective as of the Effective Date; subject to the Debtors’ right
to reject such executory contract or unexpired lease at any time prior to the Effective Date or, if any
Contract Dispute is resolved after the Effective Date, within thirty (30) days following entry of such Final
Order of the Bankruptcy Court resolving the applicable Contract Dispute.

                       (d)      To the extent a Contract Dispute has not been resolved prior to the
Effective Date, the Debtors shall establish the Disputed Cure Claims Reserve. Any amounts in the
Disputed Cure Claims Reserve remaining after the resolution of all Disputed Cure Claims and the
payment of all Cure Amounts with respect to Allowed Cure Claims for contracts and leases to be assumed
or assumed and assigned shall be applied in accordance with Section 5.13(c) of the Plan.

                         (e)     To the extent an objection is not timely filed and properly served on the
Debtors with respect to a Contract Dispute, then the counterparty to the applicable contract or lease shall
be deemed to have assented to (i) the Cure Amount proposed by the Debtors and (ii) the assumption or
assumption and assignment of such contract or lease on the terms set forth in the Plan and the Assumption
Notice, notwithstanding any provision of the applicable contract or lease that (A) prohibits, restricts or
conditions the transfer or assignment of such contract or lease or (B) terminates or permits the termination
of such contract or lease as a result of any direct or indirect transfer or assignment of the rights of the
Debtors under such contract or lease or a change in the ownership or control as contemplated by the Plan,
and shall forever be barred and enjoined from asserting such objection against the Debtors or terminating
or modifying such contract or lease on account of transactions contemplated by the Plan.

                         (f)     With respect to payment of any Cure Amounts or resolution of Contract
Disputes, none of the Debtors, the Liquidating Debtors, the Plan Administration Trustee, TopCo, NewCo
or any Transferred PPLP Subsidiary shall have any obligation to recognize or deal with any party other
than the non-Debtor party to the applicable executory contract or unexpired lease, even if such non-
Debtor party has sold, assigned or otherwise transferred its Cure Claim.

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                8.3      Payments Related to Assumption of Contracts and Leases.

                         (a)     Subject to resolution of any Contract Dispute, any Cure Claim shall be
satisfied, under section 365(b)(1) of the Bankruptcy Code, by the Plan Administration Trust from the
Priority Claims Reserve or the Disputed Cure Claims Reserve, as applicable, or NewCo in the ordinary
course of business upon assumption thereof.

                        (b)     Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Plan, or otherwise, shall result in the full release and satisfaction of any
Claims or defaults, subject to satisfaction of the Cure Amount, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest composition or
other bankruptcy-related defaults, arising under any assumed executory contract or unexpired lease at any
time before the effective date of assumption or assumption and assignment. Any Proofs of Claim filed
with respect to an executory contract or unexpired lease that has been assumed shall be deemed
Disallowed and expunged, without further notice, or action, order or approval of the Bankruptcy Court or
any other Person.

                8.4      Co-Defendant Indemnification Obligations.

                         (a)     As of the Effective Date, any term of any policy, contract or other
obligation applicable to any Debtor shall be void and of no further force or effect to the extent such policy,
contract or other obligation creates an obligation of any Debtor, or gives rise to a right under any
insurance policy of any Debtor, for the indemnification or reimbursement of any Person for costs, losses,
damages, fees, expenses or any other amounts whatsoever relating to or arising from any actual or
potential litigation or dispute, whether accrued or unaccrued, asserted or unasserted, existing or
hereinafter arising, based on or relating to, or in any manner arising from, in whole or in part, Opioid-
Related Activities or otherwise relating to opioids (excluding any indemnification obligations expressly
assumed pursuant to Section 8.6 of the Plan).

                          (b)     The Plan shall constitute (i) an amendment to each assumed or assumed
and assigned contract to sever any and all provisions thereof that give rise to any obligation or right
described in Section 8.4(a) of the Plan and (ii) an agreement by each counterparty to release any and all
obligations and liabilities arising under or relating to such severed provisions and any and all Co-
Defendant Claims and Channeled Claims arising under such contract, including any Co-Defendant
Claims and Channeled Claims that might otherwise be elevated to administrative status through
assumption of such contract. The severed portion of each such contract shall be rejected as of the
Effective Date, and any Claims resulting from such rejection shall be forever released and discharged,
with no distribution on account thereof. Except to the extent included in the Schedule of Rejected
Contracts, each such contract, solely as amended pursuant to this Section 8.4, shall be assumed by the
applicable Debtor and, except with respect to any such contract of the Transferred PPLP Subsidiaries,
assigned to NewCo (or one of its Subsidiaries). No counterparty or any other Person shall have or retain
any Claim, Cause of Action or other right of recovery against the Debtors or any other Person, including
without limitation NewCo or any Insurance Company, for or relating to any obligation or right described
in Section 8.4(a) of the Plan, any Co-Defendant Claim or the amendment of any contract, or the severance
and rejection of obligations and liabilities in connection therewith, described in this Section 8.4(b). On the
Effective Date, all Co-Defendant Claims arising under or related to any contract of the Debtors shall be
released and discharged with no consideration on account thereof, and all Proofs of Claim in respect
thereof shall be deemed Disallowed and expunged, without further notice, or action, order or approval of
the Bankruptcy Court or any other Person, and any Channeled Claims arising under or related to any
contract of the Debtors will be treated in accordance with Article IV of the Plan. For the avoidance of
doubt, no Co-Defendant Claim or Channeled Claim will be assumed by NewCo, any Transferred PPLP


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Subsidiary or Liquidating Debtor, elevated to administrative priority status or otherwise receive modified
treatment as a result of the assumption or assumption and assignment of any contract pursuant to this
Section 8.4.

                         (c)      In the Assumption Notices, the Debtors shall provide notice to all known
counterparties of this Section 8.4. To the extent an objection is not timely filed and properly served on the
Debtors with respect to any contract of the Debtors in accordance with the Solicitation Procedures Order,
the counterparty to such contract and all other Persons shall be bound by and deemed to have assented to
the amendment of such contract, the assumption or assumption and assignment of such amended contract
and the severance and release of obligations, liabilities and Claims described in this Section 8.4.

                8.5      Rejection Claims.

                          In the event that the rejection of an executory contract or unexpired lease by any
of the Debtors herein results in damages to the other party or parties to such contract or lease, any Claim
for such damages shall be forever barred and shall not be enforceable against the Debtors or their Estates,
properties or interests in property, unless a Proof of Claim is filed with the Bankruptcy Court and served
upon the Debtors no later than thirty (30) days after the entry of the order of the Bankruptcy Court
(including the Confirmation Order) authorizing the rejection of such executory contract or unexpired
lease. Any such Claim, to the extent Allowed, shall be classified as an Other General Unsecured Claim,
except to the extent such Claim is a Co-Defendant Claim or a Channeled Claim. The Confirmation Order
shall constitute the Bankruptcy Court’s authorization of the rejection of all the leases and contracts
identified in the Schedule of Rejected Contracts.

                8.6      Survival of Certain Indemnification Obligations.

                       [To come; provided that the treatment of indemnification obligations shall be
acceptable to the Ad Hoc Committee.]

                8.7      Compensation and Benefit Plans.

                       Except with respect to any Benefit Plans for which the Debtors have received
approval of the Bankruptcy Court to reject or terminate on or before the Effective Date or that are subject
to a pending motion to reject or terminate as of the Confirmation Hearing, all Benefit Plans shall be
deemed to be, and shall be treated as, executory contracts under this Plan pursuant to sections 365 and
1123 of the Bankruptcy Code and shall be assumed by applicable Debtors and, unless held by a
Transferred PPLP Subsidiary, assigned to NewCo (or one of its Subsidiaries).

                8.8      Purdue Pension Plan.

                        The Purdue Pension Plan has approximately 3,200 participants. PPLP is the
contributing sponsor of the Purdue Pension Plan. The Debtors that are members of the contributing
sponsor’s controlled-group within the meaning of 29 U.S.C. §§ 1301(a)(13), (14) are jointly and severally
liable with respect to the Purdue Pension Plan. Further, any non-debtor members of the contributing
sponsor’s controlled-group are also jointly and severally liable with respect to the Purdue Pension Plan.

                        Upon the Effective Date, NewCo (or one of its Subsidiaries) shall be deemed to
have assumed the Purdue Pension Plan and all liabilities and Assets thereunder and shall comply with all
applicable statutory provisions of ERISA and the IRC, including, but not limited to, satisfying the
minimum funding standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083, paying the
PBGC premiums in accordance with 29 U.S.C. §§ 1306 and 1307 and administering the Purdue Pension



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Plan in accordance with its terms and the provisions of ERISA and the IRC (and NewCo reserves all
rights thereunder).

                         Notwithstanding any provision in the Plan to the contrary, no provision contained
in the Plan, the Confirmation Order, the Bankruptcy Code (including section 1141 thereof), or any other
document filed in the Debtors’ bankruptcy cases shall be construed as discharging, releasing, exculpating
or relieving any Person (other than the Liquidating Debtors) from any fiduciary duties or liabilities under
Title I of ERISA with respect to the Purdue Pension Plan. PBGC and the Purdue Pension Plan shall not be
enjoined or precluded from enforcing such fiduciary duties or liabilities under Title I of ERISA as a result
of any of the provisions of the Plan, the Confirmation Order, the Bankruptcy Code or any other document
filed in the Debtors’ bankruptcy cases. The PBGC and the Debtors agree that all Proofs of Claim filed by
the PBGC shall be deemed to be withdrawn, with prejudice, as of the Effective Date.

                   8.9      Insurance Policies.

                         (a)     Prior to the Effective Date, the Debtors shall fund an upfront premium
payment to purchase appropriate directors’ and officers’ liability insurance, including tail coverage of up
to seven (7) years, for the existing directors of the Debtors, as determined by the Debtors in their sole
discretion and acceptable to the Ad Hoc Committee.8

                        (b)     On and after the Effective Date, all Purdue Insurance Policies (other than
the MDT Insurance Policies) shall be deemed to be, and shall be treated as, executory contracts under the
Plan, and shall be assumed and continue in full force and effect in accordance with their respective terms.

                   8.10     Reservation of Rights.

                         (a)      Neither the exclusion nor the inclusion by the Debtors of any contract or
lease on any exhibit, schedule or other annex to this Plan or in the Plan Supplement, nor anything
contained in this Plan, shall constitute an admission by the Debtors that any such contract or lease is or is
not an executory contract or unexpired lease or that the Debtors have any liability thereunder.

                         (b)     Except as explicitly provided in this Plan, nothing herein shall waive,
excuse, limit, diminish or otherwise alter any of the defenses, Claims, Causes of Action or other rights of
the Debtors under any executory or non-executory contract or unexpired lease.

                          (c)      Nothing in this Plan shall increase, augment or add to any of the duties,
obligations, responsibilities or liabilities of the Debtors under any executory or non- executory contract or
unexpired or expired lease, including the Purdue Insurance Policies.

                        (d)     If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of its assumption under this Plan, the Debtors shall have thirty (30)
days following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease.




8 Treatment of D&O Policies to come; provided that such treatment shall be acceptable to the Ad Hoc Committee.




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ARTICLE IX            CONDITIONS PRECEDENT TO THE OCCURRENCE OF THE EFFECTIVE
                      DATE.

                9.1     Conditions Precedent to Effective Date.

                        The Effective Date shall not occur unless all of the following conditions
precedent have been satisfied:

                          (a)     the Confirmation Order shall have been entered by the Bankruptcy Court,
and shall not be subject to any stay and shall not have been modified or vacated on appeal;

                          (b)      the Plan Documents shall have been approved of or accepted by all
applicable Persons in accordance with the respective consent rights under this Plan, and shall have been
filed, executed and delivered, as applicable, and the conditions precedent contained therein shall have
been satisfied or waived in accordance with the terms thereof, except with respect to such conditions that
by their terms shall be satisfied substantially simultaneously with or after consummation of the Plan;

                       (c)       the DOJ Resolution (including, for the avoidance of doubt, the entry of a
judgment of conviction in strict accordance with the Plea Agreement and the payment in full of the DOJ
Forfeiture Payment) shall have been consummated or will be consummated substantially simultaneously
with consummation of the Plan;

                       (d)     the NewCo Operating Agreement shall have been executed and shall be
in compliance with the DOJ Resolution, the NewCo Transferred Assets shall have vested in NewCo (or
one or more of its Subsidiaries) in accordance with the NewCo Transfer Agreement and the NewCo
Managers shall have been appointed;

                        (e)      the MDT Agreement shall have been executed, the MDT Transferred
Assets shall have vested in the Master Disbursement Trust in accordance therewith and the MDT Trustees
and the MDT Executive Director shall have been appointed;

                        (f)     the Creditor Trust Documents shall have been executed and the Creditor
Trustees shall have been appointed;

                       (g)     the Public Entity Settlements shall have been consummated or will be
consummated substantially simultaneously with consummation of the Plan, including (i) the payment in
full of the Initial Public Creditor Trust Distributions, (ii) the execution of the TopCo Operating
Agreement, the appointment of the TopCo Managers and the issuance of the NewCo Interest to TopCo
and the TopCo Interests to NOAT and the Tribe Trust and (iii) the issuance of the MDT Interests to
NOAT and the Tribe Trust;

                          (h)     the Private Entity Settlements shall have been consummated or will be
consummated substantially simultaneously with consummation of the Plan, including (i) the payment in
full of the Initial Private Creditor Trust Distributions, (ii) the issuance of the MDT Claims and (iii) the
execution of any Plan Documents required to be executed in connection with the foregoing;

                        (i)     the Shareholder Settlement Agreement shall have been executed and all
amounts required to be paid thereunder on the Effective Date shall have been received;

                       (j)      the PAT Agreement shall have been executed, the PAT Assets shall have
vested in the Plan Administration Trust in accordance therewith and the Plan Administration Trustee shall
have been appointed;


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                        (k)     each of the PAT Reserves, the Professional Fee Escrow Account and the
PAT Distribution Accounts shall have been fully funded, and each of the other payments and
Distributions of Effective Date Cash described in Section 5.13(a) and (b) of the Plan shall have been
made or will be made substantially simultaneously with consummation of the Plan;

                        (l)    the Debtors shall have obtained all authorizations, consents, regulatory
approvals, rulings and documents that are necessary to implement and effectuate the Plan;

                       (m)     all Professional Fee Claims shall have been paid in full or amounts
sufficient to pay such Claims after the Effective Date shall have been placed in the Professional Fee
Escrow Account, or shall be otherwise contained in a professional fee retainer, pending approval by the
Bankruptcy Court;

                         (n)     the Debtors shall have implemented the Restructuring Transactions in a
manner consistent in all material respects with this Plan;

                        (o)      the Bankruptcy Court shall have confirmed that the Bankruptcy Code
authorizes the transfer and vesting of the MDT Transferred Assets, notwithstanding any terms of the
Purdue Insurance Policies or provisions of non-bankruptcy law that any Insurance Company may
otherwise argue prohibits such transfer and vesting; and

                          (p)    all other actions, documents and agreements necessary to implement and
effectuate the Plan shall have been effected or executed.

                 9.2      Waiver of Conditions Precedent.

                             (a)     Each of the conditions precedent to the occurrence of the Effective Date
may be waived by the Debtors; provided that (i) with respect to any condition precedent, the waiver of
which would materially and adversely affect the entitlements of any Class of Claims (or any Creditor
Trust to which such Claims shall be channeled) represented by any of the Supporting Claimants, the
waiver of such condition precedent shall require the consent (not to be unreasonably withheld,
conditioned or delayed) of the applicable Supporting Claimants representing such materially and
adversely affected Class of Claims, (ii) the waiver of the conditions precedent set forth in Section 9.1(a),
(b) (solely with respect to any Plan Document over which the Creditors’ Committee has a consent right
set forth in the Plan), (e), (f), (h), (i), (j), (k) and (n) of the Plan shall require the consent of the Creditors’
Committee (which consent shall not be unreasonably withheld, delayed or conditioned) and (iii) the
waiver of the conditions precedent set forth in Section 9.1(a), (b) (solely with respect to any Plan
Document over which the Ad Hoc Committee or the MSGE Group have a consent right set forth in the
Plan), (d), (e), (f), (g), (i) and (n) of the Plan shall require the consent of the Ad Hoc Committee and the
MSGE Group (which consent shall not be unreasonably withheld, delayed or conditioned).

                        (b)      The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e)
shall be deemed waived by and upon entry of the Confirmation Order, and the Confirmation Order shall
take effect immediately upon its entry.

ARTICLE X              EFFECT OF CONFIRMATION.

                 10.1     Binding Effect.

                         Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and
subject to the occurrence of the Effective Date, on and after the entry of the Confirmation Order, the
provisions of this Plan and the Plan Documents shall bind every Holder of a Claim against or Interest in


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any Debtor and inure to the benefit of, and be binding on, such Holder’s respective successors and assigns,
regardless of whether the Claim or Interest of such Holder is Impaired under this Plan or whether such
Holder has accepted this Plan.

                 10.2    Discharge of Claims against and Interests in the Debtors.

                          Upon the Effective Date and in consideration of the Distributions to be made
under this Plan, except as otherwise provided in the Plan or in the Confirmation Order, each Holder (as
well as any trustee or agent on behalf of such Holder) of a Claim or Interest and any successor, assign and
affiliate of such Holder shall be deemed to have forever waived, released and discharged the Debtors, to
the fullest extent permitted by section 1141 of the Bankruptcy Code, of and from any and all Claims,
Interests, rights and liabilities that arose prior to the Effective Date. Except as otherwise provided in this
Plan, upon the Effective Date, all such Holders of Claims against or Interests in the Debtors, and their
successors, assigns and affiliates, shall be forever precluded and enjoined, pursuant to sections 105, 524
and 1141 of the Bankruptcy Code, from prosecuting or asserting any such discharged Claim against or
terminated Interest in any Debtor.

                 10.3    Pre-Confirmation Injunctions and Stays.

                         Unless otherwise provided in this Plan, all injunctions and stays arising under or
entered during the Chapter 11 Cases, whether under section 105 or 362 of the Bankruptcy Code or
otherwise, and in existence on the Confirmation Date, shall remain in full force and effect until the later
of the Effective Date and the date indicated in the order providing for such injunction or stay.

                 10.4    Injunction against Interference with Plan.

                       Upon entry of the Confirmation Order, all Holders of Claims against or Interests
in the Debtors shall be enjoined from taking any actions to interfere with the implementation or
consummation of the Plan and the Plan Documents.

                 10.5    Plan Injunction.

                          (a)      Except as otherwise provided in this Plan or in the Confirmation Order,
as of the entry of the Confirmation Order but subject to the occurrence of the Effective Date, to the
maximum extent permitted under applicable law, all Persons who have held, hold or may hold Claims
against or Interests in the Debtors are, with respect to any such Claim or Interest, permanently enjoined
after the entry of the Confirmation Order from: (i) commencing, conducting or continuing in any manner,
directly or indirectly, any suit, action or other proceeding of any kind (including any proceeding in a
judicial, arbitral, administrative or other forum) against or affecting, directly or indirectly, a Debtor or an
Estate or the property of any of the foregoing, or any direct or indirect transferee of any property of, or
direct or indirect successor in interest to, any of the foregoing Persons mentioned in this clause (i) or any
property of any such transferee or successor; (ii) enforcing, levying, attaching (including any prejudgment
attachment), collecting or otherwise recovering in any manner or by any means, whether directly or
indirectly, any judgment, award, decree or order against a Debtor or an Estate or its property, or any direct
or indirect transferee of any property of, or direct or indirect successor in interest to, any of the foregoing
Persons mentioned in this clause (ii) or any property of any such transferee or successor; (iii) creating,
perfecting or otherwise enforcing in any manner, directly or indirectly, any encumbrance of any kind
against a Debtor or an Estate or any of its property, or any direct or indirect transferee of any property of,
or successor in interest to, any of the foregoing Persons mentioned in this clause (iii) or any property of
any such transferee or successor; (iv) acting or proceeding in any manner, in any place whatsoever, that
does not conform to, or comply with, the provisions of this Plan; and (v) commencing or continuing, in
any manner or in any place, any action that does not comply, or is inconsistent, with the provisions of this

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Plan; provided, however, that nothing contained herein shall preclude such Persons who have held, hold
or may hold Claims against or Interests in a Debtor or an Estate from exercising their rights, or obtaining
benefits, pursuant to, and consistent with, the terms of this Plan and the Plan Documents.

                          (b)      All Persons, including all governmental, tax and regulatory authorities,
lenders, trade creditors, dealers, customers, employees, litigation claimants and other creditors holding
Claims, Liens, Interests, charges, encumbrances and other interests of any kind or nature whatsoever,
including rights or Claims based on any successor or transferee liability, against or in a Debtor, the
NewCo Transferred Assets, the MDT Transferred Assets or the PAT Assets (whether legal or equitable,
secured or unsecured, matured or unmatured, contingent or noncontingent, known or unknown), arising
under or out of, in connection with, or in any way relating to the Debtors, the NewCo Transferred Assets,
the MDT Transferred Assets, the PAT Assets, the operation of the NewCo Transferred Assets prior to the
Effective Date or the Restructuring Transactions are forever barred, estopped and permanently enjoined
from asserting against the Released Parties, their respective successors and assigns, their property, the
NewCo Transferred Assets, the MDT Transferred Assets or the PAT Assets, such Person’s Claims,
Interests, Liens, charges, encumbrances and other interests (including rights or Claims based on any
successor or transferee liability), including, without limitation, by: (i) commencing, conducting or
continuing in any manner, directly or indirectly, any suit, action or other proceeding of any kind
(including any proceeding in a judicial, arbitral, administrative or other forum) against or affecting,
directly or indirectly, a Released Party, or any direct or indirect transferee of any property of, or direct or
indirect successor in interest to, any of the foregoing Persons mentioned in this clause (i) or any property
of any such transferee or successor; (ii) enforcing, levying, attaching (including any prejudgment
attachment), collecting or otherwise recovering in any manner or by any means, whether directly or
indirectly, any judgment, award, decree or order against a Released Party, or any direct or indirect
transferee of any property of, or direct or indirect successor-in-interest to, any of the foregoing Persons
mentioned in this clause (ii) or any property of any such transferee or successor; (iii) creating, perfecting
or otherwise enforcing any encumbrance of any kind or asserting any Released Claims in any manner,
directly or indirectly, against a Released Party or any of its property, or any direct or indirect transferee of
any property of, or successor in interest to, any of the foregoing Persons mentioned in this clause (iii) or
any property of any such transferee or successor; (iv) acting or proceeding in any manner, in any place
whatsoever, that does not conform to or comply with the provisions of this Plan; and (v) commencing or
continuing, in any manner or in any place, any action that does not comply with or is inconsistent with the
provisions of this Plan.

                 10.6    Releases.

                         (a)      Releases by Debtors.

                       As of the Effective Date, for good and valuable consideration, the adequacy
of which is hereby confirmed, including, without limitation, the service of the Released Parties
before and during the Chapter 11 Cases to facilitate the reorganization of the Debtors and the
implementation of the Restructuring Transactions, and except as otherwise explicitly provided in
the Plan or in the Confirmation Order, the Released Parties shall be deemed conclusively,
absolutely, unconditionally, irrevocably and forever released, to the maximum extent permitted by
law, as such law may be extended subsequent to the Effective Date, by the Debtors and the Estates
from any and all Claims, counterclaims, disputes, obligations, suits, judgments, damages, demands,
debts, rights, Causes of Action, Liens, remedies, losses, contributions, indemnities, costs, liabilities,
attorneys’ fees and expenses whatsoever, including any derivative claims, asserted or assertable on
behalf of the Debtors or their Estates (including any Causes of Action arising under chapter 5 of the
Bankruptcy Code), whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing


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or hereinafter arising, whether in law or equity, whether sounding in tort or contract, whether
arising under federal or state statutory or common law, or any other applicable international,
foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that
the Debtors or their Estates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim against or Interest in the
Debtors or on behalf of any other Person, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors (as such Entities existed prior to or after the Petition Date), their
Estates, the Chapter 11 Cases, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated in the Plan, the business or contractual arrangements or
interactions between any Debtor and any Released Party (including the exercise of any common
law or contractual rights of setoff or recoupment by any Released Party at any time on or prior to
the Effective Date), the Restructuring Transactions, Opioid-Related Activities (regardless of where
in the world any such Opioid-Related Activities or any result, loss, injury or damage resulting
therefrom occurred), the restructuring of any Claim or Interest before or during the Chapter 11
Cases, the Disclosure Statement, the Plan, and related agreements, instruments, and other
documents, and the negotiation, formulation, preparation or implementation thereof, the
solicitation of votes with respect to the Plan, or any other act or omission in any way relating to any
of the foregoing. The Debtors, the Plan Administration Trust, the Master Disbursement Trust, the
Creditor Trusts, NewCo, and any other newly-formed Entities that shall be continuing the Debtors’
businesses after the Effective Date shall be bound, to the same extent the Debtors are bound, by the
Releases set forth in this Section 10.6(a).

                        Notwithstanding anything herein to the contrary, (i) nothing in the Plan
shall release any (A) Retained Causes of Action listed on the Schedule of Retained Causes of Action,
(B) any Claims or Causes of Action that may be asserted against any Excluded Party or (C) any
Claims or Causes of Action against any Holder of a Claim against a Debtor to the extent necessary
for the administration and resolution of such Claim in accordance with the Plan and (ii) nothing in
this Section 10.6(a) shall (A) release any Claims or Causes of Action that may be asserted against
any Shareholder Released Party or (B) be construed to impair in any way the Effective Date or
post-Effective Date rights and obligations of any Person under the Plan, the Plan Documents, the
Confirmation Order or the Restructuring Transactions, including the Shareholder Settlement
Agreement.

                        (b)     Releases by Holders of Claims and Interests.

                         As of the Effective Date, for good and valuable consideration, the adequacy
of which is hereby confirmed, including, without limitation, the service of the Released Parties
before and during the Chapter 11 Cases to facilitate the reorganization of the Debtors and the
implementation of the Restructuring Transactions, and except as otherwise explicitly provided in
the Plan or in the Confirmation Order, the Released Parties shall be deemed conclusively,
absolutely, unconditionally, irrevocably and forever released, to the maximum extent permitted by
law, as such law may be extended subsequent to the Effective Date, except as otherwise explicitly
provided herein, by the Releasing Parties from any and all Claims, counterclaims, disputes,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, Liens, remedies,
losses, contributions, indemnities, costs, liabilities, attorneys’ fees and expenses, in each case, of any
kind, character or nature whatsoever, including any derivative claims, asserted or assertable on
behalf of the Debtors or their Estates (including any Causes of Action arising under chapter 5 of the
Bankruptcy Code), whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, asserted or unasserted, accrued or unaccrued, existing
or hereinafter arising, whether in law or equity, whether sounding in tort or contract, whether
arising under federal or state statutory or common law, or any other applicable international,


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foreign, or domestic law, rule, statute, regulation, treaty, right, duty, requirement or otherwise, that
any Releasing Party or any other Persons or parties claiming under or through them would have
been legally entitled to assert in their own right (whether individually or collectively) or on behalf
of the Releasing Party or other Person, based on or relating to, or in any manner arising from, in
whole or in part, the Debtors (as such Entities existed prior to or after the Petition Date), their
Estates, the Chapter 11 Cases, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated in the Plan, the business or contractual arrangements or
interactions between any Debtor and any Released Party (including the exercise of any common
law or contractual rights of setoff or recoupment by any Released Party at any time on or prior to
the Effective Date), the Restructuring Transactions, the Opioid-Related Activities (regardless of
where in the world any such Opioid-Related Activities or any result, loss, injury or damage
resulting therefrom occurred), the restructuring of any Claim or Interest before or during the
Chapter 11 Cases, the Disclosure Statement, the Plan and related agreements, instruments, and
other documents, and the negotiation, formulation, preparation or implementation thereof, the
solicitation of votes with respect to the Plan, or any other act or omission in any way relating to any
of the foregoing.

                        Notwithstanding anything herein to the contrary, (i) nothing in the Plan
shall release any (A) Retained Causes of Action listed on the Schedule of Retained Causes of Action,
(B) any Claims or Causes of Action that may be asserted against any Excluded Party or (C) any
Claims or Causes of Action against any Holder of a Claim against a Debtor to the extent necessary
for the administration and resolution of such Claim against the Debtor in accordance with the Plan;
(ii) nothing in this Section 10.6(b) shall (A) release any Claims or Causes of Action that may be
asserted against any Shareholder Released Party or any Holder of Co-Defendant Claims or (B) be
construed to impair in any way the Effective Date or post-Effective Date rights and obligations of
any Person under the Plan, the Plan Documents, the Confirmation Order or the Restructuring
Transactions, including the Shareholder Settlement Agreement.

                        Notwithstanding anything herein to the contrary, the Debtors shall not be
released from liability for any Claim that is or may be covered by any Purdue Insurance Policy;
provided that recovery for any such Claim, including by way of settlement or judgment, shall be
limited to the available proceeds of such Purdue Insurance Policy, and no Person or party shall
execute, garnish or otherwise attempt to collect any such recovery from any assets other than the
available proceeds of the Purdue Insurance Policies. The Debtors shall be released automatically
from a Claim described in this paragraph upon the earlier of (x) the abandonment of such Claim
and (y) such a release being given as part of a settlement or resolution of such Claim, and shall be
released automatically from all Claims described in this paragraph upon the exhaustion of the
available proceeds of the Purdue Insurance Policies (notwithstanding the nonoccurrence of either
event described in the foregoing clauses (x) and (y)).

               10.7    Channeling Injunction.

                        In order to supplement the injunctive effect of the Plan Injunction and the
Releases set forth in Sections 10.5 and 10.6 of the Plan, the Confirmation Order shall provide for the
following permanent injunction to take effect as of the Effective Date:

                        (a)    Terms. In order to preserve and promote the settlements
contemplated by and provided for in the Plan and to supplement, where necessary, the injunctive
effect of the Plan Injunction and the Releases described in Sections 10.5 and 10.6 of the Plan, and
pursuant to the exercise of the equitable jurisdiction and power of the Bankruptcy Court under
section 105(a) of the Bankruptcy Code, all Persons that have held or asserted, that hold or assert or


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that may in the future hold or assert any Non-Federal Domestic Governmental Claim, Tribe Claim,
Hospital Claim, Third-Party Payor Claim, NAS Monitoring Claim or PI Claim shall be
permanently and forever stayed, restrained and enjoined from taking any action for the purpose of
directly or indirectly collecting, recovering or receiving payments, satisfaction, recovery or
judgment of any form from or against NewCo (or any of its Subsidiaries), TopCo, the Master
Disbursement Trust, the Plan Administration Trust or any other Released Party with respect to
such Claim and any Released Claims arising out of or related to such Claim, including:

                             (i)     commencing, conducting or continuing, in any manner,
                                     whether directly or indirectly, any suit, action or other
                                     proceeding, in each case, of any kind, character or nature, in
                                     any forum with respect to any such Claims, against or
                                     affecting any Released Party, or any property or interests in
                                     property of any Released Party with respect to any such
                                     Claims;

                             (ii)    enforcing, levying, attaching, collecting or otherwise
                                     recovering, by any manner or means, or in any manner,
                                     either directly or indirectly, any judgment, award, decree or
                                     other order against any Released Party or against the
                                     property of any Released Party with respect to any such
                                     Claims;

                             (iii)   creating, perfecting, or enforcing in any manner, whether
                                     directly or indirectly, any Lien of any kind against any
                                     Released Party or the property of any Released Party with
                                     respect to any such Claims;

                             (iv)    asserting or accomplishing any setoff, right of subrogation,
                                     indemnity, contribution or recoupment of any kind, whether
                                     directly or indirectly, against any obligation due to any
                                     Released Party or against the property of any Released Party
                                     with respect to any such Claims; and

                             (v)     taking any act, in any manner, in any place whatsoever, that
                                     does not conform to, or comply with, the provisions of the
                                     Plan Documents, with respect to such Claims.

                        (b)     Reservations. Notwithstanding anything to the contrary in
Section 10.7 of the Plan or the Confirmation Order, this Channeling Injunction shall not enjoin:

                             (i)     the rights of Holders of Claims to the treatment afforded
                                     them under the Plan and the Plan Documents, including
                                     (A) the rights of Holders of PI Claims to assert such Claims
                                     and any Released Claims arising out of or related to such PI
                                     Claims in accordance with the PI Trust Documents solely
                                     against the PI Trust, (B) the rights of Holders of Non-Federal
                                     Domestic Governmental Claims to assert such Claims and
                                     any Released Claims arising out of or related to such Non-
                                     Federal Domestic Governmental Claims in accordance with
                                     the NOAT Documents solely against NOAT, (C) the rights of
                                     Holders of Tribe Claims to assert such Claims and any

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                                       Released Claims arising out of or related to such Tribe
                                       Claims in accordance with the Tribe Trust Documents solely
                                       against the Tribe Trust, (D) the rights of Holders of Hospital
                                       Claims to assert such Claims and any Released Claims
                                       arising out of or related to such Hospital Claims in
                                       accordance with the Hospital Trust Documents solely against
                                       the Hospital Trust, (E) the rights of Holders of Third-Party
                                       Payor Claims to assert such Claims and any Released Claims
                                       arising out of or related to such Third-Party Payor Claims in
                                       accordance with the TPP Trust Documents solely against the
                                       TPP Trust and (F) the rights of Holders of NAS Monitoring
                                       Claims to assert such Claims and any Released Claims
                                       arising out of or related to such NAS Monitoring Claims in
                                       accordance with the NAS Monitoring Trust Documents
                                       solely against the NAS Monitoring Trust, in each case
                                       whether or not there are funds to make Distributions in
                                       respect of such Claims and whether or not such rights entitle
                                       such Holders to Abatement Distributions or any other form
                                       of Distributions;

                               (ii)    the rights of Persons to assert any Claim, debt, litigation or
                                       liability for payment of Creditor Trust Operating Expenses
                                       solely against the applicable Creditor Trust;

                               (iii)   the rights of Persons to assert any Claim, debt or litigation
                                       against any Excluded Party;

                               (iv)    the rights of the Master Disbursement Trust to pursue and
                                       enforce the Shareholder Claims Rights, the MDT Insurance
                                       Rights and the MDT Causes of Action;

                               (v)     the Creditor Trusts from enforcing their respective rights
                                       against the Master Disbursement Trust under the Plan and
                                       the MDT Agreement;

                               (vi)    the Master Disbursement Trust from enforcing its rights, on
                                       behalf of itself and the Private Creditor Trusts, against
                                       NewCo and TopCo under the Plan and the NewCo/TopCo
                                       Guarantee Agreement; or

                               (vii)   NOAT or the Tribe Trust from enforcing their respective
                                       rights against TopCo under the TopCo Operating
                                       Agreement.

                        (c)     Modifications. There can be no modification, dissolution or termination
of the Channeling Injunction, which shall be a permanent injunction.

                          (d)     Non-Limitation of Channeling Injunction. Nothing in the Plan, the PI
Trust Documents or the Abatement Trust Documents shall be construed in any way to limit the scope,
enforceability or effectiveness of the Channeling Injunction issued in connection with the Plan.




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                        (e)      Bankruptcy Rule 3016 Compliance. The Debtors’ compliance with the
requirements of Bankruptcy Rule 3016 shall not constitute an admission that the Plan provides for an
injunction against conduct not otherwise enjoined under the Bankruptcy Code.

                10.8    Shareholder Releases.

                        [To come.]

                10.9    Shareholder Channeling Injunction.

                        [To come.]

                10.10   Exculpation.

                         To the maximum extent permitted by applicable law, no Exculpated Party shall
have or incur, and each Exculpated Party is hereby released and exculpated from: any Claim, obligation,
suit, judgment, damage, demand, debt, right, Cause of Action, remedy, loss and liability for any Claim in
connection with, or arising out of, the administration of the Chapter 11 Cases; the negotiation and pursuit
of the Disclosure Statement (including any information provided, or statements made, in the Disclosure
Statement or omitted therefrom), the Restructuring Transactions, the Plan, the Master Disbursement Trust,
the Creditor Trusts (including the trust distribution procedures and the other Creditor Trust Documents)
and the solicitation of votes for, and confirmation of, the Plan; the funding of the Plan; the occurrence of
the Effective Date; the administration of the Plan and the property to be distributed under the Plan; and
the wind-up and dissolution of the Debtors and the transactions in furtherance of any of the foregoing, in
each case other than Claims or Causes of Action arising out of, or related to, any act or omission of an
Exculpated Party that is a criminal act or constitutes fraud, gross negligence or willful misconduct. This
exculpation shall be in addition to, and not in limitation of, all other Releases, indemnities, exculpations
and any other applicable law or rules protecting such Exculpated Parties from liability. For the avoidance
of doubt, this Section 10.10 shall not exculpate or release any Exculpated Party with respect to any act or
omission of such Exculpated Party prior to the Effective Date that is later found to be a criminal act or to
constitute fraud, gross negligence or willful misconduct, including findings after the Effective Date.
Notwithstanding anything herein to the contrary, nothing in the Plan shall release any Claims or Causes of
Action that may be asserted against any Excluded Party.

                10.11   Injunction Related to Releases and Exculpation.

                          To the maximum extent permitted under applicable law, the Confirmation Order
shall permanently enjoin the commencement or prosecution by any Person, whether directly, derivatively
or otherwise, of any Claims, obligations, suits, judgments, damages, demands, debts, rights, Causes of
Action, losses or liabilities released pursuant to this Plan, including, without limitation, the Claims,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action and liabilities released
or exculpated in this Plan and the Claims, Interests, Liens, other encumbrances or liabilities described in
Section 5.3(b), 5.4(c) or 5.6(b) of the Plan.

                10.12   Subordinated Claims.

                        The allowance, classification and treatment of all Allowed Claims and Allowed
Interests and the respective Distributions and treatments in respect thereof under this Plan take into
account and conform to the relative priority and rights of the Claims and Interests in each Class in
connection with contractual, legal and equitable subordination rights relating thereto, whether arising
under general principles of equitable subordination, section 509(c), 510(a), 510(b) or 510(c) of the
Bankruptcy Code or otherwise. Pursuant to sections 509(c) and 510 of the Bankruptcy Code or otherwise,


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the Debtors reserve the right to reclassify any Allowed Claim or Allowed Interest in accordance with any
contractual, legal or equitable subordination relating thereto.

                 10.13 Preservation of Causes of Action and Reservation of Rights. As of the Effective
Date, (a) the Master Disbursement Trust shall have the right to prosecute any and all MDT Causes of
Action, (b) the Plan Administration Trust shall have the right to prosecute any and all Retained Causes of
Action relating to and necessary for the administration of Claims against the Debtors (other than
Channeled Claims) and the other responsibilities of the Plan Administration Trustee in accordance with
the PAT Agreement, (c) each Creditor Trust shall have the right to prosecute any and all Retained Causes
of Action relating to and necessary for the administration of the applicable Channeled Claims and the
other responsibilities of such Creditor Trust in accordance with the applicable Creditor Trust Documents
and (d) NewCo shall have the right to prosecute any and all Retained Causes of Action constituting
NewCo Transferred Assets; provided that any release by NewCo of such Retained Causes of Action shall
be subject to the consent of the TopCo Managers. Pursuant to section 1123(b) of the Bankruptcy Code,
except as expressly provided in Sections 10.5 through 10.11 of the Plan, nothing contained in this Plan or
the Confirmation Order shall be deemed to be a waiver or relinquishment of any rights, Claims or Causes
of Action that the Debtors had immediately before the Effective Date on behalf of the Estates or of
themselves in accordance with any provision of the Bankruptcy Code or any applicable nonbankruptcy
law, including but not limited to any actions specifically enumerated in the Schedule of Retained Causes
of Action. Subject to Sections 10.5 through 10.11 of the Plan, all such rights, Claims and Causes of
Action shall be transferred to the Master Disbursement Trust, the Plan Administration Trust, the
applicable Creditor Trust or NewCo, as applicable, which shall have, retain, reserve and be entitled to
assert all such rights, Claims and Causes of Action as fully as if the Chapter 11 Cases had not been
commenced, and all of the Debtors’ legal and equitable rights with respect to any Claim or Interest may
be asserted after the Effective Date to the same extent as if the Chapter 11 Cases had not been
commenced.

                 10.14   Ipso Facto and Similar Provisions Ineffective.

                        Any term of any policy, contract or other obligation applicable to a Debtor shall
be void and of no further force or effect with respect to any Debtor to the extent such policy, contract, or
other obligation is conditioned on, creates an obligation of any Debtor as a result of, or gives rise to a
right of any Person based on any of the following: (a) the insolvency or financial condition of a Debtor;
(b) the commencement of the Chapter 11 Cases; (c) the confirmation or consummation of this Plan,
including any change of control that shall occur as a result of such consummation; or (d) the
Restructuring Transactions.

                 10.15   No Successor Liability.

                          Except as otherwise expressly provided in this Plan and the Confirmation Order,
each of NewCo, TopCo, the Master Disbursement Trust, the Plan Administration Trust and the Creditor
Trusts (a) is not, and shall not be deemed to assume, agree to perform, pay or otherwise have any
responsibilities for any liabilities or obligations of the Debtors or any other Person relating to or arising
out of the operations or the Assets of the Debtors on or prior to the Effective Date, (b) is not, and shall not
be, a successor to the Debtors by reason of any theory of law or equity or responsible for the knowledge
or conduct of any Debtor prior to the Effective Date and (c) shall not have any successor or transferee
liability of any kind or character.




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                10.16   Special Provisions for United States.

                       (a)     As to the United States, notwithstanding anything contained in the Plan
or Confirmation Order to the contrary, including but not limited to this Article X, nothing in the Plan or
Confirmation Order shall:

                                (i)     limit or expand the scope of discharge, release or injunction
                                        permitted to debtors under the Bankruptcy Code. The discharge,
                                        release, and injunction provisions contained in the Plan and
                                        Confirmation Order are not intended and shall not be construed
                                        to bar the United States from, subsequent to the Confirmation
                                        Order, pursuing any police or regulatory action, or any criminal
                                        action;

                                (ii)    discharge, release, exculpate, impair or otherwise preclude:
                                        (A) any liability to the United States that is not a “claim” within
                                        the meaning of section 101(5) of the Bankruptcy Code; (B) any
                                        Claim of the United States arising on or after the Effective Date;
                                        (C) any liability of the Debtors under police or regulatory
                                        statutes or regulations to the United States as the owner, lessor,
                                        lessee or operator of property that such Entity owns, operates or
                                        leases after the Effective Date; or (D) any liability to the United
                                        States, including but not limited to any liabilities arising under
                                        the IRC, the environmental laws, the criminal laws, the civil
                                        laws or common law, of any Person, including any Released
                                        Parties, Shareholder Released Parties or any Exculpated Parties,
                                        in each case, other than the Debtors that are Exculpated Parties;
                                        provided, however, that the foregoing shall not (x) limit the
                                        scope of discharge granted to the Debtors under sections 524 and
                                        1141 of the Bankruptcy Code, (y) diminish the scope of any
                                        exculpation to which any Person is entitled under section 1125(e)
                                        of the Bankruptcy Code or (z) change the treatment of the DOJ
                                        Forfeiture Judgment Claim pursuant to Section 2.3 of the Plan or
                                        the treatment of the Federal Government Unsecured Claims
                                        pursuant to Section 4.3 of the Plan;

                                (iii)   enjoin or otherwise bar the United States from asserting or
                                        enforcing, outside the Bankruptcy Court, any liability described
                                        in the preceding clause (ii); provided, however, that the non-
                                        bankruptcy rights and defenses of all Persons with respect to
                                        (A)–(D) in clause (ii) are likewise fully preserved;

                                (iv)    affect any valid right of setoff or recoupment of the United
                                        States against any of the Debtors; provided, however, that the
                                        rights and defenses of the Debtors with respect thereto are fully
                                        preserved (other than any rights or defenses based on language in
                                        the Plan or the Confirmation Order that may extinguish setoff or
                                        recoupment rights);

                                (v)     divest any court, commission or tribunal of jurisdiction to
                                        determine whether any liabilities asserted by the United States
                                        are discharged or otherwise barred by this Confirmation Order,

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                                         the Plan or the Bankruptcy Code; provided, however, that the
                                         Bankruptcy Court shall retain jurisdiction as set forth in and
                                         pursuant to the terms of the Plan to the extent permitted by law;
                                         or

                                (vi)     be deemed to (A) determine the tax liability of any Person,
                                         including but not limited to the Debtors, (B) have determined the
                                         federal tax treatment of any item, distribution or Entity,
                                         including the federal tax consequences of the Plan or
                                         Confirmation Order, or (C) expressly expand or diminish the
                                         jurisdiction of the Bankruptcy Court to make determinations as
                                         to federal tax liability and federal tax treatment under the
                                         Bankruptcy Code and 28 U.S.C. §§ 157, 1334.

                         For the avoidance of doubt, the Channeling Injunction set forth in Section 10.7 of
the Plan and the Shareholder Channeling Injunction set forth in Section 10.9 of the Plan do not apply to
the rights and causes of action protected by this Section 10.16.

                         (b)    Several of the Debtors are parties to the various following agreements
with the Secretary of the Department of Health and Human Services under which the Debtors owe rebates
to third parties:

                                (i)      The Medicare Coverage Gap Discount Program Agreement is
                                         established under 42 U.S.C. §§ 1395w-l14A, 1395w-153 and is
                                         required should manufacturers wish to have coverage for their
                                         products under Medicare Part D. Under the Medicare Coverage
                                         Gap Discount Program Agreement, manufacturers agree to
                                         reimburse Medicare Part D plan sponsors for certain Coverage
                                         Gap discounts the plans provide to Medicare beneficiaries in the
                                         Part D coverage gap. CMS requires that a new entity that seeks
                                         to assume a Medicare Coverage Gap Discount Program
                                         Agreement enter into a novation agreement with CMS with
                                         respect to the transfer of such agreement. The Debtors that have
                                         entered into Medicare Coverage Gap Discount Program
                                         Agreements with the Secretary are: Purdue Pharma L.P. (P1180)
                                         and Rhodes Pharmaceuticals L.P. (P1281);

                                (ii)     The Medicaid Drug Rebate Program, established under
                                         section 1927 of the Social Security Act, requires manufacturers
                                         to enter into National Drug Rebate Agreements with the
                                         Secretary for the coverage and payment of a manufacturer’s
                                         covered outpatient drugs. Under the Medicaid Drug Rebate
                                         Program, if a manufacturer has entered into and has in effect a
                                         National Drug Rebate Agreement, Medicaid covers and pays for
                                         all of the drugs of that manufacturer dispensed and paid for
                                         under the state plan, and in return manufacturers pay applicable
                                         rebates to the states. The Debtors that have National Drug
                                         Rebate Agreements and the labeler codes associated with the
                                         National Drug Rebate Agreements are as follows: Rhodes
                                         Pharmaceuticals L.P. (42858), Purdue Pharma L.P. (59011),
                                         Avrio Health L.P. (67618) and Adlon Therapeutics L.P. (72912);


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                               (iii)   Manufacturers with National Drug Rebate Agreements must also
                                       comply with the Drug Pricing Program under section 340B of
                                       the Public Health Service Act, 42 U.S.C. § 256b, and have
                                       Pharmaceutical Pricing Agreements with the Secretary of the
                                       Department of Health and Human Services. Under the
                                       Pharmaceutical Pricing Agreements, manufacturers agree to
                                       charge a price for covered outpatient drugs that will not exceed
                                       the average manufacturer price decreased by a rebate percentage.
                                       The Debtors that have Pharmaceutical Pricing Agreements and
                                       the labeler codes associated with such agreements are as follows:
                                       Rhodes Pharmaceuticals L.P. (42858), Purdue Pharma L.P.
                                       (59011), Avrio Health L.P. (67618) and Adlon Therapeutics L.P.
                                       (72912); and

                               (iv)    The Medicare Coverage Gap Discount Program Agreements, the
                                       Medicaid National Drug Rebate Agreements and the
                                       Pharmaceutical Pricing Agreements identified above provide that,
                                       in the event of a transfer of ownership, such agreements are
                                       automatically assigned to the new owner and all terms and
                                       conditions of such agreements remain in effect as to the new
                                       owner. Accordingly, notwithstanding anything contained in the
                                       Plan or the Confirmation Order which may be to the contrary,
                                       the Debtors shall assume such agreements pursuant to
                                       section 365 of the Bankruptcy Code, and upon the Effective Date,
                                       the Medicare Coverage Gap Discount Program Agreements, the
                                       Medicaid National Drug Rebate Agreements and the
                                       Pharmaceutical Pricing Agreements identified above shall be
                                       assigned to NewCo. NewCo, as the new owner, will assume the
                                       obligations of the Debtors who are parties under such
                                       agreements from and after the Effective Date, and to fully
                                       perform all the duties and responsibilities that exist under such
                                       agreements in accordance with their terms, including the
                                       payment of discounts owed to Part D Plan sponsors or payment
                                       of rebates owed to states and wholesalers for quarters prior to the
                                       Effective Date. For the avoidance of doubt, NewCo shall be
                                       liable for any outstanding rebates or discounts owed to third
                                       parties (and any applicable interest thereon) arising prior to the
                                       Effective Date, as well as any penalties associated with
                                       noncompliance by the Debtors with the Medicare Coverage Gap
                                       Discount Program Agreements, the Medicaid National Drug
                                       Rebate Agreements and the Pharmaceutical Pricing Agreements
                                       identified above prior to the Effective Date.

ARTICLE XI         RETENTION OF JURISDICTION.

               11.1    Retention of Jurisdiction.

                        (a)     The Bankruptcy Court shall retain exclusive jurisdiction of all matters
arising under, arising out of or related to the Chapter 11 Cases and the Plan pursuant to, and for the
purposes of, sections 105(a) and 1142 of the Bankruptcy Code and for, among other things, the following
purposes:


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                         (i)      to hear and determine applications for the assumption or
                                  rejection of executory contracts and unexpired leases and any
                                  Disputed Cure Claims or Disputed Claims in respect of rejection
                                  damages resulting therefrom;

                         (ii)     to hear and determine any motions, adversary proceedings,
                                  applications, contested matters and other litigated matters
                                  pending on, or commenced after, entry of the Confirmation
                                  Order;

                         (iii)    to hear and resolve any disputes arising from or related to
                                  (A) any orders of the Bankruptcy Court granting relief under
                                  Bankruptcy Rule 2004 or (B) any protective orders entered by
                                  the Bankruptcy Court in connection with the foregoing;

                         (iv)     to ensure that Distributions to Holders of Allowed Claims are
                                  accomplished as provided in this Plan and the Confirmation
                                  Order;

                         (v)      to consider Claims or the allowance, classification, priority,
                                  compromise, estimation or payment of any Claim (other than
                                  Channeled Claims, except to the extent expressly provided in the
                                  Creditor Trust Documents), including any Administrative Claim;

                         (vi)     to enter, implement or enforce such orders as may be appropriate
                                  in the event that the Confirmation Order is, for any reason,
                                  stayed, reversed, revoked, modified or vacated;

                         (vii)    to issue and enforce injunctions, enter and implement other
                                  orders and take such other actions as may be necessary or
                                  appropriate to restrain interference by any Person with the
                                  consummation, implementation or enforcement of this Plan, the
                                  Confirmation Order or any other order of the Bankruptcy Court;

                         (viii)   to hear and determine any application to modify this Plan in
                                  accordance with section 1127 of the Bankruptcy Code to remedy
                                  any defect or omission or reconcile any inconsistency in this
                                  Plan, the Disclosure Statement or any order of the Bankruptcy
                                  Court, including the Confirmation Order, in such a manner as
                                  may be necessary to carry out the purposes and effects thereof;

                         (ix)     to hear and determine all Professional Fee Claims;

                         (x)      to resolve disputes concerning any reserves with respect to
                                  Disputed Claims or the administration thereof;

                         (xi)     to hear and resolve disputes related to the MDT Insurance Rights;

                         (xii)    to hear and determine disputes arising in connection with the
                                  interpretation, implementation or enforcement of this Plan, the
                                  Confirmation Order, any transactions or payments in furtherance
                                  of the Plan or the Confirmation Order or any agreement,


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                                         instrument or other document governing, or related to, any of the
                                         foregoing;

                                (xiii)   to take any action and issue such orders, including any such
                                         action or orders as may be necessary after entry of the
                                         Confirmation Order or the occurrence of the Effective Date, as
                                         may be necessary to construe, enforce, implement, execute and
                                         consummate this Plan, including any release, exculpation or
                                         injunction provisions set forth in this Plan, or to maintain the
                                         integrity of this Plan following the occurrence of the Effective
                                         Date;

                                (xiv)    to hear and determine any other matters related to the Chapter 11
                                         Cases and not inconsistent with the Bankruptcy Code or title 28
                                         of the United States Code;

                                (xv)     to resolve any disputes concerning whether a Person had
                                         sufficient notice of the Chapter 11 Cases, the Disclosure
                                         Statement, any solicitation conducted in connection with the
                                         Chapter 11 Cases, any Bar Date established in the Chapter 11
                                         Cases or any deadline for responding or objecting to a Cure
                                         Amount, in each case, for the purpose of determining whether a
                                         Claim or Interest is discharged hereunder or for any other
                                         purpose;

                                (xvi)    to hear and determine disputes arising in connection with the
                                         interpretation, implementation or enforcement of the Shareholder
                                         Settlement Agreement;

                                (xvii)   to hear and determine disputes arising in connection with the
                                         MDT Claims and the interpretation, implementation or
                                         enforcement of the NewCo/TopCo Guarantee Agreement;

                                (xviii) to hear and determine disputes arising in connection with the
                                        interpretation, implementation or enforcement of the Abatement
                                        Trust Documents, and disputes concerning violations of the
                                        Confirmation Order or the use of grants from the Abatement
                                        Trusts in violation of the Authorized Abatement Purposes;

                                (xix)    to determine such other matters, and for such other purposes, as
                                         may be provided in the Confirmation Order;

                                (xx)     to hear and determine all matters relating to the Plan Settlements,
                                         to the extent permitted under applicable law; and

                                (xxi)    to enter a final decree closing each of the Chapter 11 Cases.

                        (b)      The Bankruptcy Court shall retain jurisdiction of all matters arising
under, arising out of or related to the Chapter 11 Cases and the Plan to, among other things, hear and
determine matters concerning state, local and federal taxes in accordance with sections 346, 505 and 1146
of the Bankruptcy Code (including the expedited determination of taxes under section 505(b) of the
Bankruptcy Code).


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                        (c)    Notwithstanding anything in this Article XI to the contrary, the
resolution of Channeled Claims against the Debtors and the forum in which such resolution shall be
determined shall be governed by, and in accordance with, the Creditor Trust Documents.

                         (d)     By consenting to the treatment provided by this Plan or otherwise
supporting the Plan, no State or Tribe shall be construed to have waived any claim of Sovereign
Immunity that it may have in any other action or proceeding, including any action or proceeding
occurring after the Effective Date.

ARTICLE XII         MISCELLANEOUS PROVISIONS.

                12.1    Exemption from Certain Transfer Taxes.

                          To the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy
Code, any transfers of property under the Plan pursuant to (a) the issuance, distribution, transfer or
exchange of any debt, equity security or other interest in the Debtors, (b) the Restructuring Transactions,
(c) the creation, modification, consolidation, termination, refinancing and/or recording of any mortgage,
deed of trust or other security interest, or the securing of additional indebtedness by such or other means,
or (d) the making, assignment, recording or surrender of any lease or sublease, or the making, delivery or
recording of any deed or other instrument of transfer under, in furtherance of or in connection with the
Plan, including any deeds, bills of sale or other assignments or instruments of transfer, or assignments
executed in connection with any disposition of Assets contemplated by the Plan (including transfers of
Assets to and by the Debtors, the Plan Administration Trust, NewCo, TopCo, the Master Disbursement
Trust and the Creditor Trusts) shall not be subject to any document recording tax, stamp tax, conveyance
fee, intangibles tax, transfer tax (including real estate transfer tax), mortgage tax or mortgage recording
tax, sales or use tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee
or other similar tax or governmental assessment, and the appropriate federal, state, provincial or local
government officials or agents shall forego collection of any such tax or governmental assessment and
accept for filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax or governmental assessment.

                12.2    Dates of Actions to Implement Plan.

                       In the event that any payment or act under this Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the performance of
such act may be completed on or as soon as reasonably practicable after the next succeeding Business
Day but shall be deemed to have been completed as of the required date.

                12.3    Amendments.

                         (a)     Plan Modifications. This Plan may be amended, modified or
supplemented by the Debtors in the manner provided for by section 1127 of the Bankruptcy Code or as
otherwise permitted by law, without additional disclosure pursuant to section 1125 of the Bankruptcy
Code, except as otherwise ordered by the Bankruptcy Court; provided that (i) any such amendment,
modification or supplement shall be reasonably acceptable to the Ad Hoc Committee and the MSGE
Group and (ii) any such amendment, modification or supplement that materially and adversely affects the
treatment of Holders of Hospital Claims, Third-Party Payor Claims, PI Claims, NAS Monitoring Claims
or Other General Unsecured Claims shall be reasonably acceptable to the Creditors’ Committee. In
addition, after the Confirmation Date, as long as such action does not materially and adversely affect the
treatment of Holders of Allowed Claims pursuant to this Plan, the Debtors may remedy any defect or
omission or reconcile any inconsistencies in this Plan or the Confirmation Order with respect to such
matters as may be necessary to carry out the purposes or effects of this Plan, and any Holder of a Claim or

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Interest that has accepted this Plan shall be deemed to have accepted this Plan as amended, modified or
supplemented.

                       (b)      Certain Technical Amendments. Prior to the Effective Date, the
Debtors, may make appropriate technical adjustments and modifications to this Plan without further order
or approval of the Bankruptcy Court; provided, however, that such technical adjustments and
modifications do not adversely affect in a material way the treatment of Holders of Claims and Interests
under this Plan.

                12.4     Revocation or Withdrawal of Plan.

                         The Debtors reserve the right to revoke or withdraw this Plan prior to the
Effective Date as to any or all of the Debtors. If, with respect to a Debtor, this Plan has been revoked or
withdrawn prior to the Effective Date, or if confirmation or the occurrence of the Effective Date as to
such Debtor does not occur on the Effective Date, then, with respect to such Debtor: (a) this Plan and the
Plan Documents shall be null and void in all respects; (b) any settlement or compromise embodied in this
Plan (including the fixing or limiting to an amount any Claim or Interest or Class of Claims or Interests),
assumption or rejection of executory contracts and unexpired leases effected by this Plan and any
document or agreement executed pursuant to this Plan (including the Plan Documents) shall be deemed
null and void; and (c) nothing contained in this Plan shall (i) constitute a waiver or release of any Claim
by or against, or any Interest in, such Debtor or any other Person, (ii) prejudice in any manner the rights
of such Debtor or any other Person, or (iii) constitute an admission of any sort by any Debtor or any other
Person.

                12.5     Payment of Statutory Fees.

                         All fees payable under section 1930 of chapter 123 of title 28 of the United States
Code shall be paid on or before the Effective Date by the Debtors. Quarterly fees owed to the U.S.
Trustee shall be paid when due in accordance with applicable law and the Debtors shall continue to file
reports to show the calculation of such fees for the Debtors’ Estates until the Chapter 11 Cases are closed
under section 350 of the Bankruptcy Code.

                12.6     Severability.

                          (a)     Each of the provisions of Shareholder Settlement, including, without
limitation, the Shareholder Releases and Shareholder Channeling Injunction, is integrated with and
integral to both all other provisions of the Shareholder Settlement and the remainder of the Plan and the
Plan Documents, and shall not be severable from the remainder of the Shareholder Settlement, the Plan or
the Plan Documents. The Confirmation Order shall constitute a judicial determination that each term and
provision of the Shareholder Settlement is (i) valid and enforceable pursuant to its terms, (ii) integral to
both the entirety of the Shareholder Settlement and the Plan and may not be excised or modified other
than in accordance with the Shareholder Settlement Agreement; and (iii) non-severable from and
mutually dependent on each other term in the Shareholder Settlement and the Plan. In the event that any
one or more provisions of the Shareholder Settlement are deemed null, void, illegal or unenforceable, the
Shareholder Settlement, the Plan, the Confirmation Order and the Plan Documents shall be null and void.

                          (b)     If, prior to entry of the Confirmation Order, any term or provision of this
Plan that is not related to the Shareholder Settlement is held by the Bankruptcy Court to be invalid, void
or unenforceable, the Bankruptcy Court, at the request of the Debtors, shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void or unenforceable, and
such term or provision shall then be applicable as altered or interpreted. Notwithstanding any such

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holding, alteration or interpretation by the Bankruptcy Court, the remainder of the terms and provisions of
this Plan shall remain in full force and effect and shall in no way be affected, impaired or invalidated by
such holding, alteration or interpretation. The Confirmation Order shall constitute a judicial determination
and shall provide that each term and provision of this Plan, as it may have been altered or interpreted in
accordance with this Section 12.6, is valid and enforceable pursuant to its terms.

                12.7    Governing Law.

                          Except to the extent that the Bankruptcy Code or other federal law is applicable,
or to the extent that a Plan Document provides otherwise, the rights, duties and obligations arising under
this Plan and the Plan Documents shall be governed by, and construed and enforced in accordance with,
the internal laws of the State of New York, without giving effect to the principles of conflicts of laws
thereof (other than section 5-1401 and section 5-1402 of the New York General Obligations Law).

                12.8    Immediate Binding Effect.

                          Notwithstanding Bankruptcy Rule 3020(e), 6004(h) or 7062 or otherwise, upon
the occurrence of the Effective Date, the terms of this Plan and the Plan Documents shall be immediately
effective and enforceable and deemed binding upon and inure to the benefit of the Debtors, the Holders of
Claims against and Interests in the Debtors, the Released Parties, the Shareholder Released Parties and
each of their respective successors and assigns.

                12.9    Successors and Assigns.

                          The rights, benefits and obligations of any Person named or referred to in this
Plan shall be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or
permitted assign, if any, of each such Person.

                12.10   Entire Agreement.

                           On the Effective Date, this Plan, the Plan Supplement and the Confirmation
Order shall supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings and representations concerning such documents, all of which have become merged and
integrated into this Plan.

                12.11   Computing Time.

                        In computing any period of time prescribed or permitted by this Plan, unless
otherwise set forth in this Plan or determined by the Bankruptcy Court, the provisions of Bankruptcy
Rule 9006 shall apply.

                12.12   Exhibits to Plan.

                       All exhibits, schedules, supplements and appendices to this Plan (including the
Plan Supplement) are incorporated into and are part of this Plan as if set forth in full herein.

                12.13   Notices.

                         All notices, requests and demands to or upon the Debtors shall be in writing
(including by facsimile transmission) and, unless otherwise provided herein, shall be deemed to have been
duly given or made only when actually delivered or, in the case of notice by facsimile transmission, when
received and telephonically confirmed, addressed as follows:


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                         DAVIS POLK & WARDWELL LLP
                         450 Lexington Avenue
                         New York, New York 10017
                         Attn: Marshall S. Huebner, Benjamin S. Kaminetzky, Timothy Graulich, Eli J.
                         Vonnegut, and Christopher S. Robertson

                         Counsel to the Debtors
                         and Debtors in Possession

                         After the occurrence of the Effective Date, the Plan Administration Trustee shall
have authority to send a notice to Entities providing that, to continue to receive documents pursuant to
Bankruptcy Rule 2002, such Entities must file a renewed request to receive documents pursuant to
Bankruptcy Rule 2002; provided, however, that the U.S. Trustee need not file such a renewed request and
shall continue to receive documents without any further action being necessary. After the occurrence of
the Effective Date, the Debtors and the Plan Administration Trustee are authorized to limit the list of
Entities receiving documents pursuant to Bankruptcy Rule 2002 to the U.S. Trustee and those Entities that
have filed such renewed requests.

                12.14    Dissolution of the Creditors’ Committee.

                          On the Effective Date, the Creditors’ Committee will dissolve; provided,
however, that following the Effective Date, the Creditors’ Committee shall continue in existence and have
standing and a right to be heard for the following limited purposes: (a) applications, and any relief related
thereto, for compensation by Professional Persons retained by the Creditors’ Committee, and (b) any
appeals of, or related to, the Confirmation Order or other appeal to which the Creditors’ Committee is a
party. Upon the dissolution of the Creditors’ Committee, the Creditors’ Committee, each of its members
(including each officer, director, employee or agent thereof) and its respective Professional Persons will
cease to have any duty, obligation or responsibility arising from, or related to, the Chapter 11 Cases and
shall be released and discharged from all rights and duties from, or related to, the Chapter 11 Cases.

                12.15    Reservation of Rights.

                         Except as otherwise provided herein, this Plan shall be of no force or effect
unless the Bankruptcy Court enters the Confirmation Order. None of the filing of this Plan, any statement
or provisions of this Plan or the taking of any action by the Debtors with respect to this Plan shall be, or
deemed to be, an admission or waiver of any rights of the Debtors with respect to any Claim or Interest
prior to the Effective Date.


Dated: March 15, 2021

By: /s/ Jon Lowne
Name: Jon Lowne
Title: Authorized Signatory

PURDUE PHARMA L.P.
PURDUE PHARMA INC.
PURDUE TRANSDERMAL TECHNOLOGIES L.P.
PURDUE PHARMA MANUFACTURING L.P.
PURDUE PHARMACEUTICALS L.P.
IMBRIUM THERAPEUTICS L.P.
ADLON THERAPEUTICS L.P.

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GREENFIELD BIOVENTURES L.P.
SEVEN SEAS HILL CORP.
OPHIR GREEN CORP.
PURDUE PHARMA OF PUERTO RICO
AVRIO HEALTH L.P.
PURDUE PHARMACEUTICAL PRODUCTS L.P.
PURDUE NEUROSCIENCE COMPANY
NAYATT COVE LIFESCIENCE INC.
BUTTON LAND L.P.
RHODES ASSOCIATES L.P.
PAUL LAND INC.
QUIDNICK LAND L.P.
RHODES PHARMACEUTICALS L.P.
RHODES TECHNOLOGIES
UDF LP
SVC PHARMA LP
SVC PHARMA INC.




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                                   Appendix B

                               Liquidation Analysis

                                    [To come.]
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                                   Appendix C

                               Financial Projections

                                    [To come.]
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                                   Appendix D

                                Valuation Analysis

                                    [To come.]
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                                  Appendix E

                            Organizational Structure
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                                   Appendix F

                       NewCo/TopCo Governance Term Sheet
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                                  Appendix G

                     Sackler Settlement Agreement Term Sheet
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                               SETTLEMENT AGREEMENT TERM SHEET

  This term sheet (this “Term Sheet”) sets forth the principal terms of a settlement agreement (the
  “Settlement Agreement”; the agreements, instruments and documents that secure and/or evidence the
  liens securing the obligations under the Settlement Agreement, the “Collateral Documents” and, together
  with the Settlement Agreement and the other definitive documents entered into in connection with the
  Settlement Agreement, the “Definitive Documents”) to be entered into by and among the Debtors (as
  defined herein), the Master Disbursement Trust established pursuant to the Plan (as defined herein) (the
  “MDT”), [NewCo (as defined in the Plan)] and the Specified Parties (as defined herein) in connection
  with the cases commenced under chapter 11 of title 11 of the United States Code (the “Bankruptcy
  Code”) that are currently pending and jointly administered by the United States Bankruptcy Court for the
  Southern District of New York (the “Bankruptcy Court”) under the caption In re Purdue Pharma L.P., et
  al., Case No. 19-23649 (RDD) (the “Bankruptcy Cases”). The Settlement Agreement, and the authority of
  the Debtors to enter into the Definitive Documents, will be subject to the approval of the Bankruptcy
  Court, pursuant to and in accordance with (i) the plan to be filed in connection with the Bankruptcy Cases
  (the “Plan”), (ii) the Confirmation Order (as defined herein) and (iii) the Definitive Documents.

  This Term Sheet is subject to, and does not purport to summarize, all of the conditions, covenants,
  representations, warranties and other terms and provisions that will be contained in the Definitive
  Documents to be mutually agreed to, if any, relating to matters covered hereby.

  This non-binding Term Sheet is highly confidential and provided for discussion purposes only and does
  not constitute an offer, agreement or commitment to enter into the Definitive Documents, another
  business transaction or a relationship, all of which are subject to further diligence and negotiation. This
  Term Sheet is intended to be protected by Federal Rule of Evidence 408 and any other applicable statutes
  or doctrines protecting the disclosure of confidential information and information exchanged in the
  context of settlement discussions.

                                    SUMMARY OF PRINCIPAL TERMS
Specified Parties              Certain persons included in distinct groups as set forth in an exhibit to be
                               attached to the Definitive Documents1 (such exhibit, the “Specified Parties
                               Exhibit”, and such persons set forth therein, the “Specified Parties”).
Aggregate Settlement           $4,275,000,000 (the “Aggregate Settlement Amount”).
Amount
Required Settlement            The “A-Side Payment Parties” and “B-Side Payment Parties” identified on the
Payments                       Specified Parties Exhibit (together, the “Payment Parties”) shall fund, or cause
                               to be funded, the Aggregate Settlement Amount in the amounts and by the
                               applicable deadlines set forth below (each such payment, a “Required
                               Settlement Payment” and each such deadline, a “Funding Deadline”):

                                 Funding Deadline         Required Settlement Payment
                                 Plan Effective Date      $300 million
                                 June 30, 2022            $350 million
                                 June 30, 2023            $350 million
                                 June 30, 2024            $350 million
                                 June 30, 2025            $350 million

  1
    Final list of persons and groups to be agreed subject to additional diligence on the assets of the family and in
  connection with the execution of the Definitive Documents.
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                            June 30, 2026          $300 million
                            June 30, 2027          $1,000 million
                            June 30, 2028          $475 million
                            June 30, 2029          $425 million, subject to deferral as set forth below
                            June 30, 2030          $375 million, subject to deferral as set forth below
                            June 30, 2031          Up to $200 million, in specified circumstances as set
                                                   forth below

                           Each dollar in excess of $2.5 billion up to and including $2.675 billion in the
                           aggregate that the MDT actually receives pursuant to the Settlement Agreement
                           on or prior to June 30, 2026 shall defer one dollar, up to a maximum aggregate
                           amount of $175 million, of Required Settlement Payments otherwise payable
                           on June 30, 2030 to instead become payable on June 30, 2031. Furthermore,
                           each dollar in excess of $2.675 billion that the MDT actually receives pursuant
                           to the Settlement Agreement on or prior to June 30, 2026 shall defer one dollar,
                           up to a maximum aggregate amount of $25 million, of Required Settlement
                           Payments otherwise payable on June 30, 2029 to instead become payable on
                           June 30, 2031; provided that deferrals shall only be made if the aggregate
                           amount available for deferral exceeds $25 million.
Allocation of Settlement   Each of the “General Obligors” identified on the Specified Parties Exhibit (each
Obligations                an “A-Side General Obligor”) shall, on a joint and several basis with the other
                           A-Side General Obligors, fund or cause to be funded, when due, 50% of the
                           Aggregate Settlement Amount (subject to adjustment), in accordance with the
                           Funding Deadline for each Required Settlement Payment.

                           The “A-Side Payment Parties” identified on the Specified Parties Exhibit (the
                           “A-Side Payment Parties”, and each of the eight distinct groups in such exhibit,
                           the “A-Side Payment Groups”) shall, on a joint and several basis with the other
                           A-Side Payment Parties that are within the same A-Side Payment Group, fund
                           or cause to be funded, when due pursuant to this Term Sheet (or as otherwise
                           required by the Definitive Documents), in the aggregate 50% of the Aggregate
                           Settlement Amount (subject to adjustment), but only to the extent such amount
                           is not funded by the A-Side General Obligors as contemplated above; provided
                           that any A-Side Payment Party that is an individual is only liable for their A-
                           Side Payment Group’s portion to the extent such amount is not funded by the
                           trusts and entities in that A-Side Payment Group. The allocation among the
                           eight A-Side Payment Groups is to be mutually agreed.

                           Each of the “B-Side Payment Parties” identified on the Specified Parties
                           Exhibit (the “B-Side Payment Parties”, as included in distinct groups in such
                           exhibit, the “B-Side Payment Groups”, together with the A-Side Payment
                           Groups, the “Payment Groups”) shall, on a joint and several basis with the
                           other B-Side Payment Parties that are within the same B-Side Payment Group,
                           fund or cause to be funded, when due, 25% of the Aggregate Settlement
                           Amount (subject to adjustment), in accordance with the Funding Deadline for
                           each Required Settlement Payment.
Adjustments to A-Side      Further adjustments to the allocation of the Aggregate Settlement Amount
and B-Side Settlement      between the A-Side Payment Groups and B-Side Payment Groups may be
                                                   3
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Obligations                   agreed; provided that such adjustments shall in no event reduce the Aggregate
                              Settlement Amount obligations of the Specified Parties.
Sale of IACs and Use of       The Specified Parties that are “A-Side IAC Payment Parties” and “B-Side IAC
Net Proceeds                  Payment Parties” identified on the Specified Parties Exhibit (collectively, the
                              “IAC Payment Parties”, as included in groups on such exhibit, the “IAC
                              Payment Groups”) shall, during the 7-year period commencing on the Plan
                              Effective Date, use their best efforts to sell or cause to be sold to one or more
                              third parties all of such IAC Payment Parties’ direct or indirect interests in the
                              non-U.S. pharmaceutical companies listed on an exhibit to be attached to the
                              Definitive Documents (the “IACs”) and/or the assets of such IACs (each, a
                              “Sale”), subject to carve outs as may be mutually agreed. The obligation to
                              effectuate a Sale is subject to and may be limited by applicable laws and other
                              restrictions as may be mutually agreed.

                              The IAC Payment Parties shall, on a joint and several basis with the other IAC
                              Payment Parties within the same IAC Payment Group, fund or cause to be
                              funded to the MDT, within [45] days from the receipt thereof, (i) [•]%2 of the
                              cash proceeds actually received by the IAC Payment Parties from a Sale and
                              (ii) dividends or other distributions received by the IAC Payment Parties from
                              the IACs (excluding certain tax distributions), in each case less (x) the amount
                              of Required Settlement Payments previously funded by a Payment Group from
                              sources other than Sale proceeds and (y) certain deductions and other
                              adjustments to be mutually agreed (“Net Proceeds”).

                              The amount of Net Proceeds actually received by the MDT shall be deemed to
                              satisfy, and reduce, dollar-for-dollar, the next due Required Settlement
                              Payment(s) of the A-Side Payment Group or B-Side Payment Group applicable
                              to the IAC Payment Party that has funded or caused to be funded such Net
                              Proceeds.
Collateral                    The Specified Parties shall provide collateral as security for the payment in full
                              when due of all obligations under the Settlement Agreement (the “Collateral”).
                              Collateral shall include:

                                    (i)   all equity interests now or hereafter owned by the IAC Payment
                                          Parties or their subsidiaries in the IACs (subject to exclusions as
                                          may be agreed) (the “Pledged Shares”); and
                                   (ii)   additional collateral, to the extent mutually agreed.

                              In addition to and not limiting the foregoing, the IAC Payment Parties shall
                              deposit and maintain at all times, or cause to be deposited and maintained at all
                              times, all gross cash proceeds received, directly or indirectly, by the IAC
                              Payment Parties from a Sale and all dividends and other distributions received
                              by the IAC Payment Parties from the IACs in a deposit account or other
                              account that is pledged as Collateral and perfected on terms to be mutually

 2
  Such percentage to be based on tax calculations to be mutually agreed upon applicable to the Sales. Additional
 mechanics on deducting certain expenses in connection with a Sale to be agreed.
                                                       4
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                              agreed. Withdrawals from such accounts by the Specified Parties shall be
                              permitted only to pay the amounts required to be paid to the MDT under the
                              Settlement Agreement and certain expenses and taxes3 as contemplated by the
                              definition of “Net Proceeds.”
IAC Information Rights        The IAC Payment Parties shall provide the following information and reports to
                              the MDT:
                                  • Quarterly and annual financial statements of the IACs.
                                  • Quarterly reports on dividends or distributions made by the IACs
                                     and/or received by the IAC Payment Parties, including detail on tax
                                     distributions and/or non-tax distributions.
                                  • Following any Sale, a report setting forth a calculation of Net Proceeds
                                     received in respect of such Sale, with dispute resolution mechanics
                                     regarding such calculation to be mutually agreed.
                                  • Other information, reports and mechanics to be mutually agreed.
IAC Operating                 The Definitive Documents shall contain the following covenants regarding the
Covenants                     business and operations of the IACs:
                                  • Restrictions on material transactions that would otherwise restrict,
                                      hinder or impair the ability of IACs to participate in a Sale.
                                  • Restrictions on affiliate transactions and investments, subject to
                                      exceptions to be mutually agreed.
                                  • Restrictions on repurchases or redemptions of equity interests of the
                                      IACs, except to the extent the proceeds are treated as dividends or
                                      distributions for purposes of determining Net Proceeds to be used for
                                      purposes of satisfying a Required Settlement Payment.
                                  • Restrictions on amendments of IAC organizational documents that
                                      would reasonably be expected to be material and adverse to the MDT
                                      or otherwise frustrate the intent and purposes of the Settlement
                                      Agreement.
                                  • Other covenants to be mutually agreed.

                              The foregoing covenants shall not restrict the ability of the IACs to make
                              certain payments to or receive certain payments from other IACs, provided, for
                              the avoidance of doubt, that all IAC Payment Parties are subject to the
                              Settlement Agreement.
Representations and           The Definitive Documents shall contain the following representations and
Warranties                    warranties of the Specified Parties (including with respect to the IACs):
                                 • Validity, good standing, qualification and authority of the Specified
                                      Parties to enter into the Definitive Documents, including as to the
                                      applicable trustee’s authority and trust formation.
                                 • Non-contravention of organizational documents or laws.
                                 • Completeness of the list of IACs provided to the MDT.
                                 • Ownership of the IACs.

 3
   Additional mechanics on withdrawals based on assumed tax rates and/or clawbacks based on actual tax liabilities
 to be agreed.
                                                        5
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                                     •    Accuracy of certain information provided relating to the Specified
                                          Parties.
                                     •    Other representations and warranties to be mutually agreed.
Exit of Opioid Business         The Specified Parties and certain other family members, to be agreed, covenant
                                and agree not to engage in the manufacturing or sale of opioids, subject to
                                exceptions to be agreed.
Covenants                       The Definitive Documents shall contain the following covenants applicable to
                                the Specified Parties (including the IAC Payment Parties):4
                                    • Information covenants to be mutually agreed.
                                    • Prohibition on any action to avoid, circumvent, frustrate or impair the
                                        ability of any Specified Party to satisfy the obligations under the
                                        Definitive Documents.
                                    • Non-interference with confirmation or consummation of the Plan and
                                        implementation of the transactions contemplated by the Definitive
                                        Documents.
                                    • Consent to cancellation of direct and indirect interests held in Purdue
                                        Pharma L.P.
                                    • Go-forward rights, if any, under the Debtors’ insurance and directors
                                        and officers’ liability policies to be mutually agreed.
                                    • No mergers, consolidations, divisions, or sales unless the successor or
                                        transferee, as applicable, assumes the obligations under the Definitive
                                        Documents.
                                    • Restrictions on affiliate transactions, subject to exceptions to be
                                        mutually agreed.
                                    • Restrictions on distributions made by the Specified Parties that are
                                        trusts or other entities.
                                    • Limitation on ability of the Specified Parties that are trusts to enter into
                                        transactions that restrict or impair ability to sell or liquidate assets,
                                        subject to exceptions as may be mutually agreed.
                                    • Submission to jurisdiction.
                                    • Other covenants to be mutually agreed.
Shareholder Releases            The Plan shall provide for releases that include the Specified Parties and certain
                                other persons and/or individuals to be mutually agreed, and remedies relating to
                                the releases, in each case that are in form and substance to be mutually agreed.
Remedies                        Remedies for breach may include, without limitation, one or more of the
                                following (i) all unpaid and unfunded obligations of the defaulting Specified
                                Parties becoming immediately due and payable, (ii) voiding of the Shareholder
                                Releases (as defined in the Plan) with respect to the members of the defaulting
                                Family Group5, (iii) foreclosure by the MDT on the Collateral of the defaulting

 4
   Covenants to be tailored to each Specified Party as appropriate to reflect the nature of such party (i.e., whether they
 are individuals, trusts or other entities).
 5
   “Family Groups” shall mean distinct groups of Shareholder Released Parties (as defined in the Plan) that
 correspond to a specific Payment Group. The list of Family Groups and corresponding Payment Groups to be
 agreed.
                                                            6
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                        Specified Parties, (iv) enforcement of confessions of judgment by the
                        applicable Specified Parties admitting the obligations that have come due and
                        (v) certain other remedies to be mutually agreed (including potential additional
                        fees to the extent mutually agreed).

                        All overdue amounts or obligations of the Paying Parties under the Settlement
                        Agreement shall be subject to a fee for late payment accruing in an amount
                        equal to [●]% per annum.
Conditions Precedent    The conditions precedent to the effectiveness of the Settlement Agreement shall
                        include, without limitation:
                            • The disclosure statement order and confirmation order (the
                                “Confirmation Order”) entered by the Bankruptcy Court shall be in full
                                force and effect.
                            • The MDT shall have received, as applicable: (a) one or more excerpts
                                from orders of the Royal Court in Jersey confirming authority to enter
                                into the Definitive Documents by the relevant Jersey trusts; (b) further
                                acknowledgments from beneficiaries and/or other Shareholder
                                Released Parties regarding certain covenants and agreements with
                                respect to the obligations of the Specified Parties that are trusts; or (c)
                                such other assurances as to the authority of the Specified Parties that
                                are trusts to enter into the Definitive Documents, in each case, as may
                                be mutually agreed.
                            • Occurrence of the Plan effective date.
                            • Execution and delivery of all Definitive Documents.
                            • Receipt by the MDT of the first Required Settlement Payment.
                            • Receipt of confessions of judgment in form and substance satisfactory
                                to the MDT.
                            • Such other reassurances and documents as may be mutually agreed.
Certain Agreements      It shall be a condition precedent to the effectiveness of the Settlement
                        Agreement that the matters related to the ongoing contractual and intellectual
                        property relationships among the Debtors, the Specified Parties and the IACs
                        have been mutually agreed, and that certain agreements related to such matters
                        have been executed.
Restitution             The Settlement Agreement shall provide that (i) to the extent that any transfers
                        made by the Debtors, the Shareholder Released Parties or Pharmaceutical
                        Research Associates L.P. pursuant to the Plan and the Settlement Agreement
                        are within the scope of Internal Revenue Code section 162(f) and are permitted
                        to be treated as “restitution” under Internal Revenue Code section 162(f) and
                        applicable Treasury regulations thereunder, such transfers shall be so treated for
                        purposes of that provision, and (ii) a statement to this effect shall be included in
                        the Plan Supplement (as defined in the Plan).
Document Repository     The Plan shall provide for the inclusion in the public document repository to be
                        established pursuant to the Plan of certain documents produced by the
                        Shareholder Released Parties, the scope and terms of which are to be mutually
                        agreed.


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